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                                 Exhibit A
                              Proposed Purchase Agreement
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                                                                                    Execution Version




                                  STOCK PURCHASE AGREEMENT

                                               dated as of

                                          September 27, 2024

                                                 between

                                        AMBER ENERGY INC.

                                                   and

                                         ROBERT B. PINCUS,

   solely in his capacity as the Special Master for the United States District Court for the District of
                                                Delaware




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                                  STOCK PURCHASE AGREEMENT

          THIS STOCK PURCHASE AGREEMENT (this “Agreement”) dated as of September 27,
   2024 (the “Execution Date”) is entered into by and between Amber Energy Inc., a Delaware
   corporation (the “Buyer”), and Robert B. Pincus, solely in his capacity as special master (the
   “Special Master” and, together with the Buyer, the “Parties” and each a “Party”) for the Honorable
   Leonard P. Stark, United States District Court for the District of Delaware (the “Court”).

                                        W I T N E S S E T H:

           WHEREAS, the Special Master has been appointed by the Court in connection with the
   case of Crystallex International Corp. v. Bolivarian Republic of Venezuela (D. Del. Case. No. 17-
   151-LPS) (the “Specified Litigation”) pursuant to that certain Order entered by the Court on April
   13, 2021 [D.I. 258], that certain Order Regarding Special Master entered by the Court on May 27,
   2021 [D.I. 277] (the “May Order”) and the Order (A) Establishing Sale and Bidding Procedures,
   (B) Approving Special Master’s Report and Recommendation Regarding Proposed Sale
   Procedures Order, (C) Affirming Retention of Evercore Group, LLC (“Evercore”) as Investment
   Banker by Special Master and (D) Regarding Related Matters entered by the Court on October 4,
   2022 [D.I. 481] (the “Sale Procedures Order”).

           WHEREAS, Petrόleos de Venezuela, S.A., a Venezuelan company (“PDVSA”) owns all
   of the issued and outstanding capital stock of PDV Holding, Inc., a Delaware corporation (the
   “Company”), which consists of 1,000 shares of common stock, par value $1.00 per share
   (collectively, the “Shares”).

           WHEREAS, pursuant to the Sale Procedures Order, the Special Master has the authority
   to enter into this Agreement in making his determination to the Court as to which of the Qualified
   Bids (as defined in the Sale Procedures Order) was highest or best, and in making a
   recommendation to the Court as to which Qualified Bid is the Successful Bid (as defined in the
   Sale Procedures Order).

          WHEREAS, the Buyer desires to purchase the Shares upon the terms and subject to the
   conditions set forth in this Agreement.

           WHEREAS, on October 27, 2016, PDVSA, as issuer, entered into an indenture with
   PDVSA Petróleo, S.A., as guarantor, MUFG Union Bank, N.A., as trustee (“MUFG”), GLAS
   Americas LLC, as collateral agent (“GLAS”), Law Debenture Trust Company of New York, as
   registrar, transfer agent and principal agent, and Banque Internationale À Luxembourg, Société
   Anonyme, as Luxembourg paying agent, whereby PDVSA issued 8.50% senior secured notes due
   in 2020 in the aggregate principal amount of $3,367,529,000 (the “2020 Bonds”) which were
   purportedly secured, in part, by a pledge of 50.1% of the equity (the “Equity Pledge”) in CITGO
   Holding, Inc., a Delaware corporation and wholly owned direct subsidiary of the Company
   (“CITGO Holding”).

          WHEREAS, on October 29, 2019, the case of Petroleos de Venezuela S.A. v. MUFG Union
   Bank, N.A., 19-10023 (KPF) (S.D.N.Y.) (“PDVSA v. MUFG Action”) was initiated by PDVSA,
   the Company and CITGO Holding (collectively, the “PDV Entities”) against GLAS and MUFG




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   in their capacities as collateral agent and trustee, respectively, for the noteholders of the 2020
   Bonds (such noteholders, the (“2020 Bondholders”)).

            WHEREAS, solely to the extent set forth in the Definitive Trust Documents, at Closing,
   Acquiom Financial LLC, in its capacity as paying agent (the “Paying Agent”), will distribute a
   portion of the Closing Consideration paid pursuant to Section 3.4 to those creditors of the
   Bolivarian Republic of Venezuela or PDVSA that are party to the Specified Litigation and who
   have obtained a writ of attachment on or before January 12, 2024 (the “Claimholders”) pursuant
   to the terms of that certain Paying Agent Agreement to be entered into as of Closing by and among
   the Buyer, the Special Master and the Paying Agent in the form to be mutually agreed by the
   Parties (the “Paying Agent Agreement”).

          NOW, THEREFORE, in consideration of the promises and the respective representations,
   warranties, covenants and agreements set forth herein, the Parties agree as follows:

                                                     ARTICLE I

                                  DEFINITIONS AND INTERPRETIVE MATTERS

         Section 1.1. Certain Defined Terms. Capitalized terms used in this Agreement have the
   meanings specified in Annex A or elsewhere in this Agreement.

             Section 1.2.         Other Definitional and Interpretive Matters.

                 (a)    Unless otherwise expressly provided herein, for purposes of this
   Agreement, the following rules of interpretation shall apply:

                            (i)      Calculation of Time Period. When calculating the period of time
             before which, within which or following which any act is to be done or step taken pursuant
             to this Agreement, the date that is the reference date in calculating such period shall be
             excluded. If the last day of such period is a non-Business Day, the period in question shall
             end on the next succeeding Business Day. The word “day” shall mean “calendar day”
             unless “Business Day” is expressly identified.

                             (ii)   Dollars. Any reference in this Agreement to “$” shall mean U.S.
             dollars. The specification of any dollar amount in the representations and warranties or
             otherwise in this Agreement or in the Exhibits or the Company Disclosure Schedules is not
             intended and shall not be deemed to be an admission or acknowledgment of the materiality
             of such amounts or items, nor shall the same be used in any dispute or controversy between
             the Parties to determine whether any obligation, item or matter (whether or not described
             herein or included in the Company Disclosure Schedules) is or is not material for purposes
             of this Agreement.

                            (iii) Exhibits/Schedules. The Exhibits and the Company Disclosure
             Schedules annexed hereto or referred to herein are an integral part of this Agreement and
             are hereby incorporated in and made a part of this Agreement as if set forth in full herein.
             Any matter or item disclosed on one Schedule or section of the Company Disclosure
             Schedules shall be deemed to have been disclosed on each other Schedule or section of the


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             Company Disclosure Schedules in which it is reasonably apparent on the face of such
             disclosure that the information is required to be included in such other Schedule or section
             of the Company Disclosure Schedules. Disclosure of any item on any Schedule of the
             Company Disclosure Schedules shall not constitute an admission, indication,
             acknowledgment or representation that such item or matter is material or would reasonably
             be expected to have a Company Material Adverse Effect. No disclosure on a Schedule of
             the Company Disclosure Schedules relating to a possible breach or violation of any
             Contract, Law or Order shall be construed as an admission, indication, acknowledgment or
             representation that a breach or violation exists or has actually occurred. Any capitalized
             terms used in any Schedule of the Company Disclosure Schedules or Exhibit but not
             otherwise defined therein shall be defined as set forth in this Agreement.

                             (iv)   Gender and Number. Any reference in this Agreement to gender
             shall include all genders, and words imparting the singular number only shall include the
             plural and vice versa.

                             (v)    Headings. The provision of a table of contents, the division of this
             Agreement into Articles, Sections and other subdivisions and the insertion of headings are
             for convenience of reference only and shall not affect or be utilized in construing or
             interpreting this Agreement. All references in this Agreement to any “Section” or “Article”
             are to the corresponding Section or Article of this Agreement unless otherwise specified.

                           (vi)     Herein. The words “herein,” “hereinafter,” “hereof,” and
             “hereunder” refer to this Agreement as a whole and not merely to a subdivision in which
             such words appear unless the context otherwise requires.

                            (vii) Inclusive Terms. The word “including” or any variation thereof
             means (unless the context of its usage otherwise requires) “including, without limitation”
             and shall not be construed to limit any general statement that it follows to the specific or
             similar items or matters immediately following it. The term “any” means “any and all.”
             The term “or” shall not be exclusive and shall mean “and/or.”

                             (viii) Reflected On or Set Forth In. An item arising with respect to a
             specific representation or warranty shall be deemed to be “reflected on” or “set forth in” a
             balance sheet or financial statements, to the extent any such phrase appears in such
             representation or warranty, if (A) there is a reserve, accrual or other similar item underlying
             a number on such balance sheet or financial statements that related to the subject matter of
             such representation or warranty, (B) such item is otherwise specifically set forth on the
             balance sheet or financial statements or (C) such item is reflected on the balance sheet or
             financial statements and is specifically set forth in the notes thereto.

                           (ix)   Bolivarian Republic of Venezuela. Any reference herein to the
             “Bolivarian Republic of Venezuela” shall include any successor nation thereto.

                             (x)    Special Master and the Acquired Companies. Any pre-Closing
             obligation of any of the Acquired Companies hereunder shall be deemed to include an
             obligation of the Special Master to “Cause” the Acquired Companies to comply with such



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             obligation. With respect to any obligation of the Special Master hereunder to “Cause” any
             of the Acquired Companies to take an action or refrain from taking an action, or which
             otherwise requires action (or refraining from action) by any such Acquired Company, such
             obligation will be deemed to be an obligation of the Special Master to use reasonable best
             efforts to cause the Company or the applicable Company Subsidiary to take such action (or
             refrain from taking such action), including by seeking an order from the Court with respect
             to such action or refrainment pursuant to the Sale Order or otherwise (including orders to
             obligate any such Acquired Company to execute required documentation to effect such
             actions, if applicable).

                            (xi)    “Made Available.” Unless expressly stated otherwise, references to
             any document or information having been “delivered”, “furnished”, “provided” or “made
             available” to the Buyer or its Representatives shall mean such document or information
             has been posted to the VDR at least two (2) Business Days prior to the Execution Date.

                   (b)     The Parties have participated jointly in the negotiation and drafting of this
   Agreement and, in the event an ambiguity or question of intent or interpretation arises, this
   Agreement shall be construed as jointly drafted by the Parties and no presumption or burden of
   proof shall arise favoring or disfavoring any Party by virtue of the authorship of any provision of
   this Agreement. The language used in this Agreement shall be deemed to be the language chosen
   by the Parties to express their mutual intent, and no rule of strict construction shall be applied
   against any Person.

                                               ARTICLE II

                           SALE AND PURCHASE OF THE SHARES; CLOSING

           Section 2.1. Sale and Purchase of Shares. Subject to approval of this Agreement by the
   Court, and upon the terms and subject to the conditions set forth in this Agreement and in the Sale
   Order, and pursuant to the authority provided to the Special Master under the Sale Procedures
   Order and the May Order, at the Closing, the Special Master shall sell, assign, transfer, convey and
   deliver to the Buyer, and the Buyer shall purchase and accept from the Special Master, the Shares,
   free and clear of all Liens (other than transfer restrictions imposed by applicable securities Laws).

           Section 2.2. Closing. The consummation of the sale and purchase of Shares (the
   “Closing”) shall take place at 10:00 a.m., Eastern Time, on a date to be specified by the Parties,
   which date shall be no later than the twelfth (12th) Marketing Business Day after satisfaction or
   waiver of the conditions set forth in Article VII (other than those conditions that by their nature
   are to be satisfied at the Closing, but subject to the satisfaction or waiver of those conditions at
   such time), remotely by electronic exchange of documents and signatures, unless another time,
   date or place is agreed to in writing by the Parties; provided, that unless mutually agreed in writing
   by the Buyer and the Special Master, in no event shall the Closing occur prior to March 31, 2025.
   The date on which the Closing actually occurs is referred to in this Agreement as the “Closing
   Date.”




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             Section 2.3.         Closing Deliveries of the Parties.

                  (a)     Deliveries by the Special Master. At or prior to the Closing, the Special
   Master shall deliver or otherwise cause to be delivered to the Buyer:

                             (i)    Affirmation. An affirmation, executed by the Special Master, stating
             that the Special Master has used reasonable best efforts to cause the Chief Financial Officer
             of the Company to confirm the satisfaction of the conditions set forth in Sections 7.2(a)
             and 7.2(c) as of the Closing Date;

                            (ii)   Stock Certificate. The original certificate evidencing all of the
             Shares, duly endorsed in blank, or accompanied by a stock power duly executed in blank
             by the Special Master; and

                            (iii) FIRPTA Certificate. A validly issued certificate from the Company,
             in such form consistent and in accordance with the requirements of Treasury Regulations
             Sections 1.897-2(h)(2) and 1.1445-2(c)(3)(i) and a validly issued notice to the IRS from
             the Company in accordance with the provisions of Treasury Regulations Section 1.897-
             2(h)(2) (such certificate and notice issued by the Company, the “FIRPTA Certificate”).

                  (b)     Deliveries by the Buyer. At or prior to the Closing, the Buyer will deliver
   or cause to be delivered to the Special Master:

                            (i)     Closing Certificate. A certificate, dated as of the Closing Date,
             signed by an authorized officer of the Buyer as to the satisfaction of the conditions set forth
             in Section 7.3(a) and Section 7.3(b).

                                                     ARTICLE III

                                                 PURCHASE PRICE

             Section 3.1.         Lock Box Consideration Amount.




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             Section 3.2.         Closing Consideration.




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             Section 3.3.         Good Faith Deposit.




             Section 3.4.         Closing Date Payments by the Buyer.




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             Section 3.5.         Adjustment to Closing Consideration.




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             Section 3.6.         Earn-Out Payment.




           Section 3.7. Withholding. Notwithstanding anything to the contrary in this Agreement,
   each of the Parties, their respective Affiliates and any other Person that has any withholding
   obligation with respect to any payment made pursuant to this Agreement (each, a “Withholding
   Agent”), shall be entitled to deduct and withhold (without duplication) from any and all payments
   made under this Agreement such amounts that are required to be deducted and withheld with
   respect to the making of such payments under the Code or under any provisions of state, local or
   foreign Tax Law, provided, that except with respect to payments in the nature of compensation for
   services, if the applicable Withholding Agent determines in good faith that any payment hereunder
   is subject to deduction and/or withholding, then such Withholding Agent shall, unless otherwise
   commercially unreasonable, (i) prior to making any deduction or withholding an amount pursuant



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   to this Section 3.6 (and in any event no later than ten (10) days prior to making any payment
   hereunder), provide written notice to the applicable recipient of any anticipated deduction or
   withholding (together with the legal basis thereof) and (ii) cooperate in good faith with the
   applicable recipient to reduce or eliminate any amounts that would otherwise be deducted or
   withheld. To the extent that any amounts are so withheld and timely paid over to the proper Taxing
   Authority, such withheld and deducted amounts will be treated for all purposes of this Agreement
   as having been paid to the recipient of the payment in respect of which such deduction or
   withholding was made. In addition, the Buyer and the Special Master shall reasonably cooperate
   to mitigate any Tax impact of the use of Cash of the Acquired Companies to the extent any such
   Cash is used for the Closing Consideration, including using such Cash to repay the Specified Debt,
   pay Company Transaction Expenses, and other such strategies as mutually agreed by the Buyer
   and the Special Master, which may include use of Buyer’s or its Affiliates’ debt financing. Any
   Taxes paid or incurred or reasonably expected to be paid or incurred by the Buyer, the Acquired
   Companies or their direct or indirect owners as a result of the use of Cash of the Acquired
   Companies to make the payments in respect of the Closing Consideration shall constitute Leakage.

                                                    ARTICLE IV

   REPRESENTATIONS RELATING TO THE COMPANY AND THE SPECIAL MASTER

           It is represented and warranted to the Buyer in accordance with the Procedures Summary
   that except as disclosed in the correspondingly numbered section of the disclosure schedules
   delivered to the Buyer simultaneously with the execution of this Agreement (the “Company
   Disclosure Schedules”) (it being agreed that any matter or item disclosed in one Schedule or
   section of the Company Disclosure Schedules shall be deemed to have been disclosed on each
   other Schedule or section of the Company Disclosure Schedules in which it is reasonably apparent
   on the face of such disclosure that the information is required to be included in such other Schedule
   or section of the Company Disclosure Schedules), each statement contained in this Article IV is
   true and correct as of the Execution Date and as of the Closing Date (unless otherwise provided in
   this Article IV).

             Section 4.1.         Corporate Existence; Title to Shares.

                   (a)     The Company is a corporation duly incorporated, validly existing and in
   good standing under the Laws of the State of Delaware and has all requisite corporate powers and
   all governmental franchises, licenses, permits, authorizations, consents and approvals required to
   enable it to own, lease or otherwise hold its properties and assets and to carry on its business as
   now conducted, except for those the absence of which would not, individually or in the aggregate,
   be reasonably likely to materially impair the Acquired Companies, taken as a whole. The Company
   is duly qualified to do business as a foreign corporation and is in good standing under the Laws in
   each jurisdiction in which the character of the property owned or leased by it or the nature of its
   activities or the ownership or leasing of its properties make such qualification necessary, except
   for those jurisdictions where the failure to be so qualified would not, individually or in the
   aggregate, be reasonably likely to materially impair the Acquired Companies, taken as a whole.
   The Special Master has heretofore made available to the Buyer true, correct and complete copies
   of the certificate of incorporation of the Company (the “Company Charter”), and the by-laws of
   the Company (the “Company By-Laws”). There is no pending or, to the Knowledge of the



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   Company, threatened Legal Proceedings for the dissolution, liquidation, insolvency, or
   rehabilitation of any of the Acquired Companies.

                    (b)     The Special Master (or his counsel or advisors) is in possession of the
   original certificate evidencing 100% of the Shares. PDVSA is the record and beneficial owner of
   all of the outstanding Shares. To the extent provided by, and subject to the decrees of, the Sale
   Procedures Order in effect on the date hereof, the Special Master has the legal capacity, power and
   authority to (i) execute and deliver this Agreement and each other Transaction Document to which
   the Special Master is or will be a party, and (ii) surrender the Shares pursuant to the Transactions,
   and sell, transfer, assign, and deliver the Shares to the Buyer, in each case, the delivery of which
   will convey good and marketable title to the Shares, free and clear of all Liens (other than transfer
   restrictions imposed by applicable securities Laws).

                   (c)     This Agreement has been duly executed and delivered by the Special Master
   and, assuming due authorization, execution and delivery by the Buyer, and subject to the Sale
   Order Entry, constitutes, and each other Transaction Document (to the extent the Special Master
   is or will be a party thereto), when executed and delivered by the Special Master (assuming due
   authorization, execution and delivery by the other parties thereto) shall constitute, a legal, valid
   and binding obligation of the Special Master, enforceable against the Special Master in accordance
   with its terms, except that such enforcement may be limited by the Equitable Exceptions.

           Section 4.2. Governmental Authorization. Except as set forth on Section 4.2 of the
   Company Disclosure Schedules, the execution, delivery and performance by the Special Master of
   this Agreement and the other Transaction Documents and the consummation by the Special Master
   of the Transactions require no action by or in respect of, or filing with, any Governmental Body
   other than (a) applicable requirements of Antitrust Laws as set forth in Section 4.2 of the Company
   Disclosure Schedules, (b) the OFAC License, (c) the entry of the Sale Order by the Court (the
   “Sale Order Entry”), and (d) other actions or filings the absence or omission of which would not,
   individually or in the aggregate, be material to the business of the Acquired Companies, taken as
   a whole.

           Section 4.3. Non-Contravention. Except as set forth on Section 4.3 of the Company
   Disclosure Schedules, the execution, delivery and performance by the Special Master of this
   Agreement and the other Transaction Documents and the consummation by the Special Master of
   the Transactions do not and will not, assuming compliance with the matters referred to in Section
   4.2, (a) contravene or conflict with the Company Charter or the Company By-Laws or the
   Organizational Documents of any of the Acquired Companies or any of the Non-Controlled
   Entities, (b) contravene or conflict with or constitute a violation of any provision of any Law
   binding upon or applicable to the Acquired Companies or, to the Knowledge of the Company, the
   Non-Controlled Entities, (c) result in any Negative Consequences under any (i) Material Contract
   or (ii) any license, franchise, permit or other similar authorization held by the Acquired
   Companies, or (d) result in the creation or imposition of any Lien (other than Permitted Liens) on
   any asset of the Acquired Companies, except for such Negative Consequences referred to in
   clauses (b) or (c) or Liens referred to in clause (d) that would not, individually or in the aggregate,
   be material to the business of the Acquired Companies, taken as a whole.




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             Section 4.4.         Capitalization.

                   (a)     The authorized capital stock of the Company consists of 1,000 Shares.
   There are 1,000 Shares issued and outstanding, all of which are owned by PDVSA. The Shares
   have been duly authorized and are validly issued, fully paid and non-assessable and have not been
   issued in violation of any preemptive rights or Preferential Rights. The Shares constitute the only
   outstanding Equity Interests of the Company and are not subject to any Preferential Rights.

                   (b)     Except for this Agreement, there is no outstanding option, warrant, call,
   right, or Contract of any character to which the Company is a party requiring, and there are no
   Equity Interests of the Company outstanding which upon conversion or exchange would require,
   the issuance of any Shares or other securities convertible into, exchangeable for or evidencing the
   right to subscribe for or purchase Shares. Other than as set forth in Section 4.4(b) of the Company
   Disclosure Schedules, there are no outstanding equity appreciation, phantom equity, stock unit,
   profit participation, equity, equity-based performance or similar rights with respect to the
   Company or any of its Subsidiaries. The Company is not a party to any voting trust or other
   Contract with respect to the voting, redemption, sale, transfer or other disposition of the Shares.

             Section 4.5.         Subsidiaries; Non-Controlled Entities.

                   (a)    Section 4.5(a) of the Company Disclosure Schedules reflects a true and
   complete list of each entity (the “Company Entities”) in which the Company owns, directly or
   indirectly, any Equity Interests, other than any Subsidiary of a Non-Controlled Entity. Except as
   set forth on Section 4.5(a) of the Company Disclosure Schedules, the Company does not, directly
   or indirectly, own any Equity Interests in any other Person.

                   (b)     Section 4.5(a) of the Company Disclosure Schedules sets forth the
   following information with respect to each Company Entity: (i) its name and jurisdiction of
   organization or formation; (ii) the number of authorized shares or other Equity Interests as of the
   date hereof; and (iii) the number of issued and outstanding shares or other Equity Interests, the
   names of the holders thereof, and the number of shares or other Equity Interests held by each such
   holder. Each Company Subsidiary is duly organized and validly existing under the Laws of its
   jurisdiction of organization, except where the failure to be so organized and existing would not,
   individually or in the aggregate, be reasonably likely to be material to the business of the Acquired
   Companies, taken as a whole.

                   (c)    Each Company Subsidiary is in good standing under the Laws of its
   jurisdiction of organization, to the extent such concepts are recognized under the Laws of the
   jurisdiction of its organization, and has all requisite corporate (or similar entity) power and
   authority to own, lease and operate its properties and to carry on its business in all material respects
   as now conducted, except where the failure to in good standing or to have such power and authority
   would not, individually or in the aggregate, be reasonably likely to be material to the business of
   the Acquired Companies and Non-Controlled Entities, taken as a whole. To the Knowledge of the
   Company, each Non-Controlled Entity is duly organized, validly existing and in good standing
   under the Laws of its jurisdiction of organization, to the extent such concepts are recognized under
   the Laws of the jurisdiction of its organization, and has all requisite corporate (or similar entity)
   power and authority to own, lease and operate its properties and to carry on its business in all



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   material respects as now conducted, except where the failure to be so organized, existing and in
   good standing or to have such power and authority would not, individually or in the aggregate, be
   reasonably likely to be material to the business of the Acquired Companies and Non-Controlled
   Entities, taken as a whole. Each Company Subsidiary and to the Knowledge of the Company, each
   Non-Controlled Entity: (i) is duly qualified or authorized to do business as a foreign corporation
   or entity and is in good standing to the extent such concepts are recognized under the Laws of each
   jurisdiction in which the conduct of its business or the ownership of its properties requires such
   qualification or authorization, except where the failure to be so qualified, authorized or in good
   standing would not, individually or in the aggregate, be reasonably likely to be material to the
   business of the Acquired Companies, taken as a whole and (ii) has full organizational power and
   authority to own, lease and operate its properties and carry on its business as presently conducted,
   except where the failure to have such power and authority would not, individually or in the
   aggregate, be reasonably likely to be material to the business of the Acquired Companies, taken as
   a whole.

                 (d)    The Special Master has heretofore made available to the Buyer true, correct
   and complete copies of the Organizational Documents of each Company Subsidiary.

                    (e)    The outstanding Equity Interests of each Company Subsidiary are validly
   issued, fully paid and non-assessable, to the extent such concepts are applicable to such Equity
   Interests, and have not been issued in violation of any preemptive rights or Preferential Rights or
   similar rights, and all such Equity Interests represented as being owned by the Company or any
   Company Subsidiaries are owned by it free and clear of any Liens, other than (i) Liens securing
   Debt of the Company or any Company Subsidiaries (which Liens shall be removed on or before
   the Closing), (ii) Liens relating to the transferability of securities under applicable securities Laws,
   (iii) Liens created by acts of the Buyer or any of its Affiliates and (iv) the Equity Pledge and Liens
   as a result of the 2020 Bonds. There is no outstanding option, warrant, call, Preferential Right,
   right or Contract to which any Company Subsidiary is a party requiring, and there are no
   convertible securities of any Company Subsidiary outstanding which upon conversion would
   require, the issuance of any Equity Interests of any Company Subsidiary or other securities
   convertible into Equity Interests of any Company Subsidiary. No Company Subsidiary is a party
   to any voting trust or other Contract with respect to the voting, redemption, sale, transfer or other
   disposition of the Equity Interests of such Company Subsidiary.

             Section 4.6.         Financial Statements.

                   (a)     Section 4.6 of the Company Disclosure Schedules sets forth true, correct,
   and complete copies of: (i) the audited consolidated balance sheet of the Acquired Companies
   reflected therein as of December 31, 2023, December 31, 2022, and December 31, 2021, the related
   audited consolidated statements of income and comprehensive income, stockholder’s equity and
   cash flow of the Acquired Companies for the fiscal year then ended, together with the related notes
   thereof (the “Audited Financial Statements”); and (ii) the unaudited consolidated balance sheet of
   the Acquired Companies (the “Company Balance Sheet”) as of March 31, 2024 (the “Company
   Balance Sheet Date”) and the related condensed consolidated statements of income and
   comprehensive income, stockholder’s equity and cash flows of the Acquired Companies for the
   three-month period then ended (the “Interim Financial Statements” and, collectively with the
   Audited Financial Statements, and, as and when delivered, the financial statements delivered by



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   the Special Master pursuant to Section 6.23, the “Financial Statements”). Except as set forth in the
   notes to the Financial Statements and with the exception of the absence of normal year-end audit
   adjustments and footnotes in the Interim Financial Statements, each of the Financial Statements
   has been prepared in conformity with United States generally accepted accounting principles
   (“GAAP”) applied on a consistent basis (except as may be indicated in the notes thereto) and fairly
   presents, in all material respects, the consolidated financial position, results of operations and cash
   flows of the Acquired Companies as of the dates and for the periods indicated therein.

                  (b)      The Acquired Companies (i) maintain a standard system of accounting
   established and administered in accordance with GAAP and (ii) have established and maintain a
   system of internal controls over financial reporting designed to provide reasonable assurance
   regarding the reliability of the financial reporting and the preparation of the Financial Statements
   for external purposes in accordance with GAAP. Except as disclosed on Section 4.6(b) of the
   Company Disclosure Schedules, there (x) are no significant deficiencies or weaknesses in any
   system of internal accounting controls used by each of the Acquired Companies, (y) has not been
   since the Lookback Date any fraud or other unlawful wrongdoing on the part of any of management
   or other employees of the Acquired Companies who have a significant role in the preparation of
   Financial Statements or the internal accounting controls used by the Company and each of its
   Subsidiaries relating to such preparation or controls, or (z) has not been since the Lookback Date
   any claim or allegation regarding any of the foregoing.

         Section 4.7.             Absence of Certain Changes. From December 31, 2023 to the date of this
   Agreement:

                  (a)     the Acquired Companies have conducted their businesses in the Ordinary
   Course in all material respects;

                       (b)        there has not been a Company Material Adverse Effect; and

                 (c)    no Acquired Company has entered into, terminated, amended or otherwise
   modified any Related Party Contract.

             Section 4.8.         No Undisclosed Material Liabilities.

                   (a)     The Acquired Companies have no material liabilities of any kind that would
   be required to be reflected in or reserved against on a consolidated balance sheet of the Company
   or in the notes thereto prepared in accordance with GAAP, other than:

                          (i)    liabilities that are adequately accrued and specifically reflected in
             the Company Balance Sheet or the notes thereto;

                            (ii)     liabilities incurred since the Company Balance Sheet Date in the
             Ordinary Course and which, individually or in the aggregate, would not be reasonably
             likely to be material to the Acquired Companies (taken as a whole);

                             (iii) liabilities or obligations that have been discharged or paid in full in
             the Ordinary Course or which, individually or in the aggregate, would not be reasonably
             likely to have a Company Material Adverse Effect;


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                           (iv)    liabilities or obligations under this Agreement or otherwise in
             connection with the Transactions; or

                         (v)     liabilities or obligations set forth in Section 4.8(a)(iv) of the
             Company Disclosure Schedules.

                  (b)    Section 4.8(b) of the Company Disclosure Schedules sets forth a complete
   and accurate accounting of all of the Debt and Credit Support Arrangements owed by the Acquired
   Companies to any Person, calculated as of the date hereof in accordance with GAAP.

           Section 4.9. Legal Proceedings. As of the Execution Date, except for the Specified
   Litigation and as set forth in Section 4.9 of the Company Disclosure Schedules and as would not,
   individually or in the aggregate, be material to the business of the Acquired Companies, taken as
   a whole, there are no material Legal Proceedings pending, or, to the Knowledge of the Company,
   threatened in writing against the Acquired Companies or, to the Knowledge of the Company,
   threatened in writing against any Non-Controlled Entity, in each case, before any Governmental
   Body (whether local, state, federal or foreign). As of the Execution Date, except as would not,
   individually or in the aggregate, be reasonably likely to be material to the business of the Acquired
   Companies, taken as a whole, neither the Company nor any of its Subsidiaries is subject to any
   outstanding judgment, Order, decree or injunction of any court or other Governmental Body.

           Section 4.10. Taxes. Except as set forth in the Company Balance Sheet (including the
   notes thereto) and except as would not, individually or in the aggregate, be reasonably likely to
   have a Company Material Adverse Effect:

                 (a)     all income and other material Tax Returns required to be filed with any
   Taxing Authority by, or with respect to, the Acquired Companies have been filed (taking into
   account any applicable extensions) in accordance with all applicable Laws, the Acquired
   Companies have paid, or caused to be paid, all material Taxes shown as due and payable on such
   Tax Returns, and, as of the time of filing, such Tax Returns were true and complete in all material
   respects;

                  (b)    all material amounts of Taxes which any of the Acquired Companies were
   obligated to withhold from amounts owing to any employee, creditor, owner or third party have
   been fully and timely paid;

                   (c)     except as set forth in Section 4.10(c) of the Company Disclosure Schedules,
   as of the date hereof, there is no Legal Proceeding or Claim in respect of any Tax or Tax Return
   (each, a “Tax Proceeding”) now proposed in writing or pending against or with respect to the
   Acquired Companies;

                  (d)    except as set forth in Section 4.10(d) of the Company Disclosure Schedules,
   none of the Acquired Companies have waived any statute of limitations in respect of Taxes beyond
   the date hereof or agreed to any extension of time beyond the date hereof with respect to a Tax
   assessment or deficiency (other than pursuant to extensions of time to file Tax Returns obtained in
   the Ordinary Course);




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                 (e)     except as set forth in Section 4.10(e) of the Company Disclosure Schedules,
   the Acquired Companies are not a party to, are not bound by and do not have any obligation under
   any Tax sharing, allocation or indemnity agreement, or any similar agreement or arrangement,
   except for (i) any such agreement or arrangement solely between or among the Acquired
   Companies or (ii) any commercial agreement entered into in the Ordinary Course the primary
   purpose of which does not relate to Taxes;

                   (f)     no claim has been made by a Taxing Authority in a jurisdiction where any
   of the Acquired Companies do not file Tax Returns that the Acquired Companies are or may be
   subject to taxation by that jurisdiction, which claim has not been resolved;

                       (g)




                   (h)     none of the Acquired Companies has participated in any “listed transaction”
   (other than a “loss transaction”) within the meaning of Treasury Regulation Section 1.6011-4; and

                (i)     there are no Liens with respect to Taxes upon any asset of the Acquired
   Companies other than Permitted Liens.

          Notwithstanding any other provision in this Agreement, no representation or warranty is
   made with respect to the existence, availability, amount, usability or limitations (or lack thereof)
   of any net operating loss, net operating loss carryforward, capital loss, capital loss carryforward,
   basis amount or other Tax attribute (whether federal, state, local or foreign) of the Acquired
   Companies after the Closing Date, and none of the Buyer or any of its Affiliates (including, after
   the Closing, the Acquired Companies) may rely on any of the representations and warranties in
   this Section 4.10 with respect to any position taken in or any Taxes with respect to any Post-
   Closing Tax Period.

             Section 4.11. Company Benefit Plans; Employment.

                   (a)  The Special Master has provided the Buyer with a list (set forth in Section
   4.11(a) of the Company Disclosure Schedules) identifying each material Company Benefit Plan.

                    (b)    With respect to each material Company Benefit Plan, the Special Master
   has made available to the Buyer true, complete and correct copies (or, to the extent such plan is
   unwritten, an accurate written description), to the extent applicable, of: (i) the current plan and
   trust document and any amendments thereto and the most recent summary plan description,
   together with each subsequent summary of material modifications with respect to such Company
   Benefit Plan, (ii) the most recent annual report on Form 5500 thereto (including any related
   actuarial valuation report) filed with the Internal Revenue Service (if any such report was
   required), (iii) the most recent financial statements, (iv) the most recent Internal Revenue Service


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   determination, opinion or advisory letter, and (v) for the three (3) most recent years,
   nondiscrimination testing results in respect of such Company Benefit Plan. For purposes of this
   Section 4.11(b), summary plan descriptions and summaries of material modification available at
   https://www.hr.citgo.com as of five (5) business days prior to the Execution Date are considered
   to have been made available to the Buyer. The Special Master has made available copies of Code
   Section 280G calculations prepared by the Company or its representatives (whether or not final)
   with respect to certain employees of the Acquired Companies in connection with the Transactions.

                   (c)    Except as would not, individually or in the aggregate, be reasonably likely
   to result in a material liability to the Acquired Companies taken as a whole, (i) each Company
   Benefit Plan has been established, maintained, operated, funded and administered in compliance
   with (A) its terms and (B) the requirements prescribed by Law (including, to the extent applicable,
   ERISA and the Code) which are applicable to such Company Benefit Plan and (ii) all benefits,
   contributions and premium payments required to be made with respect to a Company Benefit Plan
   have been timely made or paid in full, or to the extent not required to be made or paid in full, have
   been accrued and reflected on the Financial Statements as required by GAAP.

                    (d)      Except as would not, individually or in the aggregate, be reasonably likely
   to result in a material liability to the Acquired Companies taken as a whole, (i) no Acquired
   Company or any of their respective ERISA Affiliates has incurred any liability under Title IV of
   ERISA, Sections 412, 430 or 4971 of the Code or Section 302 of ERISA that has not been satisfied
   in full when due, and (ii) all insurance premiums with respect to Company Benefit Plans, including
   premiums to the Pension Benefit Guaranty Corporation (“PBGC”), have been paid when due. No
   Acquired Company or any of their respective ERISA Affiliates currently, sponsors, maintains, or
   contributes to (or is obligated to contribute to) or has any liability, contingent or otherwise, or has
   within the last six (6) years, sponsored or maintained, contributed to or been obligated to contribute
   to, with respect to (i) a “multiemployer plan,” as defined in Section 3(37) of ERISA, (ii) a “multiple
   employer plan” as defined in Section 413(c) of the Code, or (iii) a “multiple employer welfare
   arrangement” within the meaning of Section 3(40) of ERISA.

                    (e)     Except as set forth in Section 4.11(e) of the Company Disclosure Schedules,
   with respect to any Company Benefit Plan that is subject to Title IV of ERISA: (i) there does not
   exist any failure to meet the “minimum funding standard” of Section 412 of the Code or 302 of
   ERISA (whether or not waived); (ii) such plan is not in “at-risk” status for purposes of Section 430
   of the Code; (iii) as of the last day of the most recent plan year ended prior to the Execution Date,
   there is no “amount of unfunded benefit liabilities” as defined in Section 4001(a)(18) of ERISA;
   (iv) except as would not, individually or in the aggregate, be reasonably likely to result in a material
   liability to the Acquired Companies taken as a whole, no reportable event within the meaning of
   Section 4043(c) of ERISA has occurred; and (v) the PBGC has not instituted proceedings to
   terminate any such plan and, to the Knowledge of the Company, no circumstances exist which
   could serve as a basis for the institution of such proceedings.

                    (f)     Each Company Benefit Plan that is intended to be qualified under Section
   401(a) of the Code is so qualified and has received a favorable determination letter or opinion
   letter, if applicable, from the Internal Revenue Service, and the related trust is intended to be
   exempt from federal income taxation under the Code and is so exempt. There are no facts or set of
   circumstances and, to the Knowledge of the Company, nothing has occurred that would reasonably



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   be expected to cause the loss of such qualification or exemption or reasonably be expected to result
   in any Company Benefit Plan being required to pay any Tax or penalty under applicable Law that
   is material to the Acquired Companies taken as a whole as a condition to maintaining such
   qualification or exemption.. Each trust funding any Company Benefit Plan which is intended to
   meet the requirements of Section 501(c)(9) of the Code meets such requirements and provides no
   disqualified benefits (as such term is defined in Section 4976(b) of the Code).

                    (g)     Except (i) as would not, individually or in the aggregate, be reasonably
   likely to result in a material liability to the Acquired Companies taken as a whole or (ii) as set forth
   in Section 4.11(g) of the Company Disclosure Schedules, no Acquired Company has any
   obligation or liability to provide post-employment medical or welfare benefits, except (A) as
   required by the continuing coverage requirements of COBRA and at the sole expense of the
   participant or such participant’s spouse or dependents or (B) death or disability benefits under any
   retirement or deferred compensation plan.. To the Company’s Knowledge, since the Lookback
   Date, there have been no written communications by the Acquired Companies to employees of
   any Acquired Company which promise or guarantee post-employment medical or welfare benefits
   on a permanent basis.

                    (h)      Except as would not, individually or in the aggregate, be reasonably likely
   to result in a material liability to the Acquired Companies taken as a whole, no Acquired Company
   nor any plan sponsor or plan administrator of a Company Benefit Plan, or to the Company’s
   Knowledge, any third-party fiduciary of a Company Benefit Plan, has engaged in any prohibited
   transaction (within the meaning of Section 406 of ERISA or Section 4975 of the Code) or breached
   any fiduciary duty under ERISA with respect to such Company Benefit Plan that would be
   reasonably likely to subject any Acquired Company or Company Benefit Plan to any Tax or
   penalty (civil or otherwise) imposed by ERISA, the Code or other applicable Law, or any other
   material liability. Except (i) as would not, individually or in the aggregate, be reasonably likely to
   result in a material liability to the Acquired Companies taken as a whole, or (ii) as set forth in
   Section 4.11(h) of the Company Disclosure Schedules, there are no pending or, to the Knowledge
   of the Company, threatened claims (other than routine claims for benefits) by or on behalf of any
   Company Benefit Plan or any trusts which are associated with such Company Benefit Plans and,
   to the Knowledge of the Company, no facts or circumstances exist that would reasonably be
   expected to result in such claim. Except as would not, individually or in the aggregate, be
   reasonably likely to result in a material liability to the Acquired Companies taken, none of the
   Company Benefit Plans are under audit or subject to an administrative proceeding or, to the
   Knowledge of the Company, investigation or examination by the Internal Revenue Service, the
   Department of Labor, the PBGC or any other Governmental Body.

                    (i)      Except as would not, individually or in the aggregate, be reasonably likely
   to result in a material liability to the Acquired Companies taken as a whole, each Company Benefit
   Plan that is a “nonqualified deferred compensation plan” within the meaning of Section 409A(d)(1)
   of the Code that is subject to Section 409A of the Code, complies with, and has been operated and
   administered in compliance with, Section 409A of the Code and the regulations and related
   guidance promulgated thereunder in all material respects.

                    (j)    Except (x) as would not, individually or in the aggregate, be reasonably
   likely to result in a material liability to the Acquired Companies taken as a whole, (y) as provided



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   in Section 6.8, or (z) as set forth on Section 4.11(j) of the Company Disclosure Schedules, neither
   the execution, delivery or the performance of this Agreement nor the consummation of the
   Transactions (alone or in conjunction with any other event) will or could reasonably be expected
   to (i) accelerate the time of payment or vesting or increase the amount of, or trigger any funding
   of, compensation or benefits under any Company Benefit Plan; (ii) result in any limitation on the
   right of an Acquired Company or Buyer, or any of their respective Affiliates, to amend, merge,
   terminate or receive a reversion of assets from a Company Benefit Plan or related trust; (iii) entitle
   any current or former director, officer, manager, employee, contractor or consultant of any
   Acquired Company to severance pay, termination pay or any other similar payment, right or
   benefit; (iv) result in any payment, right or benefit that (A) would not be deductible under Section
   280G of the Code and/or (B) would result in any excise tax on any “disqualified individual” (within
   the meaning of Section 280G of the Code) under Section 4999 of the Code. Except as set forth on
   Section 4.11(j) of the Company Disclosure Schedules, none of the Acquired Companies has any
   obligation to gross-up or reimburse any current or former director, officer, manager, employee,
   contractor or consultant of any Acquired Company for any Taxes or related interest or penalties
   incurred by such individual, including under Section 4999, 409A or 105(h) of the Code.

                  (k)      No Company Benefit Plan is maintained primarily in respect of any current
   or former director, officer, manager, employee, contractor or consultant of any Acquired Company
   who is located outside of the United States.

                   (l)     Except as set forth in Section 4.11(l) of the Company Disclosure Schedules
   and as would not, individually or in the aggregate, be material to the Acquired Companies, taken
   as a whole, (i) the Acquired Companies are in material compliance with all applicable Laws
   respecting employment, employment practices and terms and conditions of employment, including
   all Laws relating to labor, labor relations, collective bargaining, occupational safety and health,
   and wages, hours, worker classification, immigration, whistleblower protections, reasonable
   accommodation, leaves of absence, paid sick leave, unemployment insurance, workers’
   compensation, retaliation, harassment, and employment discrimination and (ii) there are no actual
   or, to the Knowledge of the Company, threatened unfair labor practice charges, labor grievances,
   or labor arbitrations against the Acquired Companies which, individually or in the aggregate, are
   expected to result in material liability for the Company.

                 (m)    To the Knowledge of the Company, no employee of the Acquired
   Companies holding a position of executive vice president or above has notified the Company or
   the Acquired Companies in writing of an intention to resign, retire, or otherwise terminate his or
   her employment prior to the Closing or in connection with the Transactions nor, to the Knowledge
   of the Company, does any such employee have an intention to do so.

                   (n)     Except as set forth in Section 4.11(n) of the Company Disclosure Schedules,
   (i) none of the Acquired Companies are party to or bound by any collective bargaining agreements
   or other agreement (each, a “Collective Bargaining Agreement”) with any labor union, works
   council, or other labor organization (each, a “Union”) and no such agreement is being negotiated by
   any of the Acquired Companies (each such Collective Bargaining Agreement set forth on Section
   4.11(n) of the Company Disclosure Schedules, a “Company Collective Bargaining Agreement”); (ii)
   since the Lookback Date, to the Knowledge of the Company, no group of employees of an Acquired
   Company or Union has sought to organize any employees of an Acquired Company not covered by



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   a Company Collective Bargaining Agreement for purposes of collective bargaining, made a demand
   for recognition or certification, sought to bargain collectively with any Acquired Company, or filed
   a petition for recognition with any Governmental Body, except that resulted in entry into or involved
   a pre-existing Company Collective Bargaining Agreement; and (iii) since the Lookback Date, there
   has been no labor strike, lockout, slowdown, stoppage, picketing, boycott, handbilling,
   demonstration, leafletting, sit-in, sick-out, lockout or other form of organized labor disruption
   pending or, to the Knowledge of the Company, threatened against or affecting any Acquired
   Company.

                  (o)     Since the Lookback Date, (i) to the Knowledge of the Company, no material
   allegations of sexual harassment or other sexual misconduct have been made by any current or
   former employee of the Acquired Companies against any current employee of the Acquired
   Companies with the title of executive vice president or above and, to the Knowledge of the
   Company, no employee of any Acquired Company has engaged in any cover up of such harassment
   or misconduct or knowingly aided or assisted any other person or entity to engage in any such
   harassment or misconduct, (ii) there are no Legal Proceedings pending or, to the Knowledge of
   the Company, threatened related to any allegations made by any current or former employee of the
   Acquired Companies of sexual harassment or other sexual misconduct against any employee of
   the Acquired Companies with the title of executive vice president or above and (iii) none of the
   Acquired Companies have entered into any settlement agreements related to allegations of sexual
   harassment or other sexual misconduct made by any current or former employee of the Acquired
   Companies against any current employee of the Acquired Companies who is or was at the time of
   the alleged conduct in a managerial or supervisory role with the title of executive vice president or
   above.

                   (p)     Since the Lookback Date, the Acquired Companies have complied in all
   material respects with Worker Adjustment and Retraining Notification Act and any similar state
   or local law, as amended (collectively, the “WARN Act”) and have not incurred any material
   liability or material obligation under the WARN Act.

                  (q)    Except as would not be reasonably expected to result in material liability to
   the Company, each of the employees of the Acquired Companies have all work permits,
   immigration permits, visas, or other authorizations required by applicable Law for such individual
   given the duties and nature of such individual’s employment, and the Acquired Companies have
   on file for each employee of the Acquired Companies a Form I-9 that is validly and properly
   completed in accordance with applicable Law.

                  (r)    No Acquired Company is a party to a U.S. federal Government Contract.
   The Acquired Companies are not, and have not been since the Lookback Date, the subject of any
   Legal Proceeding in connection with any U.S. federal Government Contract or related compliance
   with Executive Order No. 11246 of 1965, Section 503 of the Rehabilitation Act of 1973 or the
   Vietnam Era Veterans’ Readjustment Assistance Act of 1974. The Acquired Companies are not
   debarred, suspended or otherwise ineligible from doing business with the U.S. government or any
   U.S. government contractor.

                   (s)      Except as would not, individually or in the aggregate, be reasonably likely
   to result in a material liability to the Acquired Companies taken as a whole; there are no, and since



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   the Lookback Date there have not been, any material workers’ compensation claims, insured or
   uninsured, pending or, to the Knowledge of the Company, threatened, relating to any employee of
   the Acquired Companies or any Company Benefit Plan. Except as would not, individually or in
   the aggregate, be reasonably likely to have a Company Material Adverse Effect, all amounts
   required by any statute, insurance policy, Governmental Body or agreement to be paid by the
   Acquired Companies into any workers’ compensation loss or reserve fund, collateral fund, sinking
   fund or similar account have been duly paid into such fund or account as required.

                  (t)    Pursuant to the terms of the EPP and the RRP, the Company has established
   and maintains a grantor trust that will become irrevocable as of the Closing (the “EPP and RRP
   Rabbi Trust”).

             Section 4.12. Compliance with Laws; Permits.

                  (a)     Except as set forth in Section 4.12(a) of the Company Disclosure Schedules,
   since the Lookback Date, (i) none of the Acquired Companies and, to the Knowledge of the
   Company, none of the Non-Controlled Entities has materially violated or is in material violation
   of, any Laws except for any violations that, individually or in the aggregate, are not, and would
   not be reasonably likely to be material to the business of the Acquired Companies, taken as a whole
   and (ii) none of the Acquired Companies has received any written notice of or been charged with
   the material violation of any Laws except for any violations that, individually or in the aggregate,
   are not, and would not be reasonably likely to be material to the business of the Acquired
   Companies, taken as a whole.

                  (b)    Except as set forth in Section 4.12(b) of the Company Disclosure Schedules,
   the Acquired Companies have all Permits which are required for the operation of its respective
   business as presently conducted (and such Permits are in full force and effect), except for any
   Permit which the failure of the Acquired Companies to have (or to be in full force and effect)
   would not be material to the business of the Acquired Companies, taken as a whole. Except as
   would not be material to the Acquired Companies, taken as a whole, the Acquired Companies are,
   and since the Lookback Date have been, in compliance in all material respects with the terms,
   conditions or provisions of any such Permits.

             Section 4.13. Regulatory Matters.

                  (a)     Except as would not, individually or in the aggregate, reasonably be
   expected to be material to the Acquired Companies, taken as a whole, and except as set forth in
   Section 4.13(a) of the Company Disclosure Schedules, since the Lookback Date, (i) none of the
   Acquired Companies, the Acquired Companies’ directors, officers, employees, nor to the
   Knowledge of the Company, any Representatives or other Person acting on behalf of the Acquired
   Companies has violated any Anti-Corruption Law and (ii) none of the Acquired Companies, the
   Acquired Companies’ directors, officers, employees, nor to the Knowledge of the Company, any
   Representatives or other Person acting on behalf of the Acquired Companies, has offered, paid,
   given, promised, authorized, solicited or received, the payment of, anything of value (including,
   but not limited to, money, checks, wire transfers, tangible and intangible gifts, favors, services,
   employment or entertainment and travel) directly or indirectly to or from any employee, officer,
   or Representative of, or any Person otherwise acting in an official capacity for or on behalf of a



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   Governmental Body, whether elected or appointed, including an officer or employee of a state-
   owned or state-controlled enterprise, a political party, political party official or employee,
   candidate for public office, or an officer or employee of a public international organization (such
   as the World Bank, United Nations, International Monetary Fund, or Organization for Economic
   Cooperation and Development) (any such person, a “Government Official”) (A) for the purpose
   of (1) influencing any act or decision of a Government Official or any other person in his or her
   official capacity, (2) inducing a Government Official or any other person to do or omit to do any
   act in violation of his or her lawful duties, (3) securing any improper advantage, (4) inducing a
   Government Official or any other person to influence or affect any act or decision of any
   Governmental Body or (5) assisting the Acquired Companies, or any Acquired Company director,
   officer employee, Representative, or any other person acting on behalf of an Acquired Company
   in obtaining or retaining business, or (B) in a manner which would constitute or have the purpose
   or effect of public or commercial bribery or corruption, acceptance of, or acquiescence in extortion,
   kickbacks, or other unlawful or improper means of obtaining or retaining business or any improper
   advantage.

                  (b)      Except as would not, individually or in the aggregate, reasonably be
   expected to be material to the Acquired Companies, taken as a whole, and except as set forth in
   Section 4.13(b) of the Company Disclosure Schedules, (i) the Acquired Companies and their
   respective directors, officers, employees, and, to the Knowledge of the Company, Representatives
   and other Persons acting for or on behalf of any of the foregoing Persons, are, and at all times since
   the Lookback Date, in compliance with all applicable Economic Sanctions/Trade Laws and all
   applicable Money Laundering Laws and (ii) in the five (5) years prior to the Execution Date none
   of the Acquired Companies is a Sanctions Target or has carried on or carries on, any business,
   directly or knowingly indirectly, involving Cuba, Iran, Syria, North Korea, the Crimea region, the
   non-government-controlled areas of Zaporizhzhia and Kherson or the so-called Donetsk or
   Luhansk People’s Republics or any Sanctions Target in violation of applicable Economic
   Sanctions/Trade Laws.

                  (c)     Except as would not, individually or in the aggregate, reasonably be
   expected to be material to the Acquired Companies, taken as a whole, and except as set forth in
   Section 4.13(c) of the Company Disclosure Schedules, since the Lookback Date (i) none of the
   Acquired Companies has conducted or initiated any internal investigation, review or audit, or made
   a voluntary, directed, or involuntary disclosure to any Governmental Body or third party with
   respect to any alleged or suspected act or omission arising under or relating to any potential
   noncompliance with any applicable Anti-Corruption Law, Economic Sanctions/Trade Law, or
   Money Laundering Law, (ii) none of the Acquired Companies, nor any of their respective directors
   or officers, nor, to the Knowledge of the Company, any employees (other than officers),
   Representatives, or any other Person acting at the direction of an Acquired Company has received
   any written notice, request or citation (including a whistleblower complaint) for any actual or
   potential noncompliance with any applicable Anti-Corruption Law, Economic Sanctions/Trade
   Law or Money Laundering Law, (iii) the Acquired Companies have implemented and maintained
   internal controls, policies and procedures designed to detect and prevent violations of Anti-
   Corruption Laws, Economic Sanctions/Trade Laws and Money Laundering Laws, and (iv) the
   Acquired Companies have at all times made and maintained accurate books and records in material
   compliance with all applicable Anti-Corruption Laws, Economic Sanctions/Trade Laws or Money
   Laundering Laws.


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            Section 4.14. Environmental Matters. Except as set forth in Section 4.14 of the Company
   Disclosure Schedules and except as would not, individually or in the aggregate, reasonably be
   expected to result in the Acquired Companies incurring liabilities which are material to the
   Acquired Companies, taken as a whole, (i) no written Claim or Order has been received by, and
   no Legal Proceeding is pending or, to the Knowledge of the Company, threatened by any Person
   against the Acquired Companies, and no penalty has been assessed or consent decree or Order
   issued by a Governmental Body against the Acquired Companies, in each case, with respect to any
   matters arising out of any Environmental Law, which remains outstanding; (ii) the Acquired
   Companies have been since the Lookback Date, and are, in compliance with all Environmental
   Laws, which compliance includes obtaining, maintaining and complying with Permits required
   under Environmental Laws for the conduct of their respective businesses (the “Company
   Environmental Permits”); (iii) no Governmental Body has begun, or to the Knowledge of the
   Company, threatened to begin, any Legal Proceeding to terminate, revoke, cancel, suspend,
   materially reform or not renew any Company Environmental Permit; (iv) to the Knowledge of the
   Company, there is no investigation pending or threatened against the Acquired Companies by any
   Governmental Body alleging non-compliance with or liability under any Environmental Law; (v)
   to the Knowledge of the Company, the Acquired Companies have not generated, treated, stored,
   disposed of, arranged for the disposal of, transported, or Released, or exposed any Person to, any
   Hazardous Substances in a manner or concentration that has given rise, or would reasonably be
   expected to give rise, to liabilities of the Acquired Companies under Environmental Laws, which
   liability has not been resolved; (vi) to the Knowledge of the Company, no Hazardous Substances
   have been Released in or under, and no Hazardous Substances are migrating from, (x) properties
   currently, or to the Knowledge of the Company, formerly owned, leased or operated by the
   Acquired Companies in a manner or concentrations requiring the Acquired Companies to
   undertake any investigation, monitoring, removal or remediation under Environmental Laws or
   (y) to the Knowledge of the Company, any other properties in a manner or concentrations requiring
   the Acquired Companies to undertake any investigation, monitoring, removal or remediation under
   Environmental Laws; and (vii) none of the Acquired Companies has assumed by contract liabilities
   or obligations of any other Person arising under Environmental Laws. The Company has made
   available to the Buyer copies of all material, non-privileged environmental investigations,
   assessments or reports conducted in the three (3) years prior to the Execution Date by or on behalf
   of the Acquired Companies in relation to any current or prior business of the Acquired Companies
   or any property or facility currently or previously owned, leased or operated by the Acquired
   Companies, which investigation, assessment or report reveals actual or potential unresolved
   material non-compliance with or liability under any Environmental Law, but excluding routine
   environmental monitoring reports conducted by the Acquired Companies in the Ordinary Course.

            Section 4.15. Title to Properties. Except as would not, individually or in the aggregate, be
   material to the Acquired Companies, taken as a whole, each of the Acquired Companies has good
   title to, or valid leasehold or other ownership interests or rights in, all its material properties and
   assets except: (i) for such interest or rights as are no longer used or useful in the conduct of the
   business of the Acquired Companies as of the Execution Date or as have been disposed of in the
   Ordinary Course, and (ii) for defects in title, burdens, easements, restrictive covenants and similar
   encumbrances or impediments that, in each case that do not and will not, individually or in the
   aggregate, interfere with its ability to conduct its business as currently conducted. None of the
   properties and assets of the Acquired Companies are subject to any Liens (other than Permitted
   Liens) that, in the aggregate, interfere with the ability of the Acquired Companies to conduct their


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   business in the Ordinary Course except as would not, individually or in the aggregate, have a
   Company Material Adverse Effect.

             Section 4.16. Material Contracts.

                  (a)    Section 4.16(a) of the Company Disclosure Schedules sets forth a true,
   correct and complete list of each Material Contract. For purposes of this Agreement, “Material
   Contract” shall mean any Contract to which any Acquired Company, and to the Knowledge of the
   Company, any Specified Joint Venture, is a party or to which any assets, properties, or businesses
   of any Acquired Company, or to the Knowledge of the Company, any Specified Joint Venture, are
   bound as of the Execution Date (in each case, excluding (i) Contacts between or among Acquired
   Companies only and (ii) spot order Contracts entered into in the Ordinary Course of Business)
   that:

                            (i)     (A) limits in any material respect either the type of business in which
             any Acquired Company may engage or the manner or locations in which any of them may
             so engage in any business (including through “non-competition” or “exclusivity”
             provisions), (B) would require the disposition of any material assets or line of business of
             any Acquired Company or (C) grants “most favored nation” or similar status with respect
             to any material obligations and would run in favor of any Person (other than the Company
             or a wholly owned Company Subsidiary);

                            (ii)   (A) is an indenture, loan or credit Contract, loan note, mortgage
             Contract, or other Contract representing, or any guarantee of, indebtedness for borrowed
             money of any Acquired Company in excess of $10,000,000 (excluding any government-
             mandated or state-wide bonds or guarantees), (B) is a finance lease of any Acquired
             Company as lessee in excess of $5,000,000, or (C) is a guarantee by any Acquired
             Company of indebtedness for borrowed money or any finance lease of any Person other
             than the Company or a wholly owned Company Subsidiary (excluding any government-
             mandated or state-wide bonds or guarantees);

                              (iii) grants (A) any right of first refusal, right of first negotiation or
             similar right, or (B) any put, call or similar right, to any Person (other than the Company
             or a wholly owned Company Subsidiary) with respect to any Equity Interest, property, or
             other asset, in each case, that is material to the Acquired Companies;

                             (iv)   was entered into to resolve or settle any litigation or threatened
             litigation (A) for an amount in excess of $5,000,000 payable by an Acquired Company
             (without taking into account insurance proceeds) or (B) which imposes any non-monetary
             ongoing obligation on any Acquired Company or any Non-Controlled Entity (other than
             customary confidentiality obligations), in each case of clause (A) and clause (B), that has
             not been fully paid or performed, as applicable;

                            (v)    limits or restricts the ability of any Acquired Company to declare or
             pay dividends or make distributions in respect of their Equity Interests that will be binding
             from and after the Closing;




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                              (vi)   is a partnership, limited liability company, joint venture, co-
             development or other similar agreement, relating to the formation, creation, operation,
             management or control of any partnership, limited liability company, joint venture, co-
             development or similar entity (however organized) in which the Company owns, directly
             or indirectly, through a Company Subsidiary (excluding Equity Interests owned directly or
             indirectly by any Non-Controlled Entities) any Equity Interest and has invested or is
             contractually required to invest capital (including for the avoidance of doubt with respect
             to any Non-Controlled Entity or non-wholly owned Company Subsidiary, but excluding
             any wholly owned Company Subsidiary);

                             (vii) relates to the sale, transfer or acquisition or disposition of any
             material business, material assets (other than those providing for sales, transfers or
             acquisitions of assets in the Ordinary Course) or Equity Interests of any Acquired
             Company, in each case (A) for an amount in excess of $10,000,000 in any transaction or
             series of related transactions (other than Contracts for transactions that were consummated
             prior to the Lookback Date or Contracts that do not contain any ongoing rights owing to,
             or obligations or liabilities of, any Acquired Company) or (B) pursuant to which any
             Acquired Company has any material ongoing obligations or liabilities (including in respect
             of indemnification, “earn-out” and similar contingent or deferred payment obligations);

                          (viii) is a Contract providing for indemnification by an Acquired
             Company of any officer, manager, director or employee of any Acquired Company;

                             (ix)   is a Contract (A) with an employee of an Acquired Company,
             pursuant to which such employee is entitled to receive base annual compensation in excess
             of $400,000, (B) that provides for mandatory or potential severance payments by an
             Acquired Company in excess of $100,000 or (C) with an employee, officer or director of
             any Acquired Company that (I) contains any non-compete or non-solicitation covenants or
             (II) modifies the at-will nature of the employment of any employee or otherwise requires
             advance notice for the termination of the Contract by any Acquired Company;

                                  (x)   is a Company Collective Bargaining Agreement;

                            (xi)    is a term Contract with one of the ten largest suppliers of a Business
             Unit of the Acquired Companies (as determined by dollar volume for the 12-month period
             immediately prior to the Effective Date); and

                            (xii) is a term Contract with one of the ten largest customers of a Business
             Unit of the Acquired Companies (as determined by dollar volume for the 12-month period
             immediately prior to the Effective Date).

                   (b)    Each Material Contract is a legal, valid and binding obligation of the
   Acquired Companies as applicable, other than those Material Contracts to which a Non-Controlled
   Entity is party, each of which are, to the Knowledge of the Company, a legal, valid and binding
   obligation of such Non-Controlled Entity. Except as would not, individually or in the aggregate,
   be material to the Acquired Companies, taken as a whole, each Material Contract is in full force
   and effect and enforceable by the applicable Acquired Company, or, to the Knowledge of the



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   Company, the applicable Non-Controlled Entity, in each case, subject to the Equitable Exceptions,
   and none of the Acquired Companies or, to the Knowledge of the Company, any Non-Controlled
   Entity or any other party to a Material Contract, is in material breach or violation of any provision
   of, or in material default under, any Material Contract, and no event has occurred that, with or
   without notice, lapse of time or both, would constitute a material breach, violation or default or
   give rise to a right of termination, cancellation or acceleration of any material right or obligation
   or loss of any benefit thereunder. A true and correct copy of each Material Contract has previously
   been made available to the Buyer.

                   (c)    Since the Lookback Date, none of any Acquired Company or its Affiliates,
   or to the Knowledge of the Company, any Non-Controlled Entity, has given or received (i) written
   notice regarding any actual or alleged or potential violation of any provision under any Material
   Contract or (ii) written notice to any Material Contract threatening, intending or electing to
   terminate, repudiate, modify or cancel such Material Contract. Except as would not, individually
   or in the aggregate, be material to any Acquired Company, the Acquired Companies (or, if
   applicable, to the Knowledge of the Company, the Non-Controlled Entities) have properly paid all
   amounts to be paid and otherwise performed all material obligations required to be performed by
   them under the Material Contracts.

             Section 4.17. Intellectual Property and Data Privacy.

                   (a)     Section 4.17(a) of the Company Disclosure Schedules sets forth a list of all
   registered Intellectual Property that is owned by the Acquired Companies and is used in, held by,
   or held for use in the conduct of the business of the Acquired Companies as of the Execution Date
   (“Registered Intellectual Property”). Except as would not, individually or in the aggregate, be
   material to the Acquired Companies, taken as a whole, the Acquired Companies own or possess
   the right to use, license and enforce all (i) patents and patent applications, (ii) registered, applied
   for, or unregistered trademarks, trade names, trade dress, service marks, logos, and business
   names, and all related goodwill, (iii) internet domain names, (iv) registered, applied for, or
   unregistered works of authorship and copyrights, including copyrights in computer software
   programs or applications, and (v) trade secrets, know- how and other confidential and proprietary
   information, including ideas, inventions (whether patentable or not), research, pricing and cost
   information, customer information, business plans, marketing plans, and proposals (collectively,
   “Intellectual Property”) that are used in, held by, or held for use in the conduct of the business of
   the Acquired Companies as currently conducted (collectively, the “Company Intellectual
   Property” and to the extent owned by the Acquired Companies the “Company Owned Intellectual
   Property”), free and clear of all Liens, except for Permitted Liens. To the Knowledge of the
   Company, the Registered Intellectual Property is valid and enforceable.

                  (b)     (i) Since the Lookback Date, to the Knowledge of the Company, the conduct
   of the business of the Acquired Companies and use of the Company Intellectual Property does not
   and has not infringed upon or otherwise violated any Intellectual Property rights of any other
   Person; (ii) no third party is challenging, or, to the Knowledge of the Company, infringing or
   otherwise violating any right of the Acquired Companies in the Company Owned Intellectual
   Property; and (iii) since the Lookback Date, the Acquired Companies have not received written
   notice of any pending Claim, Order or Legal Proceeding with respect to any alleged or potential
   infringement or other violation of Intellectual Property rights of any other Person or with respect



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   to any Company Intellectual Property. The Acquired Companies have taken commercially
   reasonable measures to maintain the confidentiality of any material proprietary information or
   trade secrets included in Company Intellectual Property.

                   (c)    Except as would not, individually or in the aggregate, reasonably be
   expected to be material to the Acquired Companies, taken as a whole, each current and former
   employee and independent contractor of any Acquired Company who has participated in the
   conception or development of any Intellectual Property has assigned to such Acquired Company
   by operation of law, or has entered into a valid and enforceable written agreement with such
   Acquired Company assigning to such Acquired Company all Intellectual Property created by such
   Person within the scope of such Person’s duties to the Acquired Company and prohibiting such
   Person from using or disclosing confidential information of the Acquired Company. To the
   Knowledge of the Company, no current or former employee or independent contractor of the
   Acquired Companies is in violation of any such agreement, and there has been no unlawful,
   accidental, or unauthorized access to or use or disclosure of any trade secrets, know-how and other
   confidential and proprietary information of the Acquired Companies.

                   (d)     Since the Lookback Date, no third party (including any employee, worker,
   contractor or subcontractor) has made any claim of ownership in respect of any of the Company
   Owned Intellectual Property in writing to any Acquired Company and, to the Company’s
   Knowledge, the Acquired Companies are not aware of any matter or fact which is likely to give
   rise to any such claim.

                    (e)    Except as would not, individually or in the aggregate, be material to the
   Acquired Companies, taken as a whole, to the extent that the Acquired Companies license
   Intellectual Property to a third party or license any Intellectual Property belonging to any third
   party: (i) no such licenses have been the subject of any breach or default by any Acquired Company
   or, to the Company’s Knowledge, any such third party; (ii) such licenses are valid and binding;
   (iii) such licenses have not been the subject of any claim, dispute or proceedings; and (iv) in respect
   of licenses of Intellectual Property by any Acquired Company to third parties, such licenses do not
   materially restrict any Acquired Company from using the Intellectual Property to which they
   relate.

                   (f)     Since the Lookback Date, except as would not, individually or in the
   aggregate, be material to the Acquired Companies, taken as a whole, the Acquired Companies
   have: (i) materially complied with all applicable Laws and self-regulatory guidelines, PCI DSS,
   the obligations under their Contracts, and their public privacy policies, in each case, relating to the
   processing of any Personal Information (collectively, “Privacy Laws and Obligations”); (ii)
   implemented and maintained reasonable administrative, physical and technical safeguards
   designed to protect all Personal Information in their possession or under their control against loss,
   theft, or unauthorized access, use modification, disclosure; (iii) not experienced any material
   Security Incident, and, to the Knowledge of the Company, no service provider (in the course of
   processing Personal Information for or on behalf of the Acquired Companies) has suffered any
   material Security Incident impacting Personal Information in the possession or control of the
   Acquired Companies; and (iv) not received any written notice of any claims of, or been charged
   with, the violation of any Privacy Laws and Obligations. The execution of this Agreement and the




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   other Transaction Documents and the consummation of the transactions contemplated hereunder
   and thereunder do not materially violate any Privacy Laws and Obligations.

                  (g)     The Acquired Companies have used commercially reasonable efforts to
   prevent the introduction into the Systems, and, to the Company’s Knowledge, such Systems do
   not contain, any ransomware, disabling codes or instructions, spyware, Trojan horses, worms,
   viruses or other software routines that permit or cause unauthorized access to, or disruption,
   impairment, disablement, or destruction of, software, data or other materials. The Acquired
   Companies have used commercially reasonable efforts to implement material security patches that
   are generally available for the Systems. To the Company’s Knowledge, since the Lookback Date,
   the Systems have not suffered any unplanned or critical failures, continued substandard
   performance, errors, breakdowns or other adverse events that have caused any material disruption
   or interruption in the operation of the business of the Acquired Companies. The Acquired
   Companies have implemented and maintain commercially reasonable business continuity and
   disaster recovery plans, procedures and facilities for its business.

                   (h)     The Acquired Companies have in place commercially reasonable measures
   to protect the confidentiality, integrity, availability and security of the Systems. To the Company’s
   Knowledge, the Systems (i) are in good working order; (ii) function in all material respects in
   accordance with all specifications and any other descriptions under which they were supplied; (iii)
   are substantially free of any material defects, bugs and errors; and (iv) are sufficient for the existing
   needs of the business of the Acquired Companies. The Acquired Companies have conducted
   commercially reasonable penetration tests at reasonable intervals on the Systems, and have
   addressed, or, are in the process of addressing, all material privacy or data security issues raised in
   any such audits or penetration tests (including third party audits of the Systems).

          Section 4.18. Brokers; Financial Advisor. No broker, investment banker, financial
   advisor or other Person, other than Evercore, is entitled to any commission, brokerage fee or
   “finders fee” in connection with the consummation of the Transactions.

             Section 4.19. Real Property.

                    (a)    Section 4.19(a) of the Company Disclosure Schedules sets forth a true,
   accurate and complete list as of the Execution Date of all leases or subleases of real property with
   respect to which any Acquired Company is the tenant or lessee, together with a list of the addresses
   of all such real property (if specified in such lease or sublease) which are material to the Acquired
   Companies (individually, a “Real Property Lease” and, collectively, the “Real Property Leases”).
   Subject to the Equitable Exceptions, the applicable Acquired Company has a good, valid, binding
   and enforceable interest under each of the Real Property Leases and the vesting instruments under
   which an Acquired Company holds an easement or similar interest (such vesting instruments,
   collectively with the Real Property Leases, the “Vesting Instruments”), free and clear of all Liens
   (other than Permitted Liens). No Acquired Company nor, to the Knowledge of the Company, any
   other party to any Vesting Instrument is in material breach or default thereunder, and no event has
   occurred or condition exists that, with notice or lapse of time, or both, would constitute a default
   by an Acquired Company or, to the Knowledge of the Company, any other Person under any of
   the Vesting Instruments, other than defaults that have been cured or waived in writing. Except as
   would not, individually or in the aggregate, be material to the Acquired Companies, taken as a



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   whole, all landlord work or tenant work under each Real Property Lease has been completed and
   there are no leasing commissions due or payable with respect to any Real Property Lease. Each
   Vesting Instrument is in full force and effect and, to the Knowledge of the Company, is the valid,
   binding and enforceable obligation of each party thereto, in accordance with its terms.

                   (b)     Section 4.19(b) of the Company Disclosure Schedules sets forth a true,
   accurate, and complete list of all real property owned in fee by the Acquired Companies (“Owned
   Real Property” and together with the real property in which the Acquired Companies hold interests
   pursuant to the Vesting Instruments, the “Real Property”), together with the address of the
   applicable property. Each Acquired Company owns good, valid and marketable title in fee simple
   to the Owned Real Property and there are no outstanding Preferential Rights, ownership or use, or
   other contractual rights in favor of any other Person to purchase, acquire, sell, assign or otherwise
   dispose of any Acquired Companies’ interest in any Real Property or any portion thereof or interest
   therein. Each Acquired Company has the valid and enforceable power and unqualified right to use
   and sell, transfer, convey or assign the Owned Real Property, free and clear of all Liens other than
   Permitted Liens.

                  (c)    Section 4.19(c) of the Company Disclosure Schedules sets forth a complete
   list of all Owned Real Property held by the Acquired Companies as a tenant in common or other
   joint ownership structure (collectively, the “Jointly Owned Properties”), together with a detailed
   description of the respective ownership structure (and the applicable Acquired Company’s
   ownership percentage) of each Jointly Owned Property. None of the other owners of the Jointly
   Owned Properties have any rights of first refusal, rights of first offer or other Preferential Rights
   to purchase, or otherwise modify or later the applicable Acquired Company’s interest in, any of
   the Jointly Owned Properties that would be triggered by the Transactions.

                  (d)     To the Knowledge of the Company, all material buildings, structures,
   improvements, fixtures, building systems and attached equipment, and all material components
   thereof, included in the Real Property are in good condition and repair, normal wear and tear
   excepted. No work has been done at the Real Property, and no materials have been supplied to the
   Real Property, that have not been paid for, and there are no material materialman’s liens or
   mechanic’s liens affecting the Real Property.

                   (e)    The Real Property constitutes all interests in real property (i) currently used,
   occupied or held for use in connection with the business of the Acquired Companies as presently
   conducted and (ii) necessary for the continued operation of the business of the Acquired
   Companies. None of the improvements to any Real Property constitute a legal non-conforming use
   or otherwise require any special dispensation, variance or permit under any Law. To the
   Knowledge of the Company, the Company or the applicable Acquired Company has all certificates
   of occupancy, permits, licenses, certificates of authority, authorizations, approvals, registrations,
   and similar consents issued by or obtained from any Governmental Body necessary for the current
   use and operation of the Real Property, except for any such items where the failure of the applicable
   Acquired Company to hold or possess such item would not, individually or in the aggregate, be
   material to any Acquired Company. The Real Property is in compliance in all material respects
   with all applicable Laws and fire, health, building, use, occupancy, subdivision and zoning codes.




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                  (f)     Except as would not, individually or in the aggregate, be material to the
   Acquired Companies, taken as a whole, the Company, any Acquired Company and each parcel of
   Real Property (i) are now, and have been since the Lookback Date, in material compliance with
   all declarations of covenants, conditions or restrictions, restrictive covenants and reciprocal
   easement agreements, in each case, affecting any Real Property, and (ii) have not received any
   notice of any material breach, violation or default under any such declarations, agreements or
   easements.

                 (g)    There do not exist any actual or, to the Knowledge of the Company,
   threatened condemnation or eminent domain proceedings that affect any Real Property or any part
   thereof.

                  (h)    Since the Lookback Date, no Acquired Company has received written
   notice of any, and to the Knowledge of the Company there is no, default under any restrictive
   covenants or other encumbrances pertaining to the Real Property.

             Section 4.20. Government Contracts.

                   (a)     Section 4.20(a) of the Company Disclosure Schedules sets forth a true,
   correct and complete list of each Government Contract and Government Bid to which any
   Acquired Company is a party. A true, correct and complete copy of each such Government
   Contract and Government Bid has been made available to the Buyer. Each such Government
   Contract is a legal, valid and binding obligation of the applicable Acquired Company and, to the
   Knowledge of the Company, is in full force and effect and enforceable by the applicable Acquired
   Company in accordance with its terms, and no such Government Contract (nor any interest therein)
   has been the subject of any assignment or financing arrangement.

           Section 4.21. Business Relationships. Section 4.22 of the Company Disclosure Schedules
   sets forth a list of the (a) ten (10) largest customers of the Acquired Companies, as determined by
   dollar volume for the last twelve (12) months (“Major Customers”) and (b) the top ten (10)
   suppliers, vendors and service providers of the Acquired Companies by aggregate expenses of the
   Acquired Companies during the last twelve (12) months (“Major Suppliers”). During the last
   twelve (12) months, no Major Customer or Major Supplier has cancelled, terminated or threatened
   to terminate or cancel in writing (or, to the Knowledge of the Company, orally), its relationship
   with any Acquired Company. No Acquired Company has received any notice that any Major
   Customer or Major Supplier may materially modify its relationship with any Acquired Company
   or decrease its purchase of goods or services to or from any Acquired Company. No Acquired
   Company is involved in any material claim, dispute, controversy, or Legal Proceeding with any
   Major Customer or Major Supplier. Except as noted in Section 4.22 of the Company Disclosure
   Schedules, no Contract between any Acquired Company, on the one hand, and any Major
   Customer or Major Supplier, on the other hand, is subject to cancellation or termination by any
   party to such Contract on notice of one hundred twenty (120) days or less without any liability to
   such canceling or terminating party.

         Section 4.22. Related Party Transactions. Except as set forth in Section 4.22 of the
   Company Disclosure Schedules, none of the Acquired Companies, on the one hand, is party to any
   agreement with PDVSA or its Affiliates (excluding the Acquired Companies and their



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   Subsidiaries) pursuant to which an Acquired Company has material ongoing obligations. Other
   than the Shares, neither PDVSA nor any of its Affiliates (excluding the Acquired Companies and
   their Subsidiaries), owns any interest in or any property (real, personal or mixed, tangible or
   intangible) of the Acquired Companies.

           Section 4.23. Insurance. Section 4.23 of the Company Disclosure Schedules lists each
   material insurance policy maintained by the Acquired Companies with respect to the properties,
   assets, business, operations and employees of the Acquired Companies. To the Knowledge of the
   Company, all such policies are valid and binding on the Acquired Company and enforceable in
   accordance with their terms against the Acquired Companies, in each case except for the Equitable
   Exceptions, and all premiums with respect thereto have been paid to the extent due. To the
   Knowledge of the Company, there are no material Claims by the Acquired Companies pending
   under any such insurance policies as to which coverage has been denied by the underwriters of
   such policies. To the Knowledge of the Company, the Acquired Companies have not received
   written notice of termination or material reduction of coverage with respect to any of such
   insurance policies.

             Section 4.24. No Additional Representations.

                   (a)     Except for the representations and warranties made in (i) this Article IV, as
   qualified by the Company Disclosure Schedules, (ii) any certificate delivered pursuant to this
   Agreement or (iii) any other Transaction Document, no Person makes or shall be deemed to make
   any other representation or warranty of any kind whatsoever, express or implied, written or oral,
   at law or in equity, with respect to any of the Acquired Companies or their respective businesses,
   operations, assets, liabilities or conditions (financial or otherwise) in connection with this
   Agreement or the Transactions, any other rights or obligations to be transferred pursuant to the
   Transaction Documents or any other matter, and the Special Master (on behalf of himself and the
   Company) hereby disclaims any such other representations or warranties. In particular, without
   limiting the foregoing disclaimer, except for the representations and warranties made in (i) this
   Article IV, as qualified by the Company Disclosure Schedules, or (ii) any certificate delivered
   pursuant to this Agreement, no Person makes or has made any representation or warranty to the
   Buyer or any of its Affiliates or Representatives with respect to (x) projections, forecasts,
   estimates, financial statements, financial information, appraisals, statements, promises, advice,
   data or information made, communicated or furnished (orally or in writing, including
   electronically) or prospect information relating to the Acquired Companies or their respective
   businesses; or (y) except for the representations and warranties made in (i) this Article IV, as
   qualified by the Company Disclosure Schedules, (ii) any certificate delivered pursuant to this
   Agreement, or (iii) any other Transaction Documents, any oral or written information presented to
   the Buyer or any of its Affiliates or Representatives in the course of their due diligence
   investigation of the Company, the negotiation of this Agreement or in the course of the
   Transactions (including any opinion, information, projection, or advice that may have been or may
   be provided to the Buyer by any Representative of the Company).

                  (b)    Notwithstanding anything contained in this Agreement to the contrary, the
   Special Master acknowledges and agrees that neither the Buyer nor any other Person has made or
   is making, and the Special Master expressly disclaims reliance upon, any representations,
   warranties or statements relating to the Buyer or any Buyer Subsidiaries whatsoever, express or



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   implied, beyond those expressly given by the Buyer in Article V, as qualified by the Buyer
   Disclosure Schedules, or in any certificate delivered pursuant to this Agreement or in any other
   Transaction Documents, including any implied representation or warranty as to the accuracy or
   completeness of any information regarding the Buyer, furnished or made available to the
   Company, or any of its Representatives. Without limiting the generality of the foregoing, the
   Special Master acknowledges that, except for the representations and warranties expressly
   provided in Article V, as qualified by the Buyer Disclosure Schedules, or in any certificate
   delivered pursuant to this Agreement or in any other Transaction Documents, no representations
   or warranties are made with respect to any projections, forecasts, estimates, budgets or prospect
   information that may have been made available to the Special Master, the Company or any of their
   Representatives.

                                             ARTICLE V

                      REPRESENTATIONS AND WARRANTIES OF THE BUYER

          The Buyer represents and warrants to the Special Master that, except as disclosed in the
   correspondingly numbered section of the disclosure schedules delivered by the Buyer to the
   Company simultaneously with the execution of this Agreement (the “Buyer Disclosure
   Schedules”), each statement contained in this Article V is true and correct as of the Execution Date
   and as of the Closing Date:

           Section 5.1. Corporate Existence and Power. The Buyer is a corporation duly
   incorporated, validly existing and in good standing under the Laws of its jurisdiction of
   incorporation and has all requisite corporate powers and all governmental franchises, licenses,
   permits, authorizations, consents and approvals required to enable it to own, lease or otherwise
   hold its properties and assets and to carry on its business as now conducted. The Buyer is duly
   qualified to do business as a foreign corporation and is in good standing in each jurisdiction in
   which the character of the property owned or leased by it, the nature of its activities, or the
   ownership or leasing of its properties make such qualification necessary, except for those
   jurisdiction where the failure to be so qualified would not, individually or in the aggregate,
   materially impair or delay the ability of the Buyer to consummate the Transactions contemplated
   by, or perform its obligations under, this Agreement.

           Section 5.2. Corporate Authorization. The Buyer has all requisite corporate power and
   authority to execute, deliver and perform its obligations under this Agreement, the Transaction
   Documents, and each other agreement, document, instrument or certificate contemplated by this
   Agreement to be executed and delivered by the Buyer in connection with the consummation of the
   Transactions (the “Buyer Documents”). The execution and delivery of this Agreement and the
   Buyer Documents by the Buyer, the performance of its obligations hereunder and thereunder, and
   the consummation by the Buyer of the Transactions have been duly authorized by all necessary
   corporate or organizational action on the part of the Buyer, and no shareholder or other similar
   approval is required in connection with the Buyer’s execution, delivery and performance of the
   Transactions. The board of directors of the Buyer, at a meeting duly called and held on or prior to
   the date of this Agreement, has approved this Agreement and the Transactions. This Agreement
   constitutes a valid and binding agreement against the Buyer, enforceable against the Buyer in




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   accordance with its terms, except that such enforcement may be limited by the Equitable
   Exceptions.

          Section 5.3. Governmental Authorization. The execution, delivery and performance by
   the Buyer of this Agreement and the consummation by the Buyer of the Transactions require no
   Order, authorization, or approval of, or filing with, any Governmental Body other than (a)
   applicable requirements of Antitrust Laws as set forth in Section 5.3 of the Buyer Disclosure
   Schedules and (b) the OFAC License.

           Section 5.4. Non-Contravention. The execution, delivery and performance by the Buyer
   of this Agreement and the consummation by the Buyer of the Transactions do not and will not,
   assuming compliance with the matters referred to in Section 5.2 and Section 5.3, (a) contravene or
   conflict with the certificate of incorporation or by-laws of the Buyer, (b) contravene or conflict
   with or constitute a violation of any provision of any Law binding upon or applicable to the Buyer
   or any of the Buyer Subsidiaries, (c) constitute a default (or an event which with notice or the
   passage of time would become a default) under, or give rise to any right of termination,
   cancellation or acceleration of any right or obligation of the Buyer or any of the Buyer Subsidiaries
   or to a loss of any benefit to which the Buyer or any of the Buyer Subsidiaries is entitled under
   any provision of, any agreement, contract or other instrument binding upon the Buyer or any of
   the Buyer Subsidiaries or any license, franchise, permit or other similar authorization held by the
   Buyer or any of the Buyer Subsidiaries or (d) result in the creation or imposition of any Lien (other
   than Liens arising under applicable securities Laws) on any asset of the Buyer or any of the Buyer
   Subsidiaries. As of the date of this Agreement, there is no Effect that would reasonably be expected
   to prevent, impede or interfere with the execution of this Agreement and the consummation by the
   Buyer of the Transactions.

           Section 5.5. Litigation. Except as set forth in Section 5.5 of the Buyer Disclosure
   Schedules, there are no Legal Proceedings, pending against, or, to the Knowledge of the Buyer,
   threatened in writing against or affecting, the Buyer, any of the Buyer Subsidiaries, any of their
   respective properties or any of their respective officers or directors before any Governmental Body
   that would reasonably be expected to (a) prohibit or restrain the ability of the Buyer to enter into
   this Agreement or consummate the Transactions or (b) affect the legality, validity or enforceability
   of any Debt Financing. The Buyer is not subject to any Order of any Governmental Body that
   would reasonably be expected to (x) prohibit or restrain the ability of the Buyer to enter into this
   Agreement or consummate the Transactions or (y) affect the legality, validity or enforceability of
   any Debt Financing.

             Section 5.6.         Regulatory Matters.

                  (a)      In the three (3) years prior to the date hereof, (i) none of the Buyer or any
   of the Buyer Subsidiaries or any Equity Financing Source, nor any of their respective directors,
   officers, employees, nor, to the Knowledge of the Buyer, any Representative, agent, or other
   person acting on behalf of the Buyer, any of the Buyer Subsidiaries or any Equity Financing
   Source, has violated any Anti-Corruption Law, and (ii) none of the Buyer, any of the Buyer
   Subsidiaries or any Equity Financing Source, nor any of their respective directors, officers,
   employees, nor, to the Knowledge of the Buyer, any Representative, agent or any other person
   acting on behalf of the Buyer, the Buyer Subsidiaries or any Equity Financing Source, has offered,



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   paid, given, promised, or authorized the payment of, anything of value (including money, checks,
   wire transfers, tangible and intangible gifts, favors, services, employment or entertainment and
   travel) directly or indirectly to any Government Official (A) for the purpose of (1) influencing any
   act or decision of a Government Official or any other person in his or her official capacity, (2)
   inducing a Government Official or any other person to do or omit to do any act in violation of his
   or her lawful duties, (3) securing any improper advantage, or (4) inducing a Government Official
   or any other person to influence or affect any act or decision of any Governmental Body; or (B) in
   a manner which would constitute or have the purpose or effect of public or commercial bribery or
   corruption, acceptance of, or acquiescence in extortion, kickbacks, or other unlawful or improper
   means of obtaining or retaining business or any improper advantage.

                   (b)     (i) The Buyer, each of the Buyer Subsidiaries and each Equity Financing
   Source and their respective directors, officers, employees, and, to the Knowledge of the Buyer,
   agents, Representatives and other persons acting for or on behalf of any of the foregoing Persons,
   are, and at all times in the three (3) years prior to the date hereof, in compliance in all material
   respects with all applicable Economic Sanctions/Trade Laws and all applicable Money Laundering
   Laws and (ii) in the three (3) years prior to the date hereof none of the Buyer, any of the Buyer
   Subsidiaries or any Equity Financing Source is a Sanctions Target or has carried on or carries on,
   any business, directly or knowingly indirectly, involving any Sanctions Target in violation of
   applicable Economic Sanctions/Trade Laws.

                   (c)     Except as would not, individually or in the aggregate, be reasonably likely
   to have a material adverse effect, in the three (3) years prior to the date hereof (i) none of the
   Buyer, any of the Buyer Subsidiaries or any Equity Financing Source has conducted or initiated
   any internal investigation, review or audit, or made a voluntary, directed, or involuntary disclosure
   to any Governmental Body or third party with respect to any alleged or suspected act or omission
   arising under or relating to any potential noncompliance with any applicable Anti-Corruption Law,
   Economic Sanctions/Trade Law, or Money Laundering Law, (ii) none of the Buyer, any of the
   Buyer Subsidiaries or any Equity Financing Source, nor any of their respective directors or
   officers, nor, to the Knowledge of the Buyer, any agents, employees (other than officers),
   Representatives, or any other person acting at the direction of the Buyer, any of the Buyer
   Subsidiaries or any Equity Financing Source has received any written notice, request or citation
   for any actual or potential noncompliance with any applicable Anti-Corruption Law, Economic
   Sanctions/Trade Law or Money Laundering Law, (iii) the Buyer, the Buyer Subsidiaries and the
   Equity Financing Sources have implemented and have maintained internal controls, policies and
   procedures designed to detect and prevent violations of Anti-Corruption Laws, Economic
   Sanctions/Trade Laws and Money Laundering Laws, and (iv) the Buyer, each of the Buyer
   Subsidiaries and each of the Equity Financing Sources have at all times made and maintained
   accurate books and records in material compliance with all applicable Anti-Corruption Laws,
   Economic Sanctions/Trade Laws or Money Laundering Laws.

             Section 5.7.         Financing.

                   (a)     On the Trust Structure Effective Date, the Buyer will deliver to the Special
   Master true, correct, and complete copies of (i) the executed Equity Commitment Letters from the
   Equity Financing Sources, which Equity Commitment Letters each provide that the Special Master
   is an express third party beneficiary thereto (the “Equity Financing”, and the commitments under



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   the Equity Commitment Letters, the “Equity Financing Commitments”) and (ii) (A) an executed
   commitment letter from each of the Debt Financing Sources identified therein, dated as of the Trust
   Structure Effective Date (together with all annexes, schedules, and exhibits thereto, as amended
   from time to time as permitted herein, the “Debt Commitment Letter”, and the commitments under
   the Debt Commitment Letter, the “Debt Financing Commitments”; the Debt Commitment Letter
   and the Equity Commitment Letters, collectively, the “Commitment Letters”), pursuant to which,
   and subject to the terms and conditions of which, the lenders party thereto will have committed to
   lend the amounts set forth therein to the Buyer for the purpose of funding the Transactions (the
   “Debt Financing”, and, together with the Equity Financing, the “Financings”), and (B) each related
   fee letter (collectively, the “Fee Letters”), which copy of such Fee Letter has been redacted for
   fees, “securities demand” provisions, pricing terms and pricing caps, “market flex” provisions and
   other terms that are customarily redacted (including any dates related thereto), none of such
   redacted terms which would adversely affect the conditionality, availability or aggregate principal
   amount of the Debt Financing.

                    (b)     As of the Trust Structure Effective Date, the Commitment Letters shall be
   in full force and effect and shall not have been withdrawn, rescinded, replaced or terminated, or
   otherwise amended, restated, amended and restated, waived, supplemented or otherwise modified
   in any respect (and no such amendment, restatement or modification shall be contemplated except
   any amendment, restatement or modification to add additional Debt Financing Sources). As of the
   Trust Structure Effective Date, the Commitment Letters will be legal, valid and binding obligations
   (subject to the Equitable Exceptions) of the Buyer and, to the Knowledge of the Buyer, the other
   parties thereto, enforceable in accordance with their terms. There are no agreements, side letters or
   arrangements (other than the Debt Commitment Letter and the Fee Letters) relating to the Debt
   Financing Commitments or the Debt Financing that imposes or permits the imposition of
   conditions precedent to the funding of the Debt Financing on the Closing Date or would otherwise
   affect the availability of the Debt Financing on the Closing Date. As of the Trust Structure
   Effective Date, the Buyer and the Debt Financing Sources shall not be in breach of any of the terms
   or conditions set forth in the Debt Commitment Letter. As of the Trust Structure Effective Date, no
   event shall have occurred which, with or without notice, lapse of time or both, would constitute a
   default or breach on the part of the Buyer under any term or condition of the Commitment Letters,
   and the Buyer does not have any reason to believe that it will be unable to satisfy, on a timely
   basis, any term or condition of closing to be satisfied by it contained in the Debt Commitment
   Letter, or that the full amount of the Equity Financing or the Debt Financing will not be available
   to the Buyer on the Closing Date. On the Trust Structure Effective Date, the Buyer shall have fully paid
   any and all commitment fees or other fees required by the Debt Financing Commitments or any
   Fee Letter to be paid on or before the Trust Structure Effective Date. On the Trust Structure Effective
   Date, the Debt Commitment Letter will contain all of the conditions precedent to the obligations
   of the Parties thereunder to make the full amount of the Debt Financing available to the Buyer on
   the terms set forth therein and there shall be no contingencies that would permit the Debt Financing
   Sources to change the total amount of the Debt Financing or impose any additional conditions
   precedent to the availability of the Debt Financing. As of the Trust Structure Effective Date, none
   of the Debt Financing Commitments shall have been terminated or withdrawn, no lender shall have
   notified the Buyer of its intention to terminate or withdraw the Debt Financing Commitments, and,
   assuming satisfaction of the conditions set forth in Article VII, as of the Trust Structure Effective Date,
   the Buyer does not know of any facts or circumstances that may be expected to result in any of the
   conditions set forth in the Debt Commitment Letter not being satisfied. To the extent this


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   Agreement must be in a form acceptable to any lender providing Debt Financing, such lender or
   lenders shall have approved this Agreement.

                 (c)    Except as expressly set forth in Section 7.1, the obligations of the Buyer
   under this Agreement are not subject to any conditions regarding the Buyer’s, its Affiliates’, or
   any other Person’s ability to obtain financing for the consummation of the Transactions
   contemplated hereby.

                  (d)     Assuming that the Debt Financing is funded in accordance with the Debt
   Commitment Letter, as of the Trust Structure Effective Date, the aggregate proceeds from the Debt
   Financing (net of original issue discount, upfront fees and other fees, premiums and charges
   payable in connection therewith, after giving effect to the maximum amount of “market flex”
   provided under the Debt Financing Commitments and each Fee Letter) together with the Equity
   Financing and Buyer’s cash on hand will be sufficient for satisfaction of all of the Buyer’s
   obligations under this Agreement and to consummate the Transactions, including the payment of
   the Closing Consideration, repayment of the Specified Debt and the payment of all associated costs
   and expenses (including the Closing Transaction Expenses) (collectively, the “Required
   Amount”).

           Section 5.8. Solvency. The Buyer is Solvent as of the date of this Agreement and the
   Trust Structure Effective Date. Assuming (x) the accuracy of the representations and warranties
   set forth in Article IV, and (y) the performance by the Company and the Special Master of the
   covenants and agreements required to be performed by them under this Agreement prior to the
   Closing, the Buyer, the Company and their respective Subsidiaries, on a consolidated basis, will,
   after giving effect to all of the Transactions, including the payment of any amounts required to be
   paid in connection with the consummation of the Transactions and the payment of all related fees
   and expenses, be Solvent at and immediately after the Closing.

             Section 5.9.         No Additional Representations.

                     (a)     Except for the representations and warranties expressly made by the Buyer
   in (i) this Article V, as qualified by the Buyer Disclosure Schedules, or (ii) any certificate delivered
   pursuant to this Agreement, the Buyer makes (and shall not be deemed to make) no other
   representation or warranty of any kind whatsoever, express or implied, written or oral, at law or in
   equity, in connection with this Agreement or the Transactions, any other rights or obligations to
   be transferred pursuant to the Transaction Documents or any other matter, and the Buyer hereby
   disclaims any such other representations or warranties.

                   (b)    Except for the specific representations and warranties expressly made by
   the Special Master in Article IV, and subject to the specifically bargained-for limitations as set
   forth in this Agreement, the Buyer acknowledges and agrees that the Special Master does not make,
   and that the Buyer is not relying upon, and will not rely upon any representation or warranty,
   expressed or implied, at law or in equity, made by any Person in respect of the Special Master or
   in respect of the Company and the Company’s Subsidiaries’ respective businesses, assets
   (including the stocks), liabilities, operations, prospects, or condition (financial or otherwise),
   including with respect to merchantability or fitness for any particular purpose of any assets, the
   nature or extent of any liabilities, the prospects of their respective businesses, the effectiveness or



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   the success or profitability of any operations, or the accuracy or completeness of any confidential
   information memoranda, documents, projections, forecasts, opinions, advice, material, statement,
   data, or other information (financial or otherwise) regarding the Acquired Companies provided to,
   or otherwise made available to, the Buyer or its Representatives in connection with the
   Transactions, including any “data rooms,” “virtual data rooms,” management presentations, or in
   respect of any other matter or thing whatsoever. The Buyer expressly disclaims that is relying on
   any representations or warranties, other than the specific representations and warranties expressly
   made by the Special Master in Article IV or in any certificate delivered pursuant to this Agreement.

                                                    ARTICLE VI

                                                   COVENANTS

             Section 6.1.         Conduct of the Business Pending the Closing.

                    (a)     During the Interim Period, except (w) with the prior written consent of the
   Buyer (such consent not to be unreasonably withheld, conditioned or delayed), (x) as expressly
   permitted or required by this Agreement, (y) as may be required by applicable Law, (z) as set forth
   in Section 6.1(a) of the Company Disclosure Schedules, the Special Master shall Cause the
   Acquired Companies to (i) conduct their business in the Ordinary Course, (ii) use commercially
   reasonable efforts to preserve intact their business organizations, assets (ordinary wear and tear
   excepted), ongoing operations, and goodwill, and maintain material relationships with third parties
   (including suppliers, vendors, creditors, licensors and employees of the Acquired Companies and
   Governmental Bodies having regulatory authority in respect of the Acquired Companies and their
   operations), (iii) preserve and maintain all material Permits, and (iv) comply in all material respects
   with applicable Laws.

                  (b)     Without limiting the generality of Section 6.1(a), except (v) with the prior
   written consent of the Buyer (such consent not to be unreasonably withheld, conditioned or
   delayed), (w) as expressly permitted or required by this Agreement, (x) as required to comply with
   a Material Contract that has been disclosed in the Company Disclosure Schedules, (y) as may be
   required by applicable Law, or (z) as set forth in Section 6.1(b) of the Company Disclosure
   Schedules, the Special Master shall Cause the Acquired Companies not to:

                           (i)    (A) amend the Company Charter or Company By-Laws, (B) permit
             any Company Subsidiary to amend such Company Subsidiary’s Organizational
             Documents, or (C) vote in favor of the amendment of any of the Organizational Documents
             of any Non-Controlled Entity;

                            (ii)   (A) (I) adopt a plan or agreement of complete or partial liquidation,
             dissolution, merger or consolidation of any of the Acquired Companies, or (II) incur or
             assume any liability or expense in connection with the complete or partial liquidation or
             wind-down of any of the Acquired Companies, or (B) vote in favor of the adoption of a
             plan or agreement of complete or partial liquidation, dissolution, merger or consolidation,
             of any Non-Controlled Entity;




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                                  (iii)




                                  (iv)




                             (v)    except as required under any Company Benefit Plan or Company
             Collective Bargaining Agreement, (A) increase the compensation of any current or former
             director, officer, manager, employee, contractor or consultant of any Acquired Company,
             or take any action to accelerate the vesting or payment, or fund or in any other way secure
             the payment of, compensation or benefits under any Contract, Company Benefit Plan or
             otherwise for or to any current or former director, officer, manager, employee, contractor


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             or consultant of any Acquired Company (other than annual increases to compensation
             based on merit (with respect to the immediately preceding performance period only),
             market-based adjustments or tenure in the Ordinary Course and in accordance with
             standards, policies and practices of the Acquired Companies in place as of the Execution
             Date and disclosed to the Buyer); (B) make, grant or promise any bonus, equity or equity-
             based compensation, severance, change of control, retention, termination or similar
             compensation or benefits to any current or former director, officer, manager, employee,
             contractor or consultant of any Acquired Company (other than bonuses, severance, change
             of control, retention, termination, or similar compensation or benefits not to exceed
             $           in the aggregate unless otherwise agreed by the Observation Committee); (C)
             except as permitted in clause (B) above, amend, adopt, establish, agree to establish, enter
             into or terminate any Company Benefit Plan or establish, adopt or enter into any plan,
             agreement, program, policy, practice, trust or other arrangement that would be a Company
             Benefit Plan if it were in existence as of the Execution Date for the benefit of any current
             or former director, officer, manager, employee, contractor or consultant of any Acquired
             Company (other than (x) amendments to any Company Benefit Plan in the Ordinary Course
             that do not materially increase the costs to the Acquired Companies of such Company
             Benefit Plan, and (y) renewals or replacements of any Company Benefit Plan expiring in
             accordance with its terms, provided that any such renewal or replacement plan is on
             commercially reasonable terms no less favorable in the aggregate to the Acquired
             Companies than the terms of the expiring Company Benefit Plan); (D)


                                    (E) unless otherwise agreed by the Observation Committee, hire
             employees in a manner that would cause the Acquired Companies to exceed the applicable
             budget for hirings for the fiscal year in which such hirings occur (provided, that for 2025,
             the applicable budget for hirings shall be reasonably consistent with the 2025 projection
             for hirings set forth in the MTP, and for 2026, the applicable budget for hirings shall be
             reasonably consistent with the 2026 projection for hirings set forth in the MTP); or (F)
             except as required by applicable Law, adopt, enter into, or amend in any material respect
             any Company Collective Bargaining Agreement unless otherwise required by Law or
             pursuant to the terms of any Company Collective Bargaining Agreement listed on Section
             4.11(n) of the Company Disclosure Schedules (and, for the avoidance of doubt, nothing in
             this Section 6.1(b) shall restrict the Acquired Companies from performing their obligations
             under any Company benefit Plan existing as of the Execution Date and set forth in the
             Company Disclosure Schedules or any Company Benefit Plan adopted after the Execution
             Date in compliance with this Section 6.1(b)(v));

                             (vi)    acquire (x) all or a substantial portion of the capital assets of any
             other Person (or of any business) or (y) the business of any other Person (in case of
             clause (x) or (y), whether by merger, consolidation, acquisition of Equity Interests or assets
             or otherwise), except that the Acquired Companies shall be permitted to make (A)
             acquisitions pursuant to any Contract in effect on the Execution Date that is made available
             to the Buyer and listed in Section 6.1(b)(vi) of the Company Disclosure Schedules, (B)
             acquisitions of assets solely among the Company and wholly owned Company
             Subsidiaries, or among wholly owned Company Subsidiaries, or (C) acquisitions of assets
             pursuant to the receivables securitization transaction evidenced by the Receivables


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             Purchase Agreement, dated as of December 18, 2020, among CITGO AR2008 Funding
             Company, LLC, CITGO Petroleum, the various purchasers and purchaser agents from time
             to time party thereto, and Barclays Bank PLC, as program administrator, and the Purchase
             and Sale Agreement, dated as of December 18, 2020, between CITGO Petroleum and
             CITGO AR2008 Funding Company, LLC (each as amended and collectively, the
             “Receivables Securitization Facility”); provided, that any acquisitions permitted under
             Section 6.1(b)(iii) shall not be subject to the restrictions set forth in this Section 6.1(b)(vi);

                             (vii) propose or vote in favor of any action by a Non-Controlled Entity to
             acquire (x) all or a substantial portion of the capital assets of any other Person (or of any
             business) or (y) the business of any other Person (whether by merger, consolidation,
             acquisition of Equity Interests or assets or otherwise), except that the Acquired Companies
             shall be permitted to vote in favor of acquisitions of capital assets of any other Person or
             business of any other Person by a Non-Controlled Entity which would not require
             additional cash contributions by any Acquired Company to any Non-Controlled Entity in
             amounts in excess of $             individually or $             in the aggregate for all Non-
             Controlled Entities (net to the applicable Acquired Company);

                             (viii) (A) sell, lease, license, encumber (including by the grant of any
             Preferential Right thereon) (other than by Permitted Liens) or otherwise dispose of any
             material assets or material property of any Acquired Company (excluding any issuance of
             any Equity Interest of any Acquired Company addressed in Section 6.1(b)(xvi)) or (B)
             propose or vote in favor of any action by a Non-Controlled Entity to sell, lease, license,
             encumber (including by the grant of any Preferential Right thereon) (other than by
             Permitted Liens) or otherwise dispose of any material assets or material property of such
             Non-Controlled Entity, in each case except (I) pursuant to existing Contracts set forth in
             Section 6.1(b)(viii) of the Company Disclosure Schedules, (II) sales of inventory in the
             Ordinary Course, (III) sales of or disposals of obsolete or worthless assets in the Ordinary
             Course, or (IV) with respect to the immediately preceding clause (A) only, (x) transfers
             among the Company and wholly owned Company Subsidiaries, or among wholly owned
             Company Subsidiaries, or (y) dispositions pursuant to the Receivables Securitization
             Facility;

                             (ix)    (A) incur any indebtedness for borrowed money or guarantee or
             assume any indebtedness for borrowed money of another Person or enter into any finance
             lease other than (I) borrowings or other advances of capital pursuant to the Receivables
             Securitization Facility, (III) borrowings that can be repaid at Closing without penalty, or
             (III) indebtedness for borrowed money and finance leases incurred in the Ordinary Course
             that do not exceed $              in the aggregate or (B) with respect to any Non-Controlled
             Entity, propose or vote in favor of such Non-Controlled Entity incurring any indebtedness
             for borrowed money, guaranteeing or assuming any indebtedness for borrowed money of
             another Person (other than any Non-Controlled Entity’s incurrence of any incremental
             indebtedness for borrowed money incurred in the Ordinary Course that is not in excess of
             $             in the aggregate (net to the applicable Acquired Company);

                           (x)    prepay, repay, redeem, repurchase, defease, or cancel any
             indebtedness for borrow money, in each case, for cash, other than (A) for transactions



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             among the Acquired Companies, (B) prepayment and repayment of borrowings or
             advanced capital to the extent required pursuant to the terms of the Receivables
             Securitization Facility, (C) prepayment and repayment of revolving loans in the Ordinary
             Course, and (D) any required amortization payments, mandatory prepayments, and
             repayments at maturity, in each case in accordance with the terms of the instrument
             governing such indebtedness for borrowed money as in effect on the Execution Date;

                             (xi)    enter into, amend, terminate or waive any material right under any
             Material Contract or Vesting Instrument (or Contract that would be a Material Contract if
             it existed on the Execution Date), other than (A) amendments to renew any Material
             Contract on the same (or better in respect of the applicable Acquired Company) terms and
             conditions in all material respects as the terms and conditions of such Material Contract as
             of the Execution Date and (B) Contracts that would be Material Contracts if they existed
             on the Execution Date, provided, such Contracts described in this clause (B) are entered
             into in the Ordinary Course on commercial, arm’s length terms and provided, further that
             such Contracts do not (I) limit in any material respect either the type of business in which
             any Acquired Company may engage or the manner or locations in which any of them may
             so engage in any business (including through “non-competition” or “exclusivity”
             provisions), or (II) grant “most favored nation” or similar status with respect to any material
             obligations and would run in favor of any Person (other than an Acquired Company);

                            (xii) except for any such change which is not material or which is
             required by reason of a concurrent change in GAAP or applicable Law, change any method
             of financial accounting or financial accounting practice (other than any change for Tax
             purposes, which shall be governed by Section 6.1(b)(xv)) used by it;

                            (xiii) (A) enter into any joint venture, partnership, participation, profit-
             sharing or other similar arrangement or (B) make any loans, capital contributions or
             advances to or investments in any other Person (other than (I) investments in wholly owned
             Company Subsidiaries, (II) pursuant to capital calls required pursuant to the terms of
             existing equity investments to the extent disclosed on Section 6.1(b)(xiii) of the Company
             Disclosure Schedules, or (III) advances for reimbursable employee expenses in the
             Ordinary Course or advancements of expenses to directors and officers of the Acquired
             Companies pursuant to bona fide advancement provisions under the Company Charter,
             Company By-Laws, Organizational Documents of any of the Company Subsidiaries or any
             indemnification agreement with any such director or officer);

                            (xiv) take any action (other than in the Ordinary Course) which would
             materially limit the Company’s freedom to license, cross-license or otherwise dispose of
             any material Company Intellectual Property;

                            (xv) (A) except, in respect of clauses (II)-(IV) only, in the Ordinary
             Course, (I) make, revoke or amend any material election relating to Taxes or change any
             of its Tax accounting period or Tax accounting methods currently in effect, (II) settle any
             Tax Proceeding, (III) file any amended Tax Return, or (IV) surrender any right to claim a
             refund of Taxes, in each case, if such action is reasonably likely to result in an increase to
             a Tax liability of the Acquired Companies that is material to the Acquired Companies,



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             taken as a whole, or (B) with respect to any Non-Controlled Entity, vote in favor of or
             propose that such Non-Controlled Entity take any action described in the immediately
             preceding clause (A);

                             (xvi) authorize, issue, reserve for issuance, pledge, transfer or otherwise
             encumber, sell or redeem or enter into any Contract with respect to, any Equity Interests of
             any of the Acquired Companies or any Equity Interests of any Non-Controlled Entity
             owned by any Acquired Company (including, in each case, any split, combination,
             recapitalization or reclassification of any such Equity Interests);

                             (xvii) declare, set aside, make or pay dividends or distributions (whether
             in cash, stock or property) on or with respect to the Shares;

                             (xviii) (A) commence, initiate, settle, satisfy, release or forgive any claim,
             demand, lawsuit or other Legal Proceeding (I) in an amount in excess of $                   in
             the aggregate or (II) that seeks or imposes any non-monetary relief (excluding customary
             confidentiality obligations), or (B) with respect to any Non-Controlled Entity, vote in favor
             of or propose that such Non-Controlled Entity take any action described in the immediately
             preceding clause (A);

                                  (xix)




                                                                                                       or

                           (xx) agree or commit to do any of the foregoing (or, with respect to any
             Non-Controlled Entity, vote in favor of or propose that such Non-Controlled Entity agree
             or commit to do any of the foregoing).

   Notwithstanding the foregoing, during the Interim Period, the Special Master may permit each
   Acquired Company to utilize any and all available Cash to repay outstanding Debt (and the Special
   Master shall not seek to prevent such use of available Cash).

                   (c)   Notwithstanding anything to the contrary herein, the Special Master may
   request the Acquired Companies to take commercially reasonable actions to prevent or mitigate
   the effects of any damage to property or injury to any person or the environment in emergency
   circumstances, as reasonably determined in good faith by the Acquired Companies, so long as the
   Acquired Companies (i) use Good Industry Practices with respect to such circumstances, (ii)
   provide the Buyer with the opportunity to consult with the Acquired Companies on any such



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   actions in advance (to the extent reasonably practicable), and (iii) provide the Buyer with notice
   of any such actions, as soon as reasonably practicable (and in any event, no later than one (1)
   Business Day) after such action is taken.

                  (d)    Upon the written request of the Buyer from time to time (such requests to
   be delivered with reasonably detailed descriptions of the applicable projects contemplated by the
   CapEx Budgets and the Turnaround/Catalyst Budgets to which such request relates), the Special
   Master shall Cause the Acquired Companies to use commercially reasonable efforts to effect and
   perform the projects contemplated by the CapEx Budgets and the Turnaround/Catalyst Budgets
   and specified in such written request, in each case, in accordance with such budgets and Good
   Industry Practices.

                 (e)     For the avoidance of doubt, nothing in this Agreement, including the
   provisions of this Section 6.1 or Section 6.3, in any way impairs the right of the Acquired
   Companies or PDVSA to object to the approval or execution of this Agreement or the approval or
   consummation of the Transactions, including on appeal, and the taking of any actions in
   connection therewith.

             Section 6.2.         Access to Information.

                   (a)     Prior to the Closing or earlier termination of this Agreement, the Special
   Master shall Cause the Company to provide the Buyer and its Representatives, upon reasonable
   advance notice and under reasonable circumstances, with reasonable access during normal
   business hours, to the books and records (including all electronic data related thereto), information,
   assets, operations and properties of the Acquired Companies and to the officers and employees of
   the Acquired Companies; provided, that (i) any such access and activities shall be conducted in a
   manner not to unreasonably interfere with the normal operations of the Acquired Companies or
   their respective business and (ii) without the prior written consent of the Special Master and the
   Company, which may be withheld for any reason in the sole and absolute discretion of the Special
   Master or the Company, as applicable, the Buyer and its Representatives shall have no right to
   perform invasive or subsurface investigations of the properties or facilities of the Acquired
   Companies (provided, further, that notwithstanding this clause (ii), the Parties agree that the Buyer
   may conduct (and the Special Master shall Cause the Acquired Companies to permit and facilitate)
   the investigations described on Section 6.2(a) of the Company Disclosure Schedules). The Special
   Master shall Cause the Acquired Companies and their Representatives to reasonably cooperate
   and communicate with the Buyer and its Representatives in connection with such access and with
   the Buyer’s and its Representatives’ continuing due diligence efforts and investigation and
   examination of the Acquired Companies, such cooperation and communication to include (x)
   uploading materials to the VDR and hosting diligence calls and responding to diligence requests
   and inquiries, in each case, from time to time as reasonably requested by the Buyer and its
   Representatives and (y) granting a designated Representative of the Buyer (such Representative to
   be approved by outside antitrust legal counsel) observer rights with respect to the day-to-day
   operations of the Acquired Companies, such observer rights to include, upon reasonable advance
   notice and under reasonable circumstances, reasonable access during normal business hours to the
   properties of the Acquired Companies (it being agreed that such access shall be limited to that of
   an observer, and in no event shall the designated Representative have control over such day-to-
   day operations). Notwithstanding anything herein to the contrary, no such access or disclosure or



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   cooperation shall be required if doing so could reasonably be expected to (A) result in a waiver of
   attorney-client privilege, work product doctrine or similar privilege, (B) violate the terms of any
   Contract to which any Acquired Company is a party, or (C) violate any Law to which any Acquired
   Company is subject; provided, that the Special Master shall Cause the Company to, to the extent
   legally permissible and practicable, use commercially reasonable efforts to make appropriate
   substitute disclosure arrangements, or seek appropriate joint defense agreements, waivers or
   consents, under circumstances in which the foregoing restrictions of this sentence apply. There
   may be withheld from the Buyer and its Representatives such portions of documents or information
   relating to pricing or other matters that are highly sensitive if the exchange of such documents (or
   portions thereof) or information as determined by the Company’s outside counsel would be
   reasonably likely to result in antitrust difficulties between the Company and the Buyer or any of
   their respective Affiliates; provided, that at the Buyer’s request, the Special Master shall use
   commercially reasonable efforts to establish “clean team” procedures in order to mitigate such
   antitrust difficulties. All requests for such access shall be directed to such Person as the Special
   Master may designate in writing from time to time (collectively, the “Designated Contacts”). Other
   than the Designated Contacts, prior to the Closing, without the prior written consent of the Special
   Master (not to be unreasonably withheld, conditioned or delayed), neither the Buyer, its Affiliates
   or their respective Representatives shall contact any employee, contractors, supplier, customer,
   landlord or other material business relationship of any Acquired Company regarding any Acquired
   Company, their respective businesses or the Transactions.

                   (b)     Prior to the Closing or earlier termination of this Agreement, the Special
   Master shall Cause the Company to use commercially reasonable efforts to (i) maintain and protect
   the confidentiality, integrity, availability and security of all Systems and all data stored thereon
   and (ii) prevent the introduction into the Systems of any ransomware, disabling codes or
   instructions, spyware, Trojan horses, worms, viruses or other software routines that permit or cause
   unauthorized access to, or disruption, impairment, disablement, or destruction of, software, data
   or other materials.

                  (c)    Notwithstanding anything in this Agreement to the contrary, in no event
   will the Acquired Companies be required to provide Buyer or the Special Master with access to
   any information regarding its objections to the sale process, the negotiation of the Transactions or
   the Acquired Companies’ objection to this Agreement or the approval or the consummation of the
   Transactions.

                   (d)    For a period commencing on the Closing Date and ending on the later of (x)
   the date that is twelve (12) months after the Closing Date and (y) the final, non-appealable
   resolution of a Legal Proceeding relating to or arising from the Sale Order to appeal the sale and
   purchase of the Shares, the Buyer shall cause the Acquired Companies to use commercially
   reasonable efforts to maintain all books and records (including all electronic data related thereto)
   of the Acquired Companies relating to periods ending on or prior to the Closing Date and the Buyer
   shall cause the Acquired Companies to (i) provide the Special Master and its Representatives
   during the Company’s normal business hours, upon reasonable advance notice and under
   reasonable circumstances, reasonable access to such books and records and the individuals
   responsible for preparing and maintaining such books and records, and (ii) permit the Special
   Master and its Representatives to make copies of any such books and records, in each case of the
   immediately preceding clause (i) and clause (ii), as reasonably requested in connection with any


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   Legal Proceeding relating to or arising from the Sale Order to appeal the sale and purchase of the
   Shares (other than any Legal Proceeding between the Special Master, on the one hand, and the
   Buyer, on the other hand, related to the Sale Order, this Agreement, the other Transaction
   Documents or the Transactions, which would be governed by and subject to other applicable
   provisions of this Agreement and subject to applicable rules relating to discovery and document
   retention). Notwithstanding anything in this Section 6.2(d) to the contrary, the Buyer and the
   Acquired Companies shall not be required to provide such access or disclose any information to
   the Special Master if doing so could reasonably be expected to (A) result in a waiver of attorney-
   client privilege, work product doctrine or similar privilege (B) violate the terms of any Contract to
   which any Acquired Company is a party, or (C) violate any Law to which any Acquired Company
   is subject; provided, that the Parties will, to the extent legally permissible and practicable, use
   commercially reasonable efforts to make appropriate substitute disclosure arrangements, or seek
   appropriate joint defense agreements, waivers or consents, under circumstances in which the
   foregoing restrictions of this sentence apply. Notwithstanding anything in this Agreement to the
   contrary, in no event will the Acquired Companies be required to provide Buyer or the Special
   Master with access to any information regarding its objections to the sale process, the negotiation
   of the Transactions or the Acquired Companies’ objection to this Agreement or the approval or
   the consummation of the Transactions.

             Section 6.3.         Regulatory Approvals; Third Party Consents.

                   (a)    Each of the Parties shall, if required by applicable Law, within ten (10)
   Business Days following the Trust Structure Effective Date, file or supply, or in the case of the
   Special Master Cause to be filed or supplied, in connection with the Transactions, all notifications
   and information required to be filed or supplied pursuant to the HSR Act; provided, that in the
   event there shall be any change in the regulations under the HSR Act following the date of this
   Agreement but prior to the Buyer submitting a filing under the HSR Act in connection with the
   Transactions that would render such timing impracticable, the Parties shall cooperate in good faith
   to submit, or in the case of the Special Master, Cause to be submitted, such filing as promptly as
   practicable on a mutually agreed date. Each of the Parties shall request early termination of the
   waiting period under the HSR Act, if available. The Parties shall (and the Special Master shall
   Cause the Acquired Companies to), as soon as reasonably practicable following the date of this
   Agreement, file or supply, or cause to be filed or supplied in connection with the Transactions, all
   filings and submissions required under any relevant Laws, including Antitrust Laws. The Buyer
   acknowledges and agrees that it shall pay all filing fees in connection with this Section 6.3.
   Consistent with its obligations hereunder, the Buyer shall plan and propose the strategy, timing,
   content, action, advocacy and resolution of matters related to such required filings and submission,
   and in the event of a disagreement between the Parties, the Buyer shall control and direct such
   matters.

                    (b)     Neither Party shall (i) consent to any voluntary extension of any waiting
   period; (ii) pull and refile any filing made under the HSR Act, or any other Antitrust Laws; or (iii)
   consent to any other voluntary delay of the consummation of the Transactions at the behest of any
   Governmental Body, in each case, without the prior written consent of the other Party, which
   consent shall not be unreasonably withheld, conditioned or delayed.




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                   (c)     The Parties shall coordinate and cooperate with one another in exchanging
   and providing such information to each other and in making the filings and requests referred to in
   Section 6.3(a). The Parties shall supply such reasonable assistance as may be reasonably requested
   by the other Party in connection with the foregoing and shall promptly furnish the other Party with
   all information within its possession that is reasonably required for all filings and submissions
   required under any relevant Laws, including Antitrust Laws.

                     (d)        Notwithstanding anything to the contrary in this Agreement, the Buyer shall
   take, and shall cause its Subsidiaries to take, as promptly as practicable, all action necessary, proper
   or advisable to consummate the Transactions prior to the Outside Date to (x) avoid or eliminate
   each and every impediment, resolve any objection and obtain all consents under any applicable
   Antitrust Laws as promptly as practicable so as to enable the Parties to consummate the
   Transactions and (y) avoid the entry or to effect the dissolution of, or vacate or lift, any Order,
   objection of any Governmental Body or waiting period under applicable Antitrust Laws that would
   otherwise have the effect of preventing, impairing or delaying the Closing, including: (i)
   proposing, negotiating and offering to commit and effect, by Order, consent decree, hold separate
   order, trust, or otherwise, the sale, license, divestiture, disposition or hold separate of such entities,
   assets, Intellectual Property, businesses, product lines, Equity Interests, properties or services of
   the Buyer or its Subsidiaries (including, following the Closing, the Acquired Companies); (ii)
   offering to take or offering to commit to take any action, including any action that limits the
   Buyer’s freedom of action, ownership or control with respect to, or its ability to retain or hold, any
   of the businesses, assets, product lines, Equity Interests, properties or services of the Buyer or its
   Subsidiaries (including, following the Closing, the Acquired Companies), to the extent legally
   permissible; (iii) terminating, amending, relinquishing, modifying, waiving or assigning existing
   relationships, ventures or contractual rights, obligations or other arrangements of the Buyer or its
   Subsidiaries (including, following the Closing, the Acquired Companies); (iv) changing or
   modifying, or agreeing not to engage in, any course of conduct regarding future operations; (v)
   creating any relationships, ventures, contractual rights, obligations or other arrangements of the
   Buyer or its Subsidiaries (including, following the Closing, the Acquired Companies); (vi)
   committing to take any such actions in the foregoing clauses (i), (ii), (iii), (iv); or (v) or entering
   or offering to enter into agreements and stipulating to the entry of an Order or filing appropriate
   applications with any Governmental Body in connection with any of the actions contemplated by
   the foregoing clauses (i), (ii), (iii), (iv), or (v); provided, that notwithstanding anything in this
   Section 6.3 to the contrary, in no event shall the Buyer be obligated to take any action in respect
   of any Affiliate of the Buyer other than the Buyer’s Subsidiaries (including, following the Closing,
   the Acquired Companies); and provided, further, that nothing in this Agreement shall require the
   Buyer or its Subsidiaries (including, following the Closing, the Acquired Companies) to propose,
   execute, carry out or agree or submit to any action or remedy contemplated by the foregoing
   clauses (i), (ii), (iii), (iv), or (v) that, individually or in the aggregate, reasonably would be expected
   to have a material adverse effect on the business, operations, financial conditions or results of
   operations of the Acquired Companies and their Affiliates (taken as a whole). For the avoidance
   of doubt, neither the Buyer nor any Subsidiary of the Buyer nor any Acquired Company shall be
   required to negotiate, agree or commit to, or effect to take or cause to be taken, any structural or
   behavioral remedy or any other action that is not conditioned (either as a condition precedent or
   subsequent) upon the consummation of the Transactions.




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                   (e)     In addition and without limiting the other provisions of this Section 6.3, the
   Buyer shall defend through litigation, appealing, contesting or otherwise resisting any action,
   proceeding, or Order by any Governmental Body challenging the Transactions under applicable
   Antitrust Laws, including to defend through litigation on the merits any claim asserted in court by
   any Person in order to avoid entry of, or to have vacated or terminated, any Order (whether
   temporary, preliminary or permanent) that would delay the Closing or prevent the Closing by the
   Outside Date; provided, however, that such litigation in no way limits the obligation of the Buyer
   to take the actions set forth in Section 6.3(d).

                   (f)     Except as specifically required by the Agreement, the Buyer shall not take,
   and shall cause its Subsidiaries not to take, any action or refrain from taking any action, the effect
   of which would be to delay or impede the ability of the Parties to consummate the Transactions.
   Without limiting the generality of the foregoing, the Buyer shall not, and shall cause its
   Subsidiaries not to, acquire or agree to acquire by merging or consolidating with, or by purchasing
   a substantial portion of the assets of or equity in or otherwise make any investment in, or by any
   other manner, any Person or portion thereof, or otherwise acquire or agree to acquire or make any
   investment in any assets, or agree to a commercial or strategic relationship with any person, if the
   entering into of a definitive agreement relating to or the consummation of such acquisition, merger,
   consolidation, investment, commercial or strategic relationship would reasonably be expected to
   (i) impose any delay in the obtaining of, or increase the risk of not obtaining, any consent, approval,
   authorization, declaration, waiver, license, franchise, permit, certificate or Order of any
   Governmental Body necessary to consummate the Transactions or the expiration or termination of
   any applicable waiting period, (ii) increase the risk of any Governmental Body entering an Order
   prohibiting the consummation of the Transactions, (iii) increase the risk of not being able to
   remove any such Order on appeal or otherwise, (iv) increase the risk of any Governmental Body
   asserting jurisdiction over the Transactions or (v) delay the consummation of the Transactions. In
   addition to and without limiting the generality of the foregoing, the Buyer shall cause its Affiliates
   not to acquire or agree to acquire (A) any downstream assets if such acquisition or agreement
   would reasonably be expected to impose any delay in the obtaining of, or increase the risk of not
   obtaining, the applicable approval required under the HSR Act, or (B) more than 10% of the Equity
   Interests of any of the issuers listed on Section 6.3(f) of the Company Disclosure Schedules.

                   (g)    Each Party shall promptly inform the other Party of any material
   communication from the Federal Trade Commission, the Department of Justice or any other
   Governmental Body regarding any of the Transactions. Each Party (including its respective
   Affiliates or Subsidiaries) will provide the other Party with copies (or, if provided orally, a
   summary) of all substantive correspondence, filings or communications between them or any of
   their Representatives, on the one hand, and any Governmental Body or members of its staff, on
   the other hand, with respect to this Agreement and the Transactions; provided, however, that
   materials may be redacted as necessary to (i) comply with contractual arrangements and (ii)
   address reasonable attorney-client or other privilege or confidentiality concerns. If any Party or
   any Affiliate thereof receives a request for additional information or documentary material from
   any such Governmental Body with respect to the Transactions, then such Party will use its
   reasonable best efforts to make, or cause to be made, as soon as reasonably practicable and after
   consultation with the other Party, an appropriate response in compliance with such request. The
   Buyer will advise the Special Master and the Company promptly in respect of any understandings,
   undertakings or agreements (oral or written) that the Buyer proposes to make or enter into with the


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   Federal Trade Commission, the Department of Justice or any other Governmental Body in
   connection with the Transactions, and will use its best efforts to cause the Special Master and the
   Company to be given the opportunity to attend and participate at any meetings with respect thereto.
   None of the Buyer, the Special Master or the Company (including their respective Affiliates or
   Subsidiaries) will agree to participate in any meeting, telephone call or discussion with a
   Governmental Body in respect of any submissions, filings, investigation (including any settlement
   of the investigation), litigation or other inquiry relating to the matters that are the subject of this
   Agreement unless it consults with the other Party in advance and, except as may be prohibited by
   a Governmental Body or by any Law, and will permit authorized Representatives of the other
   Parties and the Special Master to be present at each meeting, telephone call or discussion.
   Notwithstanding the foregoing, the Buyer shall determine, direct and control the strategy and
   process by which the Parties will seek required approvals under the Antitrust Laws and the Buyer
   shall approve any filings and submissions before they are made. Notwithstanding this Section
   6.3(g) and Section 6.7 (Public Announcements), the Special Master acknowledges and agrees that,
   following the Execution Date and the issuance of Buyer’s press release pursuant to Section 6.7,
   the Buyer and its Affiliates and each of their respective Representative may contact Governmental
   Bodies and federal, state and local officials in connection with the Transaction and respond to
   inquiries (including informal in-person meetings) from such Persons and their representatives in
   each case, in connection with the Transaction for purposes of discussing the Buyer’s identity and
   go-forward plans with respect to the Acquired Companies and impacts on stakeholders; provided,
   that (i) this sentence shall not apply to any communications with Department of Justice, Federal
   Trade Commission, or OFAC; (ii) such communications shall not disclose substantive non-public
   information regarding the terms and conditions of the Transactions; (iii) prior to providing any
   such Person with written materials containing substantive non-public information regarding the
   Transactions, the Buyer shall provide the Special Master with copies of such written materials at
   least twenty-four (24) hours in advance of dissemination; and (iv) upon the reasonable request of
   the Special Master from time to time, the Buyer shall provide the Special Master with reasonable
   updates on the status of communications permitted pursuant to this sentence.

                   (h)    With respect to each consent or right set forth on Section 4.3(a) of the
   Company Disclosure Schedule, following the Sale Order Entry, the Special Master shall Cause the
   Acquired Companies, within fifteen (15) Business Days of the written request of the Buyer, to
   prepare and send written notice to the holder of such consent or right in compliance with the
   contractual provisions applicable to such consent or right seeking such holder’s consent to the
   Transactions, which notice shall be in a form reasonably satisfactory to the Buyer. The Special
   Master shall Cause the Acquired Companies to use commercially reasonable efforts to cause any
   such consent or right required to be obtained or complied with prior to the Closing. If the Acquired
   Companies discover any consent or right following the date hereof that is not set forth on Section
   4.3(a) of the Company Disclosure Schedule, but should have been set forth thereon, then the
   Special Master shall Cause the Acquired Companies to (i) send the holder of such consent or right
   a notice in accordance with the first sentence of this Section 6.3(h) as promptly as practicable after
   the date that the Acquired Companies become aware of such consent or right, and (ii) otherwise
   comply with such consent or right in accordance with this Section 6.3(h).

          Section 6.4. Further Assurances. Subject to, and not in limitation of, Section 6.3, until
   the Closing or earlier termination of this Agreement, each of the Parties shall (a) execute such
   documents and perform such further acts as may be reasonably required to carry out the provision


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   hereof and the actions contemplated hereby and (b) use its reasonable best efforts to, at the earliest
   practicable date, satisfy, or cause the satisfaction of, the condition precedents to the consummation
   of the Transactions; provided, that, this Section 6. 4 shall continue to apply to Section 6.21 after
   the Closing.

          Section 6.5. Confidentiality. The Buyer acknowledges that the information provided to
   them in connection with this Agreement and the Transactions is subject to the terms of the
   confidentiality agreement between                                         and the Special Master
   dated                   (the “Confidentiality Agreement”), the terms of which are incorporated
   herein by reference; subject to disclosure permitted in accordance with Section 6.10. The Parties
   acknowledge and agree that, notwithstanding anything to the contrary in the Confidentiality
   Agreement, as of the Execution Date, (a) the defined term “Representatives” under the
   Confidentiality Agreement shall be deemed to include any actual or potential bidding partners,
   equity financing sources, and debt financing sources (without any requirement of notice to, or
   consent from, the Special Master, including with respect to entering into exclusive arrangements
   with any such party), and (b) Section 2(d) of the Confidentiality Agreement shall terminate and be
   of no further force or effect. Effective as of the Closing, the Confidentiality Agreement shall
   terminate and be of no further force or effect.

             Section 6.6.         Indemnification, Exculpation and Insurance.

                   (a)     Except as set forth in Section 6.6(a)(1) of the Company Disclosure
   Schedules, from and after the Closing, the Buyer shall, and shall cause each Acquired Company
   to continue in full force and effect in accordance with their respective terms until the applicable
   statute of limitations with respect to any claims against such Indemnitees (as defined below), all
   rights to indemnification, advancement of expenses and exculpation by the Acquired Companies,
   now existing in favor of each of the Persons who at or prior to the Closing were (i) directors (or
   equivalent), officers or employees of any Acquired Company or (ii) serving as directors (or
   equivalent), officers or employees of another entity (including a joint venture) at the request of
   any Acquired Company (collectively, the “Indemnitees”) pursuant to the Organizational
   Documents of the Acquired Companies (and to the extent permitted by Section 3, clause fifth of
   the Certificate of Incorporation of CITGO Petroleum as in effect on the Effective Date) or pursuant
   to the Contracts disclosed in Section 6.6(a)(2) of the Company Disclosure Schedules, in each case
   as in effect on the date of this Agreement.

                   (b)   The indemnification and exculpation provisions of the Acquired
   Companies’ Organizational Documents and indemnification Contracts disclosed in Section
   6.6(a)(2) of the Company Disclosure Schedules shall not be amended, or otherwise modified in
   any manner that would adversely affect the rights of the Indemnitees under Section 6.6(a), unless
   such amendment or modification is required by Law. From and after the Closing, the Buyer agrees
   to cause the Acquired Companies to maintain in effect in accordance with their respective terms
   (i) the escrow agreement, dated May 5, 2023, by and among Citgo Petroleum Corporation, Morris
   James, LLP and JPMorgan Chase Bank, N.A. and (ii) the escrow agreement, dated May 5, 2023,
   by and among the Company, Morris James, LLP and JPMorgan Chase Bank, N.A., and not to
   amend the foregoing in any manner that would adversely affect the rights of the applicable
   Indemnitees thereunder, unless such modification is required by Law.




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                    (c)    Prior to the Closing, the Company may, or, immediately upon the Closing
   if the Company has not already done so, the Buyer shall cause the Company and the Company
   Subsidiaries to, purchase the directors’ and officers’ “tail” or “runoff” insurance program currently
   available to be purchased under the existing directors’ and officers’ liability insurance plan
   covering the Acquired Companies’ directors and officers, to the extent such plan remains available
   as of the Closing on materially the same terms and conditions; provided, that the premium paid for
   such “tail” policy shall not exceed 350% of the annual premiums paid for the Acquired Companies’
   current directors’ and officers’ liability insurance policy; and provided, further, that to the extent
   the premium paid for such “tail” policy exceeds 350% of the annual premiums paid for the
   Acquired Companies’ current directors’ and officers’ liability insurance policy, the Buyer shall
   maintain a “tail” policy that has the most favorable coverage obtainable for an amount at or below
   350% of the annual premiums paid for the Acquired Companies’ current directors’ and officers’
   liability insurance policy. To the extent that such plan is no longer available on materially the same
   terms and conditions at the Closing, prior to the Closing, the Buyer shall, or, immediately upon
   the Closing, shall cause the Company, to purchase a directors’ and officers’ liability “tail” or “run-
   off” insurance program, selected by the Company prior to the Closing, for a period of six (6) years
   after the Closing (such coverage shall have an aggregate coverage limit over the term of such
   policy in an amount no less than the aggregate coverage limit under the Company’s existing
   directors’ and officers’ liability policy, and in all other respects comparable to such existing
   coverage); provided, that the premium paid for such “tail” policy shall not exceed 350% of the
   annual premiums paid for the Acquired Companies’ current directors’ and officers’ liability
   insurance policy; and provided, further, that to the extent the premium paid for such “tail” policy
   exceeds 350% of the annual premiums paid for the Acquired Companies’ current directors’ and
   officers’ liability insurance policy, the Buyer shall maintain a “tail” policy that has the most
   favorable coverage obtainable for an amount at or below 350% of the annual premiums paid for
   the Acquired Companies’ current directors’ and officers’ liability insurance policy.

                  (d)    The provisions of this Section 6.6 are intended to be for the benefit of, and
   shall be enforceable by, each Indemnitee.

                   (e)     In the event that the Buyer, the Company or any of its successors or assigns
   (i) consolidates with or merges into any other Person and is not the continuing or surviving
   corporation or entity of such consolidation or merger; or (ii) transfers or conveys all or
   substantially all of its properties and assets to any Person, then, and in each such case, proper
   provision shall be made so that the successors and assigns of the Buyer and of the Company shall
   assume all of the obligations of the Buyer and the Company set forth in this Section 6.6.

                    (f)      Notwithstanding anything to the contrary in this Section 6.6, in no event
   shall the obligations of the Buyer under this Section 6.6 apply to any Person who committed any
   act or failed to act, in each case, in violation of (or in furtherance of another Person’s violation of)
   any criminal Law, Anti-Corruption Law, Economic Sanctions/Trade Laws, or Money Laundering
   Laws, in each case, in such Person’s capacity as a director (or equivalent), officer or employee of
   any Acquired Company (or any other entity if such Person was serving at the request of any
   Acquired Company) at any time, and any such Person shall in no event be deemed an “Indemnitee”
   under this Agreement or have any rights hereunder.




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           Section 6.7. Public Announcements. The Buyer and the Special Master shall not, and the
   Special Master shall Cause the Acquired Companies not to, issue any press release or make any
   public statement without the prior consent of the other Party, which consent shall not be
   unreasonably withheld, conditioned or delayed, except that each of the Buyer and the Special
   Master may issue (x) the initial press release announcing the execution of this Agreement that has
   been agreed upon by the Buyer and the Special Master, (y) any press release or public
   announcement so long as any statements contained therein concerning the Transactions are
   consistent with previous releases or announcements made by the applicable Party with respect to
   which such Party has complied with the provisions of this Section 6.7, and (z) such other release
   or announcement that, upon the advice of outside counsel, is required by Law or the rules and
   regulations of any stock exchange upon which the securities of the Buyer, as applicable, or any of
   its Affiliates, are listed. Without limiting the foregoing, the Buyer and the Special Master shall
   consult with one another prior to issuing any press release or making any public statement with
   respect to this Agreement or the Transactions, and each Party shall, to the extent practicable, allow
   the other Party reasonable time to review and comment on all public releases, filings, notifications,
   announcement or other communications (including proxy statement and other communications
   with shareholders and filings, notifications or other communications with Governmental Bodies)
   concerning the Transactions in advance of their issuance, release, filing, dissemination or
   publication. For the avoidance of doubt, nothing in this Section 6.7 shall prevent the Parties from
   (a) issuing any press release or making any public statement in the Ordinary Course that does not
   relate specifically to this Agreement or the Transactions, (b) disclosing this Agreement or the
   substance or any relevant details of the Transactions on a confidential basis to any of its
   Representatives (provided, that such Representatives have been informed of such party’s
   confidentiality obligations hereunder and under the Confidentiality Agreement or are otherwise
   obligated to keep such information confidential) or (c) in the case of the Special Master, complying
   with any reporting obligations of the Court and nothing in this Section 6.7 or in any other provision
   of this Agreement shall impact the ability of PDVSA or the Acquired Companies to use
   confidential information in connection with opposing the sale process, this Agreement or the
   Transactions.

             Section 6.8.         Employee Matters.

                  (a)     The Buyer and the Special Master hereby agree that the Closing shall
   constitute a “Change in Control” for purpose of any employee arrangement and all other Company
   Benefit Plans, pursuant to the terms of such plans as in effect on the date of this Agreement (or as
   adopted or amended to the extent permitted by Section 6.1(b)). No provision of this Section 6.8(a)
   shall be construed to create a right in any employee or beneficiary of such employee under any
   Company Benefit Plan that such employee or beneficiary would not otherwise have under the
   terms of such Company Benefit Plan and, for the avoidance of doubt, no provision of this Section
   6.8 will be deemed to supersede the terms of any Company Benefit Plan to the extent such terms
   are more favorable to Affected Employees than the rights granted hereunder.

                 (b)    As of the Closing, the Buyer shall, or shall cause the Acquired Companies
   to, assume the Company Collective Bargaining Agreements and adhere to the obligations
   thereunder pursuant to the terms therein. Following the Closing, the Buyer or the Acquired
   Companies will continue to employ the employees who are subject to or covered by the Company
   Collective Bargaining Agreements and employed by one of the Acquired Companies as of the


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   Closing (the “Union Affected Employees”) on the terms therein, including with respect to
   employee wages and benefits.

                  (c)    For a period of twelve (12) months following the Closing (or, if shorter, the
   applicable employee’s period of employment with the Buyer or one of the Acquired Companies),
   the Buyer shall continue to provide (or shall cause the Acquired Companies to provide) to each
   employee of any of the Acquired Companies as of the Closing who are not subject to or covered
   by a Company Collective Bargaining Agreement (the “Non-Union Affected Employees,” together
   with the Union Affected Employees, the “Affected Employees”), for so long as each such Non-
   Union Affected Employee remains employed by the Buyer or any of the Acquired Companies, (i)
   a base salary or hourly wage rate (as applicable) and short-term cash incentive compensation
   opportunities (excluding equity and equity-based awards and transaction-based or other one-time
   payments or awards), in each case, that are no less favorable than those provided to such Non-
   Union Affected Employee immediately prior to the Closing, and (ii) employee benefits that are
   substantially comparable in the aggregate to those provided to such Non-Union Affected
   Employee immediately prior to the Closing.

                   (d)    The Buyer will give (or will cause the Acquired Companies to give) each
   Affected Employee full credit for purposes of eligibility, vesting and benefit accrual under any
   employee benefit plans or arrangements maintained by the Buyer (or any of the Acquired
   Companies) for such Affected Employee’s service with any of the Acquired Companies (and their
   respective predecessor entities) to the same extent recognized by any of the Acquired Companies
   immediately prior to the Closing, except to the extent that such credit would result in a duplication
   of benefits or compensation for the same period of service.

                   (e)      The Buyer will (or will cause the Acquired Companies to) use commercially
   reasonably efforts to (i) waive all limitations as to preexisting conditions, exclusions and waiting
   periods with respect to participation and coverage requirements applicable to each Affected
   Employee under any welfare benefit plans that such Affected Employee may be eligible to
   participate in after the Closing, other than limitations or waiting periods that are already in effect
   with respect to such Affected Employee and that have not been satisfied as of the Closing under
   any welfare plan maintained for the Affected Employee immediately prior to the Closing, and (ii)
   for the first plan year of eligibility, provide each Affected Employee with credit for any co-
   payments and deductibles, paid by such Affected Employee prior to the Closing, in satisfying any
   applicable deductible or out-of-pocket requirements under any welfare plans that such Affected
   Employee is eligible to participate in after the Closing. References to “Affected Employee” in this
   Section 6.8(e) shall also refer to the applicable Affected Employee’s eligible dependents.

                   (f)     Upon the Buyer’s request (and at the Buyer’s sole cost and expense), the
   Special Master shall Cause the Company to adopt and maintain an employee retention plan in form
   and substance as proposed by the Buyer in writing. Any such employee retention plan shall be in
   addition to, and shall not replace or substitute any existing Company Benefit Plan.

                  (g)   The provisions contained in this Section 6.8 shall not (i) be treated as an
   amendment or other modification of any Company Benefit Plan, Company Collective Bargaining
   Agreement or other employee benefit plan, agreement or other arrangement, (ii) limit the right of
   the Buyer or any Acquired Company to terminate any employee at any time and for any reason or



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   (iii) create any third party rights, benefits or remedies of any nature whatsoever in any employee
   of any Acquired Company (or any beneficiaries or dependents thereof) or any other Person that is
   not a party to this Agreement. The benefits and compensation provided to each employee of any
   of the Acquired Companies as of the Closing (“Affected Employee”) following the Closing Date
   shall be subject to the requirements of applicable Law. Notwithstanding the foregoing, nothing
   herein will impose on the Buyer or any of the Acquired Companies any obligation to (A) retain
   any Affected Employee in its or their employ for any amount of time or (B) maintain any terms
   and conditions of employment other than as expressly set forth above.

             Section 6.9.         The Buyer’s Obligations in Respect of Debt Financing.

                  (a)    The Buyer acknowledges and agrees that the Special Master, the Company
   and their respective Affiliates have no responsibility for any financing that Buyer may raise in
   connection with the Transactions, other than any obligations expressly set forth in Section 6.10.

                  (b)     The Buyer shall use reasonable best efforts to take, or cause to be taken, all
   actions and to do, or cause to be done, all things necessary, proper or advisable to obtain the Debt
   Financing contemplated by the Debt Financing Commitments on or prior to the Closing Date,
   including to:

                              (i)     maintain in effect the Commitment Letters from and after the Trust
             Structure Effective Date (subject to the Buyer’s right to amend, modify, supplement,
             restate, assign, substitute or replace the Commitment Letters in accordance herewith);

                             (ii)   negotiate and enter into definitive financing agreements (the
             “Definitive Debt Documents”) with respect to the Debt Financing that reflect the terms
             contained in the Debt Commitment Letter (including any “market flex” provisions related
             thereto) or on such other terms acceptable to the Buyer and its Debt Financing Sources, so
             that such agreements are in effect no later than the Closing Date; it being understood that
             in no event shall any of the Definitive Debt Documents (A) reduce the aggregate amount
             of the Debt Financing provided for in the Debt Commitment Letter (including by changing
             the amount of fees or original issue discount contemplated by the Debt Commitment Letter
             and the Fee Letters) to an amount that would reduce the total sources of funding below the
             Required Amount; (B) expand the conditions or other contingencies relating to the receipt
             or funding of the Debt Financing beyond those expressly set forth in the Debt Commitment
             Letter, amend or modify any such conditions or other contingencies in a manner adverse
             to the Buyer and/or the Acquired Companies (whether by making any such conditions or
             other contingencies less likely to be satisfied on a timely basis or otherwise) or impose any
             new or additional condition or other contingency relating to the receipt or funding of the
             Debt Financing or (C) contain terms (other than those terms expressly set forth in the Debt
             Commitment Letter) that (1) could reasonably be expected to delay the Closing or the date
             on which the Debt Financing would be obtained or make the timely funding of the Debt
             Financing less likely to occur, or (2) adversely impact the ability of the Buyer to
             consummate the Debt Financing (clauses (A) through (C), a “Prohibited Modification”);

                           (iii) satisfy on a timely basis all conditions applicable to the Buyer
             contained in the Debt Financing Commitments and Equity Financing Commitments,



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             including the payment of any commitment, engagement or placement fees required as a
             condition to the Debt Financing or the Equity Financing, as applicable;

                              (iv)    consummate the Debt Financing (including by instructing the Debt
             Financing Sources to fund the Debt Financing in accordance with the Debt Commitment
             Letter, instructing the Equity Financing Sources to fund the Equity Financing in accordance
             with the Equity Commitment Letters and enforcing the Buyer’s rights under the Debt
             Commitment Letter (including if necessary or appropriate, to commence, participate in and
             diligently pursue Legal Proceedings against or involving any of the Persons that have
             committed to provide any portion of, or otherwise with respect to, the Debt Financing)) at
             or prior to the date that the Closing is required to be effected in accordance with Section 2.2
             (the Buyer acknowledges and agrees that it is not a condition to Closing under this
             Agreement, nor to the consummation of the Transactions, for the Buyer to obtain the Debt
             Financing or any Replacement Financing); and

                                  (v)   comply with its obligations under the Debt Commitment Letter.

          Subject to the terms and upon satisfaction of the conditions set forth in the Debt
   Commitment Letter, the Buyer shall use its reasonable best efforts to cause the lenders and the
   other Persons providing such Debt Financing to provide the Debt Financing on the Closing Date.

                   (c)     From and after the Trust Structure Effective Date, the Buyer shall provide
   to the Special Master copies of all agreements and other documents relating to the Debt Financing
   and, shall keep the Special Master reasonably informed on a current basis and in reasonable detail
   of material developments in respect of the financing process relating thereto. Without limiting the
   generality of the foregoing, the Buyer shall provide the Special Master prompt written notice (i) of
   any expiration or termination of, or any breach, default or violation (or any event or circumstance
   that, with or without notice, lapse of time or both, could reasonably be expected to give rise to any
   breach, default or violation) by any party to the Debt Commitment Letter or definitive agreements
   related to the Debt Financing of which the Buyer becomes aware, (ii) of the receipt of any written
   notice or other written communication, in each case from any Debt Financing Source with respect
   to any (x) actual or potential breach, default, violation, termination or repudiation by any party to
   the Debt Commitment Letter or definitive agreements related to the Debt Financing of any
   provision of the Debt Commitment Letter or definitive agreements related to the Debt Financing,
   (y) any actual dispute or disagreement between or among any parties to the Debt Commitment
   Letter or definitive agreements related to the obligation to fund the Debt Financing or the
   amount of the Debt Financing to be funded at the Closing, and (iii) if at any time for any reason
   the Buyer believes in good faith that it will not be able to obtain all or any portion of the Debt
   Financing on the terms and conditions contemplated by the Debt Financing Commitments or
   definitive agreements related to the Debt Financing. From and after the Trust Structure Effective
   Date, as soon as reasonably practicable after the Special Master delivers to the Buyer a written
   request therefor, the Buyer shall provide any information reasonably requested by the Special
   Master relating to any circumstance referred to in clause (i), (ii) or (iii) of the immediately
   preceding sentence; provided, that the right of the Special Master to request such information shall
   not limit the obligations of the Buyer to promptly provide such information as otherwise required
   by this Section 6.9(c).




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                   (d)     After the Trust Structure Effective Date and prior to the Closing, the Buyer
   shall not, without the prior written consent of the Special Master, agree to, or permit, any
   amendment, restatement, amendment and restatement, replacement, supplement, or other
   modification of, or waiver or consent under, the Debt Commitment Letter or other documentation
   relating to the Debt Financing which would constitute a Prohibited Modification. For purposes of
   this Section 6.8, the definitions of “Debt Commitment Letter,” “Debt Financing,” “Debt Financing
   Commitments,” “Debt Financing Sources,” shall include the Debt Financing Commitment or
   documents related thereto as permitted to be amended, amended and restated, replaced,
   supplemented, modified, waived or consented to by this Section 6.9(d). The Buyer shall promptly
   deliver to the Special Master copies of any such amendment, restatement, amendment and
   restatement, replacement, supplement, modification, waiver or consent. The Buyer shall not agree
   to or permit the withdrawal, repudiation, termination or rescission of any Debt Commitment Letter
   or Definitive Debt Document or any provision thereof (except in connection with Replacement
   Financing). Further, for the avoidance of doubt, if from and after the Trust Structure Effective Date
   the Debt Financing (or any Replacement Financing) has not been obtained, the Buyer shall
   continue to be obligated to consummate the Transactions subject only to the satisfaction or waiver
   of the conditions set forth in Section 7.1 and Section 7.2.

                    (e)     If, notwithstanding the use of commercially reasonable efforts by the Buyer
   to satisfy its obligations under Section 6.9(b), (c) and (d), any of the Debt Financing or the Debt
   Financing Commitments (or any definitive financing agreement relating thereto) expire or are
   terminated or after being entered into, subsequently become unavailable prior to the Closing, in
   whole or in part, for any reason, the Buyer shall (i) promptly notify the Special Master of such
   expiration, termination, or unavailability and the reasons therefor and (ii) use its commercially
   reasonable efforts promptly to arrange for alternative financing (“Replacement Financing”) (which
   shall be sufficient, together with the Equity Financing and cash on hand of the Buyer, to pay the
   Required Amount and shall not, without the prior written consent of the Special Master, include
   any conditions to such Replacement Financing that are more onerous than, or in addition to, the
   conditions set forth in the Commitment Letters, as applicable, to replace the financing
   contemplated by such expired, terminated, or unavailable commitments or arrangements). The
   Buyer shall deliver to the Special Master true, correct and complete copies of all contracts or other
   arrangements pursuant to which any such alternative source shall have committed to provide any
   portion of the Replacement Financing (provided that any fee letters in connection therewith may
   be redacted in a manner consistent with the Fee Letter provided as of the date hereof). To the extent
   applicable, the Buyer shall use its reasonable best efforts to take, or cause to be taken, all actions
   necessary, proper or advisable to arrange and consummate the Replacement Financing on the terms
   and conditions described in such contracts or other arrangements relating thereto on or before the
   Closing Date, including (A) using commercially reasonable efforts to (x) satisfy on a timely basis,
   all terms, covenants and conditions set forth therein; (y) enter into definitive agreements with
   respect thereto on the terms and conditions set forth therein and (z) consummate the Replacement
   Financing at or prior to the Closing and (B) if necessary or appropriate, seeking to enforce its rights
   thereunder. In the event that Replacement Financing is obtained in accordance with this Section
   6.9(e), the definitions of “Debt Commitment Letter,” “Debt Financing,” “Debt Financing
   Commitments,” and “Debt Financing Sources” shall include the commitments in respect of the
   Replacement Financing or the documents related thereto, as applicable. Notwithstanding the
   foregoing, compliance by the Buyer with the provisions of this Section 6.9(e) shall not relieve the



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   Buyer of their obligation to consummate the Transactions whether or not the Debt Financing is
   available.

             Section 6.10. Company’s Obligations in Respect of Debt Financing.

                    (a)    Subject to Section 6.10(b), from and after the Trust Structure Effective Date
   and prior to the Closing, the Special Master shall Cause the Acquired Companies to use reasonable
   best efforts to provide to the Buyer such customary cooperation in connection with the arrangement
   of the Debt Financing as is reasonably requested by the Buyer. Such assistance shall include using
   commercially reasonable efforts to do the following, at the Buyer’s sole expense, in connection
   with the Debt Financing:

                            (i)    as promptly as practicable, to furnish, or cause to be furnished, to
             the Buyer, the Required Information;

                             (ii)   causing the appropriate members of senior management of the
             Company to participate in a reasonable number of meetings (including customary one-on-
             one meetings and calls that are requested in advance with or by the parties acting as lead
             arrangers or agents for, and prospective lenders of, the Debt Financing), presentations,
             sessions with rating agencies, drafting sessions, conference calls, road shows, due diligence
             sessions or other customary syndication activities;

                             (iii) (A) assisting with the preparation of appropriate and customary
             materials for a rating agency presentation, a bank information memorandum and a lender
             presentation reasonably required in connection with the Debt Financing and (B) having an
             officer of the Company execute a customary authorization letter with respect to the bank
             information memorandum that authorizes distribution of information to prospective
             lenders;

                            (iv)   to the extent not prohibited or restricted under applicable Law or any
             Contract of the Company or its applicable Affiliate, facilitating the pledging of collateral;
             provided that no pledge shall be effective until the Closing;

                            (v)     assisting in the preparation of definitive financing documents,
             including guarantee and collateral documents and customary closing certificates and other
             customary documents as reasonably necessary, in each case, not to be effective until the
             Closing (provided, that, unless specifically provided for in this Section 6.10, in no event
             will any of the Acquired Companies or their respective Representatives be required to
             execute or deliver any opinion or certificate in connection with the Financings);

                            (vi)   furnishing the Buyer at least three (3) Business Days prior to the
             Closing Date with all documentation and other information required by a Governmental
             Body with respect to the Debt Financing under applicable “know your customer” and anti-
             money laundering rules and regulations that is reasonably requested by the Buyer at least
             ten (10) Business Days prior to the Closing Date;

                           (vii) solely with respect to financial information and data derived from
             the Acquired Companies’ historical books and records, provide reasonable and customary


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             assistance to the Buyer with the preparation of pro forma financial information and pro
             forma financial statements to the extent reasonably requested by the Buyer or the Debt
             Financing Sources and customary to be included in any marketing materials or Offering
             Documents or of the type required by the Debt Commitment Letter (provided, that none of
             the Acquired Companies or any of their respective Representatives shall be responsible for
             the preparation of any pro forma financial statements or pro forma adjustments thereto);

                            (viii) provide reasonable and customary assistance to the Buyer and the
             Debt Financing Sources in the preparation of customary Offering Documents, syndication
             memoranda, ratings agency presentations and other marketing material for the Debt
             Financing, including the execution and delivery of customary authorization letters related
             thereto (provided, that, unless specifically provided for in this Section 6.10, in no event
             will any of the Acquired Companies or their respective Representatives be required to
             execute or deliver any opinion or certificate in connection with the Debt Financing);

                             (ix)   cooperate with the Buyer to obtain customary corporate and
             facilities credit ratings, consents, landlord waivers and estoppels, non-disturbance
             agreements as reasonably requested by the Buyer, in each case, not to be effective prior to
             the Closing Date;

                             (x)     subject to an Acceptable Confidentiality Agreement, taking all
             actions reasonably necessary and customary to (A) permit the Debt Financing Sources and
             their respective Representatives to evaluate the Acquired Companies’ current assets,
             properties, rights, inventory, cash management and accounting systems, and policies and
             procedures relating thereto for the purpose of establishing collateral arrangements to the
             extent customary and reasonable and (B) establish bank and other accounts and blocked
             account agreements and lock box arrangements in connection with the foregoing, provided
             that such agreements and arrangements will only be effective upon Closing;

                             (xi)    subject to an Acceptable Confidentiality Agreement, granting the
             Debt Financing Sources on reasonable terms and upon reasonable request, at reasonable
             times and on reasonable notice at times and locations to be mutually agreed, access to the
             Acquired Companies’ properties, rights, assets and cash management and accounting
             systems (including cooperating in and facilitating the completion of field examinations,
             collateral audits, asset appraisals and surveys) for the purpose of establishing collateral
             arrangements required to be in place pursuant to the Financings;

                            (xii) subject to an Acceptable Confidentiality Agreement, furnishing the
             Buyer and the Debt Financing Sources all existing field examinations, collateral audits and
             asset appraisals and surveys of the Acquired Companies to the extent prepared in the
             Ordinary Course and other information prepared in the Ordinary Course as necessary to
             enable the Buyer to furnish the “Borrowing Base Certificate” required to be delivered
             pursuant to clause 4(b) of Exhibit E to the Debt Commitment Letter;

                          (xiii) assisting in the preparation of at Closing, the Debt Financing
             Documents, including assistance with the preparation of schedules, information required
             by the perfection certificate and exhibits thereto or other customary informational



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             requirements relating to the Acquired Companies as are requested by the Buyer, and other
             customary documents as may be reasonably requested by the Buyer or the Debt Financing
             Sources, and otherwise assist in facilitating the creation and perfection of the security
             interests in the collateral contemplated by the Debt Financing, in each case, to the extent
             required to facilitate the satisfaction of the financing conditions set forth in the Debt
             Commitment Letter that are within its control, provided that no such document or
             certificate or the creation or perfection of any security interest in any of the Equity Interests
             of or assets owned by the Company and its Subsidiaries shall be effective prior to Closing
             (provided, that, unless specifically provided for in this Section 6.10, in no event will any
             of the Acquired Companies or their respective Representatives be required to execute or
             deliver any opinion or certificate in connection with the Debt Financing);

                            (xiv) facilitate customary cooperation and assistance of the Company’s
             independent auditors to (A) provide customary “comfort” letters (including “negative
             assurance” and change period comfort), (B) deliver consents and (C) attend accounting
             diligence sessions;

                            (xv) cooperating with the Buyer to take such corporate or other
             organizational action, subject to the occurrence of the Closing, as is reasonably necessary
             to permit the consummation of the Debt Financing (provided, that, unless specifically
             provided for in this Section 6.10, in no event will any of the Acquired Companies or their
             respective Representatives be required to execute or deliver any opinion or certificate in
             connection with the Debt Financing); and

                            (xvi) Cause the Acquired Companies to use commercially reasonable
             efforts to facilitate the delivery of the Payoff Letters and the discharge and release
             documentation at least three (3) Business Days prior to the Closing Date.

                   (b)    Notwithstanding anything in Section 6.10(a) or this Agreement to the
   contrary, the cooperation requested by the Buyer pursuant to Section 6.10(a) shall not:

                             (i)    require the entry by the Special Master or any Acquired Company
             into any agreement or commitment, or the taking of any action, that would be effective
             prior to the Closing and that is not contingent on the occurrence of the Closing;

                                  (ii)   unreasonably interfere with the ongoing operations of the Acquired
             Companies; or

                            (iii) include any action that the Special Master or the Company
             reasonably believes would require any of the Acquired Companies to (A) pay any
             commitment or other similar fee, (B) have or incur any liability or obligation in connection
             with the Debt Financing, including under any agreement or any document related to the
             Debt Financing, (C) take any action that would conflict with, violate or result in a breach
             of or default under the Company Charter and Company By-Laws or any Organizational
             Documents of the Company’s Affiliates, any Contract, any Transaction Document or any
             Law, (D) take any action that could subject any director, manager, officer or employee of
             the Company or any of its Affiliates to any personal liability, (E) provide access to or



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             disclose information that the Company determines in good faith could jeopardize any
             attorney client privilege of, or conflict with any confidentiality requirements applicable to,
             the Company or any of its Affiliates, (F) cause any director or manager of the Company or
             any of its Affiliates to pass resolutions or consents to approve or authorize the execution of
             the Debt Financing (other than continuing directors or managers), (G) reimburse any
             expenses or provide any indemnities, (H) make any representation, warranty or
             certification that, in the good faith determination of the Company, is not true, (I) require
             the delivery of any financial statements in a form or subject to a standard different than
             those provided to the Buyer on or prior to the date hereof, (J) provide any cooperation or
             information that does not pertain to the Acquired Companies or (K) provide (i) any
             description of all or any component of the Financings (including any such description to
             be included in any liquidity or capital resources disclosure or any “description of notes”),
             (ii) projections, risk factors or other forward-looking statements relating to all or any
             component of the Financings, or (iii) any solvency certificate or similar certification in
             connection with the Financings (which items (i) through (iii) shall be the sole responsibility
             of the Buyer). In no event shall the Special Master be in breach of Section 6.10(a) because
             of the Company’s failure (x) to deliver any financial or other information that is not (I)
             currently readily prepared in the Ordinary Course at the time requested by the Buyer
             or (II) of the type prepared in connection with the offering of the 8.375% Senior Secured
             Notes or (y) to obtain review of any financial or other information by its accountants.

                  (c)     Notwithstanding anything to the contrary contained herein, it is understood
   and agreed by the Parties that the failure of the Special Master or the Company to comply with the
   provisions of this Section 6.10 shall not give rise to a failure of a condition precedent set forth in
   Section 7.2(b) or a termination right pursuant to Section 8.1(c).

                   (d)     The Buyer shall promptly reimburse the Acquired Companies, the Special
   Master, and/or their respective Representatives for all reasonable and documented out-of-pocket
   third-party costs and expenses incurred by the Acquired Companies, the Special Master, and/or
   their respective Representatives in connection with the cooperation contemplated by Section
   6.10(a), including (i) attorneys’ fee and (ii) expenses of the Company’s accounting firms engaged
   to assist in connection with the Debt Financing, other than (x) costs and expenses incurred in
   connection with the preparation of historical financial statements in the ordinary course of
   business, and (y) any other ordinary course amounts that would have been incurred in connection
   with the transactions contemplated hereby entirely and completely regardless of (A) any debt
   financing established in connection herewith and (B) any requirements or actions under this
   Section 6.10. The Buyer shall indemnify and hold harmless, the Special Master, Acquired
   Companies, and their respective Representatives, from and against any and all liabilities or losses
   suffered or incurred by them in connection with the arrangement of the Debt Financing and any
   information utilized in connection therewith, except to the extent arising from (i) any material
   inaccuracy of any historical information furnished in writing by or on behalf of the Acquired
   Companies, including financial statements or (ii) the gross negligence, bad faith, willful
   misconduct, fraud or intentional misrepresentation of the Acquired Companies or any of their
   respective employees or representatives (provided that the gross negligence, material breach of this
   Agreement or willful misconduct of the Special Master or any of his Representatives will not
   impact the foregoing obligations of Buyer with respect to the Acquired Companies or its
   Representatives).


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                    (e)      Any information provided pursuant to this Section 6.10 shall be subject to
   the Confidentiality Agreement; provided, that the Buyer will be permitted to disclose such
   information to any Debt Financing Sources or prospective Debt Financing Sources and other
   financial institutions and investors that are or may become parties to the Debt Financing and to any
   underwriters, initial purchasers or placement agents in connection with the Debt Financing or with
   respect to the Equity Financing or any other equity financing in connection with the Transactions
   (and, in each case, to their respective counsel and auditors) so long as such Persons (i) agree to be
   bound by confidentiality provisions substantially similar to those in the Confidentiality Agreement
   (and any confidentiality agreements between the Company and its Affiliates) as if parties thereto,
   or (ii) are subject to other confidentiality undertakings reasonably satisfactory to the Company and
   of which the Company is a beneficiary.

                  (f)     The Special Master will Cause the Company to consent to the use of the
   logos of the Acquired Companies in connection with any such Debt Financing; provided, that such
   logos shall be used solely in a manner that is not intended or reasonably likely to harm, disparage
   or otherwise adversely affect the Acquired Companies, their reputation or goodwill.

                   (g)     Subject to the terms and conditions set forth in this Agreement, the Buyer
   acknowledges and agrees that neither obtaining the Financings nor any Replacement Financing,
   by the Buyer nor any cooperation by the Acquired Companies at the direction of the Special Master
   is a condition to Closing and reaffirms its obligations to consummate the Transactions irrespective
   and independently of the availability of the Financing or any Replacement Financing, subject to
   fulfillment or waiver of the conditions set forth in Section 7.1 and Section 7.2.

             Section 6.11. Treatment of Existing Senior Secured Notes.

                   (a)     The Buyer will be permitted to commence and conduct one or more offers
   to purchase, including any “Change of Control Offer” (as such term is defined in the applicable
   indenture governing each series of Existing Senior Secured Notes (each, an “Indenture”)), any
   tender offer, any exchange offer, and/or other liability management transaction, including
   redemptions, and to conduct any consent solicitations (each, a “Debt Offer” and collectively, the
   “Debt Offers”), with respect to any or all of the outstanding aggregate principal amount of the
   Existing Senior Secured Notes identified by the Buyer to the Company in writing prior to, on, or
   after the date hereof on terms that are acceptable to the Buyer. The Buyer shall not be permitted to
   commence any applicable Debt Offer until the Buyer shall have provided the Company with the
   necessary offer to purchase, letter of transmittal or other related documents in connection with the
   Debt Offer (collectively, the “Debt Offer Documents”) a reasonable period of time in advance of
   the Buyer commencing the applicable Debt Offer to allow the Company and its counsel to review
   and comment on the related Debt Offer Documents. The Buyer will reasonably consult with the
   Company regarding the timing and commencement of any Debt Offer and any relevant tender or
   consent deadlines. The closing (or, in the case of consent solicitations, operativeness) of the Debt
   Offers shall be expressly conditioned on the occurrence of the Closing, and the Parties shall, and
   the Special Master shall Cause the Company and the Acquired Companies to, use their reasonable
   best efforts to cause the Debt Offers to close on the Closing Date. The Debt Offers shall be
   conducted in compliance with any applicable provisions of the applicable Indenture and with
   applicable Law, including SEC rules and regulations, and the Company shall not be required to
   cooperate with respect to any Debt Offer that is not in compliance with the applicable Indenture



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   and applicable Law. The Special Master shall Cause the Company, the Company Subsidiaries and
   their respective Representatives to, in each case, use their reasonable best efforts, at the Buyer’s
   sole expense as contemplated by Section 6.11(d), to provide all cooperation reasonably requested
   by the Buyer in connection with any Debt Offer. To the extent that the provisions of any applicable
   Law conflict with this Section 6.10, the Buyer shall, and the Special Master shall Cause the
   Company to, comply with the applicable Law and shall not be deemed to have breached their
   obligations under this Agreement by such compliance.

                   (b)    Subject to the receipt of any requisite consents, the Special Master shall
   Cause the Company to execute a supplemental indenture to the indenture governing each series of
   Existing Senior Secured Notes identified by the Buyer to the Company in writing prior to, on, or
   after the date hereof in accordance with the applicable Indenture, amending the terms and
   provisions of each such Indenture as described in the Debt Offer Documents as reasonably
   requested by the Buyer, which supplemental indenture shall become operative no earlier than the
   Closing, and shall use reasonable best efforts to cause the trustee under each such Indenture to
   enter into such supplemental indenture substantially simultaneously with the Closing as
   determined by Buyer; provided, that in no event shall the Company or of its Representatives have
   any obligation to authorize, adopt or execute any amendments or other agreement that would
   become operative prior to the Closing. The Special Master shall Cause the Acquired Companies
   and their respective Representatives to, in each case, use their reasonable best efforts to provide
   all cooperation reasonably requested by the Buyer in connection with the execution of the
   supplemental indentures, including using reasonable best efforts to cause the applicable trustee to
   proceed with the Debt Offer, and take any such action as is reasonably necessary to cause the
   applicable trustee and/or other applicable agent to send the notices of the Debt Offer and/or other
   documents necessary to commence the Debt Offer to the holders of the Existing Senior Secured
   Notes.

                  (c)     If requested by the Buyer in writing, in lieu of or in addition to the Buyer
   commencing or closing a Debt Offer for any series of Existing Senior Secured Notes, the Special
   Master shall Cause the Company to use its reasonable best efforts, to the extent permitted by such
   series of Existing Senior Secured Notes and the applicable Indenture, to (i) issue a notice of
   redemption for all of the outstanding aggregate principal amount of such series of Existing Senior
   Secured Notes, pursuant to the redemption provisions of the applicable Indenture, which notice of
   redemption shall either be issued substantially simultaneously with the Closing or be expressly
   conditioned on the occurrence of the Closing and (ii) take any other actions prior to or at the
   Closing reasonably requested by the Buyer to facilitate the redemption and satisfaction and
   discharge of such series of Existing Senior Secured Notes pursuant to the redemption and the
   satisfaction and discharge provisions of the applicable Indenture and the other provisions of such
   Indenture applicable thereto. The redemption and satisfaction and discharge of any series of
   Existing Senior Secured Notes pursuant to the preceding sentence are referred to collectively as
   the “Discharge” of such series of Existing Senior Secured Notes. The Company shall, and shall
   cause the Company Subsidiaries and their respective Representatives to, in each case, use their
   reasonable best efforts, at Buyer’s sole expense as contemplated by Section 6.11(d), to provide all
   cooperation reasonably requested by the Buyer in connection with the Discharge of any series of
   Existing Senior Secured Notes identified to the Company by the Buyer in writing at any time.




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                   (d)     The Buyer shall, upon request by the Company, reimburse the Company for
   (i) all reasonable and documented out-of-pocket costs and expenses (including reasonable outside
   attorneys’ fees and expenses) incurred by the Company, any of the Company Subsidiaries or their
   respective Representatives in connection with the Debt Offers or Discharge in respect of any series
   of Existing Senior Secured Notes and (ii) any out-of-pocket costs incurred by the Company, any
   of the Company Subsidiaries or their respective Representatives to the trustee or its counsel
   pursuant to the applicable Indenture in connection with the Debt Offers or Discharge in respect of
   any series of Existing Senior Secured Notes.

             Section 6.12. Tax Matters.

                  (a)     Neither the Buyer nor any of its Affiliates shall (or, from and after the
   Closing, shall cause or permit the Company or any of its Affiliates to) make an election under
   Section 336 or Section 338 of the Code (or any similar election under state, local or foreign Law)
   with respect to the Transactions. The Parties shall treat the Closing Date as the last day of the
   taxable period of the Company for all Tax purposes.

                   (b)    All Transfer Taxes shall be paid by the Buyer; provided, that the Company
   shall (and shall cause each other Acquired Company to) use commercially reasonable efforts to
   provide to the Buyer such cooperation in connection with the payment of any Transfer Taxes and
   the filing of any Tax Returns required in connection with the payment of such Transfer Taxes as
   is reasonably requested by the Buyer. The Buyer shall procure any stock transfer stamps required
   by any Transfer Tax, and timely file, to the extent required by applicable Law, all necessary Tax
   Returns and other documentation with respect to all such Transfer Taxes and provide to the Special
   Master upon request evidence of payment of all Transfer Taxes.




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            Section 6.13. R&W Insurance Policy. In the event the Buyer or any of its Affiliates
   obtains a representations and warranties insurance policy in respect of the representations and
   warranties contained in this Agreement or in any certificate or other instrument contemplated by
   or delivered in connection with this Agreement (such policy, a “R&W Insurance Policy”), (a) all
   premiums, underwriting fees, brokers’ commissions and other costs and expenses related to such
   R&W Insurance Policy shall be borne solely by the Buyer or such Affiliate, (b) such R&W
   Insurance Policy shall not provide for any “seller retention” (as such phrase is commonly used in
   the representations and warranties insurance policy industry) and (c) such R&W Insurance Policy
   shall expressly waive any claims of subrogation against the Special Master and any Acquired
   Company (other than, solely in the case of an Acquired Company, in connection with Fraud of any
   Acquired Company). The Special Master shall, and shall Cause the Company to, use commercially
   reasonable efforts to cooperate with the Buyer’s efforts, as applicable, and provide assistance as
   reasonably requested by the Buyer to obtain and bind the R&W Insurance Policy and to maintain
   its effectiveness through the Closing.

             Section 6.14. Notices of Certain Events.

                (a)     During the Interim Period, the Special Master shall, and shall Cause the
   Company to notify the Buyer, and the Buyer shall promptly notify the Special Master, of:

                            (i)    any written notice or other written communication from any Person
             alleging that the consent of such Person is or may be required in connection with the
             Transactions;

                          (ii)    any notice or other written communication from any Governmental
             Body in connection with the Transactions;

                            (iii) any actions, suits, claims, investigations or proceedings (A)
             commenced or (B) to the Knowledge of the Buyer or to the Knowledge of the Special
             Master, as applicable, threatened against, relating to or involving or otherwise affecting
             such Party or any of its Subsidiaries which relate to the consummation of the Transactions
             (excluding any appeals or other oppositions by the Acquired Companies or PDVSA); and

                           (iv)    any item or information referred to in, or received by the Special
             Master pursuant to, Section 6.14(b);

   provided, that any failure to comply with this Section 6.14(a) shall not constitute the failure of any
   condition set forth in Article VII to be satisfied unless the underlying circumstance would
   independently result in the failure of a condition set forth in Article VII to be satisfied.




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                  (b)     The Special Master shall Cause the Company and its Subsidiaries to, upon
   request by the Special Master, promptly provide to the Special Master:

                             (i)    access to the books and records (including all electronic data related
             thereto), information, assets, operations and properties of the Acquired Companies;

                            (ii) contact information for any vendors, customers and manufacturers
             and others with whom the Company does business;

                                  (iii)   the status of the Acquired Companies’ business and financial
             condition; and

                          (iv)    access to consult with the Acquired Companies’ officers and
             employees, who shall make themselves reasonably available for such consultation.

                   (c)  The Special Master shall Cause the Company and its Subsidiaries to
   immediately provide to the Special Master (upon any of the following being received by or made
   available to the Company or any of its Subsidiaries):

                            (i)     copies of any written notice or other written communication from
             any Person alleging that the consent of such Person is or may be required in connection
             with the Transactions;

                          (ii)   copies of any notice or other written communication from any
             Governmental Body in connection with the Transactions;

                            (iii) documentation relating to any Legal Proceeding (A) commenced or
             (B) to the Knowledge of the Company or the Knowledge of the Buyer, as applicable,
             threatened against, relating to or involving or otherwise affecting such Party or any of its
             Subsidiaries which relate to the consummation of the Transactions;

                            (iv)    notice of (A) the occurrence, or failure to occur, of any event which
             occurrence or failure would reasonably be likely to cause a breach of any representation or
             warranty made by such Party in this Agreement being untrue or inaccurate or (B) any
             failure of a Party to comply with or satisfy any covenant, condition or agreement to be
             complied with or satisfied by it pursuant to this Agreement, in each case that would
             reasonably be expected to result in any condition set forth in Article VII not to be satisfied;

                            (v)   notice of any circumstance or occurrence that has had or would
             reasonably be expected to have a Company Material Adverse Effect; and

                                  (vi)    notice of any Casualty Loss.

            Section 6.15. No Control of Other Party’s Business. Without in any way limiting any
   Party’s rights or obligations under this Agreement, the Parties acknowledge and agree that the
   restrictions set forth in this Agreement are not intended to give the Buyer, directly or indirectly,
   the right to control or direct the Acquired Companies’ operations prior to the Closing Date. Prior




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   to the Closing Date, each of the Company and the Buyer shall exercise, consistent with the terms
   and conditions of this Agreement, complete control and supervision over its respective operations.

           Section 6.16. OFAC. The Buyer shall, at its own expense, (a) within fifteen (15) days
   after the Trust Structure Effective Date, submit the OFAC License Application; (b) promptly
   supply any additional information and documentary material that may be requested by OFAC; (c)
   prior to submitting the OFAC License Application and any other filing with or submissions to
   OFAC, (i) provide drafts of such application and any other filings to the Special Master, (ii)
   provide the Special Master with a reasonable opportunity to review and comment on such
   application and such other filings and (iii) consider in good faith any comments from the Special
   Master to such application and such other filings; (d) keep the Special Master regularly informed
   of the processing of the OFAC License Application and any other filings or contacts with OFAC
   or other Governmental Body in relation to the Transaction; and (e) fully cooperate with and furnish
   to the Special Master available information and assistance as reasonably may be requested by the
   Special Master in connection with any communications that the Special Master may have with
   OFAC or other Governmental Body in relation to the Transaction (provided, that materials,
   including the OFAC application and related filings, may be redacted as necessary to (i) comply
   with contractual arrangements and (ii) address reasonable attorney-client or other privilege or
   confidentiality concerns).

             Section 6.17. No Solicitation.

                    (a)    Except as expressly permitted by this Section 6.17, the Special Master shall
   not, and shall cause each of its Representatives not to, and shall Cause the Acquired Companies
   and their Representatives not to, directly or indirectly, (i) solicit, initiate, knowingly encourage or
   knowingly facilitate any proposal or offer that constitutes, or would reasonably be expected to lead
   to, a Competing Proposal, (ii) participate in any discussions or negotiations regarding, or furnish
   to any other Person any information in connection with or for the purpose of facilitating, any
   proposal or offer that constitutes, or would reasonably be expected to lead to, a Competing
   Proposal (other than (A) prior to the Commencement Date, in the event such Competing Proposal
   is filed with the Court to make a filing solely referring the inquiring Person to this Section 6.17(a)
   and (B) following the Commencement Date, to ascertain facts from the Person making such
   proposal or offer for the sole purpose of informing himself about such proposal or offer and the
   Person that made it and to refer the inquiring Person to this Section 6.17(a)) or (iii) enter into any
   letter of intent, agreement or agreement in principle providing for a Competing Proposal (other
   than an Acceptable Confidentiality Agreement) (a “Acquisition Agreement”).

                  (b)     The Special Master shall, and shall cause each of its Representatives to and
   shall Cause the Acquired Companies and their Representatives to: (i) immediately cease and cause
   to be terminated any discussions or negotiations with any Persons (other than the Buyer and its
   Affiliates and Representatives) that may be ongoing with respect to a Competing Proposal, (ii)
   terminate access to any physical or electronic data rooms related to a possible Competing Proposal
   (other than a data room utilized solely by the Buyer, its Affiliates and their respective
   Representatives and not any third Person) and (iii) request that any such Person and its
   Representatives return or destroy all confidential information concerning the Acquired Companies
   theretofore furnished thereto by or on behalf of the Special Master or the Company, and destroy
   all analyses and other materials prepared by or on behalf of such Person that contain, reflect or



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   analyze such information, in each case, in accordance with the terms of the applicable
   confidentiality agreement between the Special Master and such Person. From and after the
   commencement of the No-Shop Period, the Special Master shall, and shall cause each of its
   Representatives to and shall Cause the Acquired Companies and their Representatives to, comply
   with each of clauses (i) through (iii) above with respect to any discussions, negotiations, access,
   confidential information, or any other actions taken or information provided prior to the No-Shop
   Period.

                    (c)    Notwithstanding anything to the contrary contained in this Agreement, if at
   any time after the date on which the Special Master files a motion with the Court to approve the
   Sale Order (the “Commencement Date”) and prior to the No-Shop Period, the Special Master
   receives a Competing Proposal from any Person that the Special Master determines in good faith
   constitutes or could reasonably be expected to lead to a Superior Proposal not solicited in violation
   of this Section 6.17, then the Special Master and its Representatives may, after the Commencement
   Date and prior to the No-Shop Period, (i) furnish, pursuant to an executed confidentiality
   agreement containing confidentiality provisions that are not less favorable in any material respect
   to the Special Master than those contained in the Confidentiality Agreement (an “Acceptable
   Confidentiality Agreement”), information concerning the acquisition of Acquired Companies
   (including non-public information) to the Person that has made such Competing Proposal and its
   Representatives (provided, that the Special Master shall, substantially concurrently with the
   delivery to such Person, provide to the Buyer any non-public information that is provided or made
   available to such Person or its Representatives unless such non-public information has been
   previously provided to the Buyer or its Representatives, and provided, further, that the Special
   Master shall withhold such portions of documents or information, or provide pursuant to
   customary “clean-room” or other appropriate procedures, to the extent relating to any
   commercially sensitive or relate to pricing or other matters that are highly sensitive or competitive
   in nature if the exchange of such information (or portions thereof) would reasonably be materially
   harmful to the operations of the Acquired Companies) and (ii) engage in or otherwise participate
   in discussions or negotiations with the Person making such Competing Proposal and its
   Representatives regarding such Competing Proposal.

                   (d)     The Special Master shall notify the Buyer in writing as promptly as
   reasonably practicable (but in any event within one (1) Business Day) in the event that (i) the
   Special Master or any of his Representatives receives (or becomes aware that any Acquired
   Company or any of their Representatives has received) (A) a Competing Proposal or any
   amendment thereto or (B) any offer, proposal, inquiry or request for information or discussions
   relating to the acquisition of the Acquired Companies that reasonably would be likely to lead to a
   Competing Proposal, including the material terms and conditions thereof and the identity of the
   Person making the Competing Proposal or offer, proposal, inquiry or request or (ii) the Special
   Master enters into an Acceptable Confidentiality Agreement (which notice shall include a copy of
   such Acceptable Confidentiality Agreement). Such notice to the Buyer shall indicate the identity
   of the person or group of persons making such Competing Proposal or amendment thereto and
   provide (x) an unredacted copy of such written Competing Proposal or amendment thereto
   (including, in each case, financing commitments with customary redaction) and any material
   transaction documents, and (y) with respect to any Competing Proposal or amendment thereto not
   made in writing, a written summary of the material terms and conditions of each such Competing
   Proposal or amendment thereto. The Special Master shall keep the Buyer informed, on a


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   reasonably current basis (and, in any event within one (1) Business Day of the Special Master’s
   knowledge of any such event) of any material developments, discussions or negotiations regarding
   any Competing Proposals, or material changes to the terms of any such Competing Proposal or
   any amendment thereto (including copies of any written proposed agreements).

                   (e)    Notwithstanding anything to the contrary set forth in this Agreement, if the
   Special Master has determined in good faith that a Competing Proposal made after the
   Commencement Date but prior to the No-Shop Period constitutes a Superior Proposal, the Special
   Master may, at any time after the Commencement Date and prior to the No-Shop Period, subject
   to compliance with this Section 6.17(e) and subject to the Person making such Superior Proposal
   paying, or causing to be paid, the Termination Fee in accordance with Section 8.3(a), terminate
   this Agreement in accordance with Section 8.1(c) in order to enter into a definitive agreement
   relating to such Superior Proposal; provided, that prior to so terminating this Agreement, (A) the
   Special Master has given the Buyer at least five (5) Business Days’ prior written notice (such
   period, the “Notice Period”) of its intention to take such action, which notice shall include, as
   applicable, unredacted copies of the Superior Proposal and any material transaction agreements
   and financing commitments (provided, that such financing commitments may include customary
   redactions) and a written summary of the material terms of any Superior Proposal not made in
   writing, including any financing commitments relating thereto, (B) after providing such notice, the
   Special Master shall have negotiated, and shall have caused its Representatives to negotiate, with
   the Buyer in good faith (to the extent the Buyer desires to negotiate) during the Notice Period to
   make such adjustments in the terms and conditions of this Agreement, the Debt Financing and the
   Equity Financing as would permit the Special Master to make a determination that such Competing
   Proposal is no longer a Superior Proposal after giving effect to any revisions to the terms of this
   Agreement and/or the Transactions committed to by the Buyer in writing in response to such
   Competing Proposal under this Section 6.17(e), and (C) in the event of any material change to the
   terms of such Superior Proposal, the Special Master shall, in each case, have delivered to the Buyer
   an additional notice consistent with that described in clause (A) of this proviso and a new notice
   period under clause (A) of this proviso shall commence during which time the Special Master shall
   be required to comply with the requirements of this Section 6.17(e) anew with respect to such
   additional notice, including clauses (A), (B) and this clause (C) of this proviso (except that the
   reference to “five (5) Business Days” in clause (A) of this proviso shall be replaced with “three
   (3) Business Days”).

                       (f)        For purposes of this Agreement:

                            (i)     “Competing Proposal” means any bona fide proposal or offer made
             by any Person or group of related Persons (other than the Buyer and its Affiliates) (A) to
             purchase or otherwise acquire, directly or indirectly, in one transaction or a series of
             transactions, pursuant to a merger, consolidation or other business combination, sale of
             shares of capital stock, sale of assets or similar transaction (1) beneficial ownership (as
             defined under Section 13(d) of the Exchange Act), of more than twenty percent (20%) of
             any class of equity securities of the Company or (2) any one or more assets or businesses
             of the Acquired Companies that constitute more than twenty percent (20%) of the
             consolidated assets of the Acquired Companies (based on the fair market value thereof),
             (B) to effect any other transaction pursuant to which any other alternative to the
             Transactions would be consummated, or (C) relating to any reorganization,


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             recapitalization, license, joint venture, partnership, liquidation, dissolution or other similar
             transaction involving any one or more assets or businesses of the Acquired Companies that
             constitute more than twenty percent (20%) of the consolidated assets of the Acquired
             Companies (based on the fair market value thereof).

                             (ii)    “Superior Proposal” means a Competing Proposal (with all
             percentages in the definition of Competing Proposal increased to fifty percent (50%)) made
             by a Person or group of related Persons (other than the Buyer and its Affiliates) on terms
             that the Special Master determines in good faith, after consultation with the Special
             Master’s financial and legal advisors would result in the Judgment Creditors receiving
             value in excess of the value the Judgment Creditors would receive if the Transactions were
             consummated (including any revisions to the terms of this Agreement or the Transactions
             committed to by the Buyer in writing in response to such Competing Proposal under the
             provisions of Section 6.17(e)), and considering such factors as the Special Master considers
             to be appropriate, including the consideration, terms, conditions (including any financing
             condition or the reliability of any debt or equity financing commitment), timing, identity
             of the counterparty, likelihood of consummation, financing terms and legal, financial, and
             regulatory aspects of such Competing Proposal, are more favorable to the Claimholders (in
             their capacities as such) from a value maximization point of view than the Transactions
             (including any revisions to the terms of this Agreement and/or the Transactions committed
             to by the Buyer in writing in response to such Competing Proposal under the provisions of
             Section 6.17(e)).

             Section 6.18. Court Action.

                  (a)     No later than three (3) Business Days following the Trust Structure
   Effective Date, the Special Master shall file, or cause to be filed, with the Court a recommendation
   seeking approval of the Sale Order. The Special Master shall use its best efforts to schedule a
   hearing with the Court to consider entry of the Sale Order as promptly as practicable and in any
   event within sixty-five (65) calendar days following the filing of the recommendation with the
   Court seeking approval of the Sale Order.

                   (b)     Until the Closing or earlier termination of this Agreement, the Special
   Master agrees to provide to the Buyer draft copies of all motions and documents that the Special
   Master intends to file with the Court in connection with this Agreement, the Sale Order or the
   Transactions as soon as reasonably practicable, but in no event less than two (2) Business Days
   prior to the date when the Special Master intends to file such motions or documents and, without
   limiting any approval rights set forth herein, consult in good faith with the Buyer regarding the
   form and substance of any such proposed filing (including considering in good faith any changes
   to such filings as the Buyer may reasonably request); provided, that in the event that two (2)
   Business Days’ notice is impossible or impracticable under the circumstances, the Special Master
   shall provide draft copies of any motions or pleadings to the Buyer as soon as otherwise practicable
   before the date when the Special Master intends to file any such motion or other pleading;
   provided, further, that the Special Master shall not be required to provide such draft copies to the
   Buyer if there reasonably exists a conflict or potential conflict between the Special Master’s
   position and the Buyer’s position with respect to such motion or document, as determined by the
   Special Master in his sole and absolute discretion.



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             Section 6.19. Actions Regarding the EPP and RRP.




             Section 6.20. Casualty Loss.




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           Section 6.21. Termination of Certain Services and Contracts. At or prior to the Closing,
   the Special Master shall Cause the Acquired Companies to, as applicable (a) terminate, sever or
   assign to PDVSA or an Affiliate thereof, in each case, without any liability or claim to any
   Acquired Company party thereto or any of its Affiliates (including, after the Closing, the Buyer),
   effective on or before the Closing any services provided to the Acquired Companies by PDVSA
   or any of its Affiliates (other than the Acquired Companies), including the termination and
   severance of any Tax services, legal services and banking services (to include the severance of any
   centralized clearance accounts), it being understood that certain of such services may not arise
   under written Contract, in which case such services shall be deemed to be terminated at the
   Closing, (b) cause all liabilities under any accounts, balances, payables, receivables or Debt or
   other amount owing to PDVSA or any of its Affiliates, on the one hand, and any Acquired
   Company, on the other hand, to be paid, settled, netted, cancelled, forgiven and/or released, and
   (c) cause all claims or liabilities (contingent or otherwise) between any of the Acquired


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   Companies, on the one hand, and PDVSA or any Affiliate thereof (other than any Acquired
   Company) on the other hand, to be satisfied effective at the Closing, in each case, without any
   liability or claim to any Acquired Company party thereto or any of its Affiliates (including, after
   the Closing, the Buyer); provided, that, any obligation of the Special Master to Cause the Acquired
   Companies to take any action pursuant to this Section 6.21 shall only be an obligation on the
   Special Master to the extent such actions can be unilaterally taken or Caused to be taken by the
   Company under applicable Law.

           Section 6.22. Financial Statements. From and after the date hereof until the Closing Date
   or the earlier termination of this Agreement in accordance with its terms, the Special Master shall
   Cause the Acquired Companies to furnish to the Buyer:

                   (a)    within ninety (90) days after the end of each fiscal year commencing with
   the fiscal year ending December 31, 2024, a consolidated balance sheet and related statements
   income and cash flow showing the financial position of the Acquired Companies as of the close
   of such fiscal year and the consolidated results of its operations during such fiscal year and setting
   forth in comparative form the corresponding figures for the prior fiscal year, which consolidated
   balance sheet and related statements of income and cash flow shall be audited by independent
   public accountants and accompanied by an opinion of such accountants (which shall not be
   qualified as to scope of audit) to the effect that such consolidated financial statements fairly
   present, in all material respects, the financial position and results of operations of the Acquired
   Companies on a consolidated basis in accordance with GAAP;

                    (b)     within forty five (45) days after the end of each fiscal quarter, except for the
   fourth fiscal quarter, (i) a balance sheet showing the consolidated financial position of the Acquired
   Companies as of the last day of such fiscal quarter and (ii) statements of income and cash flows
   showing the consolidated results of operations of the Acquired Companies for such fiscal quarter
   and the then-elapsed portion of the fiscal year and setting forth in comparative form the
   corresponding figures for the corresponding periods of the prior fiscal year, in each case consistent
   with the form of quarterly financial statements provided to the Buyer prior to the date hereof. The
   consolidated balance sheet and related statements of operations and cash flows shall fairly present,
   in all material respects, the financial position and results of operations of the Acquired Companies
   on a consolidated basis in accordance with GAAP (subject to normal quarter-end review
   adjustments and the absence of footnotes); and

                    (c)    within thirty (30) days after the end of each fiscal month (other than months
   that include the end of any fiscal quarter), (i) a financial summary of the month’s operations by
   business units in the form set forth on Section 6.22(c) of the Company Disclosure Schedules and
   (ii) such other financial reports and operational reports as are prepared by the Acquired Companies
   on a monthly basis, consistent with such monthly reports provided to the Buyer prior to the
   Effective Date.

             Section 6.23. Observation Committee.




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             Section 6.24. Assumed Claims.




          Section 6.25. Section 280G. Concurrently with the delivery of the Lock Box Statement,
   the Special Master shall Cause the Company to deliver to the Buyer a Code Section 280G analysis



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   (with respect to all disqualified individuals as reasonably determined by the Company, without
   redactions and including all back-up assumptions and calculations), and the Special Master shall
   Cause the Company to confer with the Buyer in good faith regarding such analysis. No later than
   ten (10) days prior to the Closing Date, the Special Master shall Cause the Company to deliver to
   the Buyer an updated Code Section 280G analysis (with respect to all disqualified individuals as
   reasonably determined by the Company, without redactions and including all back-up assumptions
   and calculations) and the Special Master shall Cause the Company to confer with the Buyer in
   good faith regarding such updated analysis. The Special Master shall Cause the Company to, and
   the Buyer will, cooperate in good faith with respect to all matters relating to Code Section 280G.

             Section 6.26. Trust Structure Effective Date Matters.

                    (a)     From and after the Execution Date until the Trust Structure Effective Date
   or earlier termination of this Agreement, the Parties shall use their respective reasonable best
   efforts to negotiate in good faith to agree upon definitive documentation acceptable to each Party
   in their sole discretion to be executed in connection with the Closing (the “Definitive Trust
   Documents”) to reflect the transactions contemplated by the term sheet attached hereto as
   Exhibit A (the “Trust Structure Term Sheet”). Without limiting the generality of the foregoing, the
   Definitive Trust Documents shall include (i) an agreement (the “Trust Agreement”) establishing
   one or more trust accounts (the “Trust Account”) as contemplated by the Trust Structure Term
   Sheet, (ii) a draft order of the Court approving this Agreement, authorizing the Sale of the Shares
   and granting related relief (the “Form Sale Order”), (iii) the form of Paying Agent Agreement, (iv)
   the form of Escrow Agreement, (iv) modifications to the “inside date” concept set forth in the
   proviso in Section 2.2, and (v) such other amendments, restatements or other modifications of this
   Agreement and any other Transaction Document, in each case, to the extent necessary or advisable
   in connection with the Trust Structure or other documents to be executed and delivered by or on
   behalf of the Parties on the Trust Structure Effective Date. From and after the Execution Date until
   the Trust Structure Effective Date or earlier termination of this Agreement, the Buyer shall use
   commercially reasonable efforts to negotiate and finalize (x) the limited guaranties in favor of the
   Special Master, to be executed by each Equity Financing Source, guaranteeing such Equity
   Financing Source’s pro rata share of the Buyer’s obligations to pay the Reverse Termination Fee
   (each, a “Limited Guaranty” and collectively, the “Limited Guaranties”), (y) the equity
   commitment letters to be executed by each Equity Financing Source (each, an “Equity
   Commitment Letter” and collectively, the “Equity Commitment Letters”), and (z) the Debt
   Commitment Letter to be executed by the Debt Financing Sources. The Limited Guaranties, the
   Equity Commitment Letters, and the Debt Commitment Letter shall each be in a form mutually
   acceptable to the Buyer and the Special Master (collectively, and together with any Fee Letters,
   the “Buyer Financing Documents”). The date on which (I) the Definitive Trust Documents are
   agreed upon and (II) the Buyer Financing Documents are executed and delivered by the parties
   thereto is the “Trust Structure Effective Date.”

                       (b)        On the Trust Structure Effective Date:

                           (i)   The Special Master shall deliver or cause to be delivered to the
             Buyer the Escrow Agreement, duly executed by the Special Master and the Escrow Agent.




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                             (ii)   The Buyer shall deliver or cause to be delivered to the Special
             Master (A) the Escrow Agreement, duly executed by the Buyer, (B) the Limited
             Guaranties, duly executed by the Equity Financing Sources, (C) the Equity Commitment
             Letters, duly executed by the Equity Financing Sources, (D) the Debt Commitment Letter,
             duly executed by the Debt Financing Sources, and (E) the Fee Letters.

                         (iii) The Buyer shall cause to be deposited with the Escrow Agent the
             Deposit Amount pursuant to the terms of this Agreement and the Escrow Agreement.

           Section 6.27. Supplements to Company Disclosure Schedules. The Special Master shall
   Cause the Acquired Companies to, (i) prepare and deliver to the Buyer on or before October 14,
   2024 a draft supplement to the Company Disclosure Schedules (the “Supplemental Schedules”)
   and (ii) from and after delivery of the Supplemental Schedules, confer with the Buyer and the
   Special Master in good faith regarding such Supplemental Schedules, including reviewing
   comments and revisions reasonably proposed by the Buyer, in order to finalize such Supplemental
   Schedules in a form mutually agreeable to the Parties no later than the Trust Structure Effective
   Date. The Supplemental Schedules shall set forth all additional facts, matters and circumstances
   as they existed as of the Execution Date to the extent necessary to make the corresponding
   representations and warranties true and correct as of the Execution Date (and not, for the avoidance
   of doubt, as of the date of delivery of the Supplemental Schedules or any other date). Following
   the Trust Structure Effective Date, the “Company Disclosure Schedules” shall refer to the
   Company Disclosure Schedules in effect on the Execution Date as supplemented by the Final
   Supplemental Schedules. The Special Master and the Company shall not be permitted to amend,
   modify or supplement any other Section of the Company Disclosure Schedules except to the extent
   necessary to include additional facts, matters and circumstances as they existed on the Execution
   Date with respect to each change to Article IV made between the September 13 Draft (as defined
   in the Procedures Summary) and this Agreement; provided, that the interpretive provisions of the
   Section 1.2(a)(iii) shall apply to the Company Disclosure Schedules as modified by the
   Supplemental Schedules.

           Section 6.1. Declaratory Judgment. The Special Master and the Buyer agree to work in
   good faith to determine the appropriate path to seek a determination by a court of competent
   jurisdiction as to the calculation of the 2020s Escrow Amount consistent with the Trust Structure
   Term Sheet.

                                             ARTICLE VII

                                     CONDITIONS TO CLOSING

           Section 7.1. Conditions Precedent to Obligations of the Parties. The respective
   obligations of each of the Parties to consummate the Transactions are subject to the satisfaction,
   on or prior to the Closing, of each of the following conditions:

                 (a)     there shall not be in effect any Law or Order by a Governmental Body of
   competent jurisdiction restraining, enjoining or otherwise prohibiting the consummation of the
   Transactions;




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                  (b) the Sale Order Entry shall have occurred prior to the date that is 180 days
   following the Commencement Date;

                       (c)        the OFAC License shall have been obtained;

                  (d)     the waiting period applicable to the Transactions under the HSR Act (and
   any extensions thereof, including expiration of any voluntary timing agreement) shall have expired
   or early termination shall have been granted;

                  (e)     the approvals, clearances or expirations of waiting periods set forth in
   Section 7.1(e) of the Company Disclosure Schedules shall have been obtained; and

                     (f)    the Trust Structure Effective Date shall have occurred prior to the date that
   is the later of (i) October 25, 2024 and (ii) the tenth (10th) Business Day following the granting of
   the Injunction Motion by the Court (the “Trust Structure Outside Date”).

           Section 7.2. Conditions Precedent to Obligations of the Buyer. The obligations of the
   Buyer to consummate the Transactions are subject to the satisfaction, on or prior to the Closing,
   of each of the following conditions (any or all of which may be waived by the Buyer in whole or
   in part):

                     (a)    (i) the Company Fundamental Representations shall be true and correct as
   of the date of this Agreement and as of the Closing Date as if made on and as of the Closing Date
   (except to the extent that any such Company Fundamental Representation, by its terms, is
   expressly limited to a specific date, in which case, it shall be true and correct as of such specific
   date) except, in each case, for de minimis inaccuracies, and (ii) other than the Company
   Fundamental Representations, the representations and warranties set forth in Article IV shall be
   true and correct (without (other than in the case of the representations and warranties set forth in
   Section 4.7(b)) giving effect to any “materiality”, “Company Material Adverse Effect” or similar
   qualifiers contained in any of such representations and warranties) as of the date of this Agreement
   and as of the Closing Date as if made on and as of the Closing Date (except to the extent that any
   such representation or warranty, by its terms, is expressly limited to a specific date, in which case,
   it shall be true and correct as of such specific date), except where the failure of such representations
   and warranties to be so true and correct would not have a Company Material Adverse Effect;

                 (b)     the Special Master shall have performed and complied in all material
   respects with all obligations and agreements required by this Agreement to be performed or
   complied with by him on or prior to the Closing;

                 (c)    no Company Material Adverse Effect shall have occurred since the date
   hereof and remain ongoing;

                  (d)    (i) the Sale Order shall be in full force and effect in all respects and not
   subject to any stay, and (ii) there is no Order or decision on the merits (including a ruling on
   summary judgment or a decision after trial) by a court of competent jurisdiction that is unfavorable
   to the Buyer or any Acquired Company, in a case by any potential creditor of the Bolivarian
   Republic of Venezuela or PDVSA that seeks to impose liability or seeks any remedy against the
   Buyer, the Company, or any of their assets on the basis that the Company or any of its direct or


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   indirect subsidiaries is the alter ego of the Republic or PDVSA, or on any similar veil-piercing,
   successor or similar legal or equitable or other doctrine), or otherwise seeks relief that is in conflict
   with the provisions of the Sale Order regarding such purported liabilities and related matters; and

                   (e)    the Injunction Motion shall have been granted by an Order that is
   satisfactory to the Buyer in its sole discretion, and shall be in full force and effect; and has not
   been modified in a manner adverse to the Buyer or the holders of Attached Judgments, other than
   the parties sought to be enjoined in the Injunction Motion.

           Section 7.3. Conditions Precedent to Obligations of the Special Master. The obligations
   of the Special Master to consummate the Transactions are subject to the satisfaction, on or prior to
   the Closing, of each of the following conditions (any or all of which may be waived by the Special
   Master in whole or in part):

                   (a)     the representations and warranties of the Buyer set forth in Article V shall
   be true and correct (without giving effect to any “materiality”, “material adverse effect”, or similar
   qualifiers contained in any of such representations and warranties) as of the date of this Agreement
   and as of the Closing Date as if made on and as of the Closing Date (except to the extent that any
   such representation or warranty, by its terms, is expressly limited to a specific date, in which case,
   it shall be true and correct as of such specific date), except for where the failure of such
   representations and warranties to be so true and correct would not (i) have a material adverse effect
   on the ability of the Buyer to perform its obligations under this Agreement or (ii) otherwise prevent
   or materially delay the consummation of the Transactions; and

                   (b)    the Buyer shall have performed and complied in all material respects with
   all obligations and agreements required by this Agreement to be performed or complied with by
   the Buyer on or prior to the Closing.

          Section 7.4. Frustration of Closing Conditions. Neither the Special Master, nor the
   Buyer may rely, either as a basis for not consummating the Transactions or for terminating this
   Agreement and abandoning the Transactions, on the failure of any condition set forth in Section
   7.1, Section 7.2, or Section 7.3, as the case may be, to be satisfied if such failure was caused
   principally by any material breach of a covenant, agreement, representation, or warranty of this
   Agreement by such Party (and, notwithstanding Section 1.2(a)(x), solely for purposes of this
   Section 7.4, any failure of the Acquired Companies to comply with the covenants and agreements
   applicable to the Acquired Companies set forth herein shall be deemed to be a breach of such
   covenants and agreements by the Special Master).

                                                   ARTICLE VIII

                                                  TERMINATION

          Section 8.1. Termination. This Agreement may be terminated at any time prior to the
   Closing (notwithstanding the Sale Order Entry) as follows:

                       (a)        by mutual written consent of the Special Master and the Buyer;




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                   (b)    by the Special Master or the Buyer, by written notice to the other Party, if:
   the Closing has not occurred prior to the date that is twelve (12) months after the Trust Structure
   Effective Date (such date, the “Initial Outside Date” and, as may be automatically extended
   pursuant to this Section 8.1(b), the “Outside Date”); provided, that if the Closing has not occurred
   by the Outside Date due to the nonsatisfaction of any of the conditions set forth in Section 7.1(b)
   (OFAC License), Section 7.1(d) (HSR Act), Section 7.1(e) (Other Antitrust Approvals) or Section
   7.2(d) (Sale Order), then the Outside Date shall be extended automatically for up to two (2)
   consecutive periods of ninety (90) calendar days each (and in no event shall the Outside Date
   extend beyond the date that is one hundred eighty (180) calendar days after the Initial Outside
   Date); provided, that notwithstanding the foregoing, the right to terminate this Agreement pursuant
   this Section 8.1(b) shall not be available to any Party whose failure to fulfill any obligation under
   this Agreement has principally caused or resulted in the failure of the Closing to occur on or before
   the Outside Date;

                  (c)      by the Special Master, at any time after the Commencement Date and prior
   to the No-Shop Period in order to enter into a definitive written agreement providing for a Superior
   Proposal; provided, that (i) the Special Master has complied with the provisions of Section 6.17
   and received a Superior Proposal after the date of this Agreement that did not result from a breach
   of Section 6.17, (ii) concurrently with, and as a condition to, any such termination the Special
   Master causes to be paid into escrow the Termination Fee pursuant to Section 8.3(a) and (iii) the
   Special Master concurrently enters into, a definitive written agreement providing for such Superior
   Proposal (the “Superior Proposal Agreement”) it being agreed that (x) the Special Master may
   enter into such definitive written agreement concurrently with any such termination and (y) if the
   Termination Fee is not paid into escrow pursuant to Section 8.3(a) when due, this Agreement shall
   not terminate and shall continue in full force and effect;

                   (d)    by the Buyer, by written notice to the Special Master, if there shall have
   been a breach by the Special Master of any of its representations, warranties, covenants or
   agreements contained in this Agreement, which breach would result in the failure to satisfy one or
   more of the conditions set forth in Section 7.2, and in any such case such breach shall be incapable
   of being cured or, if capable of being cured, shall not have been cured prior to the earlier of (i)
   forty-five (45) calendar days after providing written notice of such breach to the Special Master
   and (ii) the Outside Date; provided, that the Buyer shall not have the right to terminate this
   Agreement pursuant to this Section 8.1(d) if the Buyer is then in breach of this Agreement and
   such breach would result in the failure of any of the conditions set forth in Section 7.1 or Section
   7.3;

                 (e)  by the Buyer, by written notice to the Special Master, if there shall have
   occurred a Company Material Adverse Effect;

                   (f)    by the Special Master, by written notice to the Buyer, if there shall have
   been a breach by the Buyer of any of its representations, warranties, covenants or agreements
   contained in this Agreement, which breach would result in the failure to satisfy one or more of the
   conditions set forth in Section 7.3, and in any such case such breach shall be incapable of being
   cured or, if capable of being cured, shall not have been cured prior to the earlier of (i) forty-five
   (45) calendar days after providing written notice of such breach to the Buyer and (ii) the Outside
   Date; provided, that the Special Master shall not have the right to terminate this Agreement



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   pursuant to this Section 8.1(f) if the Special Master is then in breach of this Agreement and such
   breach would result in the failure of any of the conditions set forth in Section 7.1 or Section 7.2;

                   (g)     by the Special Master, by written notice to the Buyer, if (i) the conditions
   set forth in Section 7.1 and Section 7.2 (other than those conditions that by their nature can only
   be satisfied at the Closing, but subject to those conditions being capable of being satisfied if the
   Closing Date were the date of such termination) have been satisfied or waived, (ii) the Special
   Master has irrevocably confirmed in writing to the Buyer that (A) all conditions set forth in Section
   7.1 and Section 7.3 (other than those conditions that by their nature can only be satisfied at the
   Closing, but subject to those conditions being capable of being satisfied if the Closing Date were
   the date of such termination) have been satisfied or waived and (B) the Special Master is ready,
   willing and able to consummate the Closing, and (iii) within three (3) Business Days after the
   Special Master has delivered written notice to the Buyer of the satisfaction of such conditions and
   such confirmation, the Closing shall not have been consummated;

                  (h)     by the Buyer, by written notice to the Special Master, if the satisfaction of
   any of the conditions set forth in Section 7.1 or Section 7.2 is or becomes impossible by the Outside
   Date (other than those conditions that by their nature are to be satisfied at the Closing, but subject
   to those conditions being capable of being satisfied if the Closing were to occur; and provided,
   that such impossibility is not a result of the Buyer’s failure to comply with its obligations under
   this Agreement) and the Buyer has not waived such condition;

                  (i)     by the Special Master, by written notice to the Buyer, if the satisfaction of
   any of the conditions set forth in Section 7.1 or Section 7.3 is or becomes impossible by the Outside
   Date (other than those conditions that by their nature are to be satisfied at the Closing, but subject
   to those conditions being capable of being satisfied if the Closing were to occur; and provided,
   that such impossibility is not a result of the Special Master’s failure to comply with its obligations
   under this Agreement) and the Special Master has not waived such condition;

                  (j)     by the Special Master or the Buyer, by written notice to the other Party, if
   the Trust Structure Effective Date has not occurred prior to the Trust Structure Outside Date;

                  (k)     by the Buyer, by written notice to the Special Master, if the Injunction
   Motion has been denied by the Court or modified in a manner adverse to the Buyer or the holders
   of Attached Judgments, other than the parties sought to be enjoined in the Injunction Motion;
   provided, however, that the Buyer shall no longer have such right to terminate if the Buyer has not
   elected to terminate pursuant to this Section 8.1(k) on or prior to the date that is fourteen (14)
   calendar days after the event giving rise to a termination right under this Section 8.1(k); or

                  (l)    by the Buyer, by written notice to the Special Master, prior to the Trust
   Structure Effective Date if the Supplemental Schedules are not satisfactory to the Buyer in its sole
   discretion.

           Section 8.2. Effect of Termination. In the event that this Agreement is validly terminated
   in accordance with Section 8.1, this Agreement shall immediately become null and void and the
   Parties shall be relieved of their duties and obligations arising under this Agreement after the date
   of such termination and such termination shall be without liability to the Buyer, the Special Master



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   or the Company; provided, that the Confidentiality Agreement and the provisions of Section 3.3,
   this Section 8.2, Section 8.3, Section 8.4 and Article IX hereof shall survive any such termination
   and remain valid and binding obligations of each of the Parties.

             Section 8.3.         Termination Fee.




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             Section 8.4.         Reverse Termination Fee.




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                                             ARTICLE IX

                                          MISCELLANEOUS

            Section 9.1. Survival. None of the representations and warranties contained in this
   Agreement or any of the other Transaction Documents (including any certificate to be delivered
   pursuant to this Agreement) and none of the covenants of any party required to be performed
   before the Closing (including obligations with which the Special Master agrees to Cause the
   Acquired Companies to comply) shall survive the Closing, and thereafter none of the Parties or
   any of their Affiliates or any of their respective Representatives or any other Person shall have any
   liability whatsoever with respect to any such representation, warranty, covenant or agreement, and
   no claim for breach of any such representation or warranty, detrimental reliance or other right or
   remedy (whether in contract, in tort or at law or in equity) may be brought after the Closing with
   respect thereto. The provisions of this Section 9.1 will not, however, prevent or limit a cause of
   action to obtain an injunction to prevent breaches of this Agreement, to enforce specifically the
   terms and provisions hereof or for declaratory relief. Unless otherwise indicated, the covenants
   and agreements set forth in this Agreement which by their terms are required to be performed after
   the Closing shall survive the Closing until such covenants or agreements have been performed or
   satisfied. Notwithstanding the foregoing, the Buyer shall be entitled to the indemnification rights
   set forth in Annex B.

          Section 9.2. Expenses. Whether or not the Transactions are consummated, and except as
   otherwise provided in this Agreement, each Party to this Agreement will bear its respective fees,
   costs and expenses incurred in connection with the preparation, negotiation, execution and
   performance of this Agreement or the Transactions (including legal, accounting and other
   professional fees), and the Special Master Transaction Expenses shall be paid in accordance with
   Section 3.4(c) and Section 3.4(d) and the Advanced Transaction Expenses shall be paid in
   accordance with Section 3.4(e).

           Section 9.3. Governing Law. This Agreement and all Related Claims shall be governed
   by, construed and enforced in accordance with the internal Laws of the State of Delaware, without
   giving effect to any Laws (whether of the State of Delaware or any other jurisdiction) that would
   cause the application of the Laws of any jurisdiction other than the State of Delaware and without



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   regard to any borrowing statute that would result in the application of the statutes of limitations or
   repose of any other jurisdiction. In furtherance of the foregoing, the Laws of the State of Delaware
   will control even if under such jurisdiction’s choice of law or conflict of law analysis, the
   substantive or procedural law of some other jurisdiction would ordinarily or necessarily apply.

           Section 9.4. Dispute Resolution; Consent to Jurisdiction. Without limiting any Party’s
   right to appeal any Order of the Court, (a) the Court shall retain exclusive jurisdiction to enforce
   the terms of this Agreement and to decide any dispute which may arise or result from, or be
   connected with, this Agreement, any breach or default hereunder, or the Transactions, and (b) any
   and all proceedings related to the foregoing shall be filed and maintained only in the Court, and
   the Parties hereby consent to and submit to the jurisdiction and venue of the Court and shall receive
   notices at such locations as indicated in Section 9.7 (as may be updated from time to time in
   accordance with Section 9.7).

             Section 9.5.         Consent to Service of Process; Waiver of Jury.

                 (a)     Each of the Parties hereby consents to process being served by any party to
   this Agreement in any Legal Proceeding by the delivery of a copy thereof (other than by e-mail)
   in accordance with the provisions of Section 9.7.

                (b)  EACH PARTY HERETO ACKNOWLEDGES THAT ANY LEGAL
   PROCEEDING, DIRECTLY OR INDIRECTLY, ARISING OUT OF OR RELATING TO THIS
   AGREEMENT OR ANY RELATED CLAIM IS LIKELY TO INVOLVE COMPLICATED AND
   DIFFICULT ISSUES, AND THEREFORE EACH SUCH PARTY HEREBY IRREVOCABLY
   AND UNCONDITIONALLY WAIVES ANY RIGHT SUCH PARTY MAY HAVE TO A
   TRIAL BY JURY IN RESPECT OF ANY SUCH LEGAL PROCEEDING OR RELATED
   CLAIM. EACH PARTY CERTIFIES AND ACKNOWLEDGES THAT: (I) NO
   REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS
   REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD
   NOT, IN THE EVENT OF SUCH LEGAL PROCEEDING, SEEK TO ENFORCE THE
   FOREGOING WAIVER; (II) IT UNDERSTANDS AND HAS CONSIDERED THE
   IMPLICATIONS OF THIS WAIVER; (III) IT MAKES THIS WAIVER VOLUNTARILY AND
   (IV) IT HAS BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY, AMONG OTHER
   THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION 9.5(B).

             Section 9.6.         Entire Agreement.

                  (a)    This Agreement (including the Company Disclosure Schedules and any
   Exhibits hereto) and the Transaction Documents contain the entire understanding and agreement
   between the Parties with respect to the subject matter hereof and thereof, and supersede all prior
   and contemporaneous agreements, discussions, negotiations, correspondence, communications,
   undertakings and understandings among the Parties with respect to such subject matter (except for
   the Confidentiality Agreement, which shall continue in full force and effect in accordance with its
   terms as modified hereunder). The Parties have voluntarily agreed to define their rights, liabilities
   and obligations with respect to the Transactions exclusively in contract pursuant to the express
   terms and provisions of this Agreement and the other Transaction Documents, and the Parties
   expressly disclaim that they are owed any duties or are entitled to any remedies not expressly set



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   forth in this Agreement or the other Transaction Documents. Furthermore, the Parties each hereby
   acknowledge that this Agreement embodies the justifiable expectations of sophisticated parties
   derived from arm’s-length negotiations; the Parties specifically acknowledge that no party has any
   special relationship with another party that would justify any expectation beyond that of ordinary
   parties in an arm’s-length transaction.

                  (b)     The sole and exclusive remedies for any breach of the terms and provisions
   of this Agreement (including any representations and warranties set forth herein, made in
   connection herewith or as an inducement to enter into this Agreement) or any claim or cause of
   action otherwise arising out of or related to the Transactions shall be those remedies available at
   law or in equity for breach of contract against the Parties to this Agreement only (as such
   contractual remedies have been further limited or excluded pursuant to the express terms of this
   Agreement), and then only subject to the limitations hereunder, the Parties hereby agreeing that
   neither Party shall have any remedies or causes of action (whether in contract, tort, statute or
   otherwise) for any statements, communications, disclosures, failures to disclose, representations
   or warranties not explicitly set forth in this Agreement.

                   (c)    All representations and warranties set forth in this Agreement are
   contractual in nature only and subject to the sole and exclusive remedies set forth herein.

           Section 9.7. Amendments and Waivers. This Agreement may not be amended except by
   an instrument in writing signed by the Buyer and the Special Master. No waiver by any Party of
   any provision of this Agreement or any breach of this Agreement hereunder, whether intentional
   or not, shall be valid unless the same shall be in writing and signed by the party making such
   waiver. The waiver by any Party of a breach of any provision of this Agreement shall not operate
   or be construed as a further or continuing waiver of such breach or as a waiver of any other or
   subsequent breach. No failure on the part of any Party to exercise, and no delay in exercising, any
   right, power or remedy hereunder shall operate as a waiver thereof, nor shall any single or partial
   exercise of such right, power or remedy by such Party preclude any other or further exercise thereof
   or the exercise of any other right, power or remedy. Notwithstanding anything to the contrary
   contained herein, the Lender Protective Provisions contained in this Agreement (and, solely as
   they relate to such Lender Protective Provisions, the definitions of any terms used in such Lender
   Protective Provisions) may not be amended, waived or otherwise modified in any manner that
   adversely affects any Debt Financing or the Debt Financing Sources without the prior written
   consent of the Debt Financing Sources party to the Debt Commitment Letter.

           Section 9.8. Notices. All notices, requests, instruction, demands and other
   communications under this Agreement shall be in writing and shall be deemed given (a) when
   delivered personally by hand (with written confirmation of receipt), (b) on the date sent by e-mail
   (provided confirmation of email receipt is obtained) if sent during normal business hours of the
   recipient, and on the next Business Day if sent after normal business hours of the recipient, or (c)
   when received by the addressee if sent by nationally recognized overnight delivery service (with
   written confirmation of receipt), in each case, at the following addresses (or to such other address
   as a party may have specified by notice given to the other party pursuant to this provision):

    If to the Special Master, to:                 Robert B. Pincus in his capacity as Special
                                                  Master for the United States District Court for the



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                                                   District of Delaware




    With a copies to:                              Weil, Gotshal & Manges LLP, counsel to the
                                                   Special Master
                                                   767 Fifth Avenue
                                                   New York, NY 10153




    If to the Buyer, to:                           Amber Energy Inc.
                                                   c/o




    With a copy to:                                Akin Gump Strauss Hauer & Feld LLP
                                                   One Bryant Park
                                                   New York, NY 10036




            Section 9.9. Severability. If any term or other provision of this Agreement is invalid,
   illegal, or incapable of being enforced by any Law or public policy, all other terms or provisions
   of this Agreement shall nevertheless remain in full force and effect so long as the economic or
   legal substance of the Transactions is not affected in any manner materially adverse to any party.
   Upon such determination that any term or other provision is invalid, illegal, or incapable of being
   enforced, the Parties shall negotiate in good faith to modify this Agreement so as to effect the
   original intent of the Parties as closely as possible in an acceptable manner such that the
   Transactions are consummated as originally contemplated to the greatest extent possible.

           Section 9.10. Binding Effect; Assignment. This Agreement shall be binding upon and
   inure to the benefit of the Parties and their respective successors and permitted assigns and, without
   limiting the foregoing, references to the “Special Master” in this Agreement shall be deemed to
   include any successor, substitute or replacement thereof. This Agreement shall not be assigned by
   (a) the Buyer without the prior written consent of the Special Master; provided, that the Buyer may
   assign its rights (but not its obligations) hereunder as collateral to the Debt Financing Sources
   under the definitive documents governing the Debt Financing or (b) the Special Master or the
   Company, without the prior written consent of the Buyer.




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          Section 9.11. No Third Party Beneficiaries. Nothing in this Agreement shall confer any
 rights, remedies or claims of any nature upon any Person other than the Parties and their respective
 successors or permitted assigns, except for the rights of (a) the Indemnitees as set forth Section
 6.6; (b) the Non-Parties (including the Acquired Companies and their Representatives) set forth in
 Section 9.12; (c) the Released Parties as set forth in Section 9.15; and (d) the Debt Financing
 Sources as set forth in Section 9.17. All of the Persons identified as third-party beneficiaries in the
 immediately preceding sentence shall be entitled to enforce such provisions and to avail
 themselves of the benefits of any remedy for any breach of such provisions, all to the same extent
 as if such Persons were parties to this Agreement.

          Section 9.12. Non-Recourse. This Agreement may only be enforced against, and any
 Related Claims may only be made or asserted against (and are expressly limited to) the Persons
 that are expressly identified as the Parties in the preamble to this Agreement and solely in their
 capacities as such. No Person who is not a Party, including the Acquired Companies and any
 current, former or future Affiliate or Representative of any Party or the Acquired Companies or
 any current, former, or future Affiliate or Representative of any of the foregoing (such Persons,
 collectively, but specifically excluding the Parties, “Non-Parties”), shall have any liability
 (whether at law or in equity, based upon contract, tort, statute or otherwise) for obligations or
 liabilities arising under, in connection with or related to this Agreement or for any Related Claim
 and each Party hereby irrevocably waives and releases all such liabilities, obligations and Related
 Claims against any such Non-Party. Without limiting the rights of any Party hereto against the
 other Parties as set forth herein, in no event shall any Party, any of its Affiliates or any Person
 claiming by, through or on behalf of any of them institute any Related Claim against any Non-
 Party.

           Section 9.13. Specific Performance.

                (a)      The Parties agree that irreparable damage would occur in the event that any
 of the provisions of this Agreement were not performed in accordance with their specific terms or
 were otherwise breached, and that money damages or legal remedies would not be an adequate
 remedy for any such damages. Therefore, it is accordingly agreed that prior to the termination of
 this Agreement in accordance with Section 8.1, each Party shall be entitled to an injunction or
 injunctions to prevent or restrain any breach or threatened breach of this Agreement by any other
 party and to seek specific performance of the terms and provisions of this Agreement, to prevent
 breaches or threatened breaches of, or to enforce compliance with, the covenants and obligations
 of any other party, in any court of competent jurisdiction, and appropriate injunctive relief shall be
 granted in connection therewith. Such remedies shall be in addition to and not in substitution for
 any other remedy to which such party is entitled at law or in equity.

                 (b)     Each Party hereto hereby waives (i) any defenses in any action for specific
 performance, and agrees not to oppose the granting of an injunction, specific performance or other
 equitable relief as provided herein, on the basis that (A) the other Party has an adequate remedy at
 law or (B) an award of specific performance is not an appropriate remedy for any reason at law or
 in equity and (ii) any requirement under any Law to post a bond or other security as a prerequisite
 to obtaining equitable relief.




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                 (c)     The Parties agree that, notwithstanding anything in this Agreement to the
 contrary, the Special Master shall, unless this Agreement has been terminated in accordance with
 its terms and subject to Section 8.4, be entitled to specific performance (or any other equitable
 relief) to cause the Buyer to effect the Closing on the terms and subject to the conditions in this
 Agreement, if and only if: (i) all conditions in Section 7.1 and Section 7.2 have been satisfied or
 waived (other than those conditions that by their nature can only be satisfied at the Closing, but
 subject to those conditions being capable of being satisfied if the Closing Date were to occur); (ii)
 the Buyer fails to complete the Closing by the date the Closing would otherwise be required to
 have occurred pursuant to Section 2.2; (iii) the Debt Financing has been funded, or would be
 funded to the Buyer at the Closing in accordance with the terms thereof; (iv) the Closing will occur
 substantially simultaneously with or after the drawdown of the Debt Financing; and (v) the Special
 Master has irrevocably confirmed in writing to the Buyer that (1) all conditions set forth in Section
 7.1 and Section 7.3 have been satisfied or waived (other than those conditions that by their nature
 can only be satisfied at the Closing, but subject to those conditions being capable of being satisfied
 if the Closing Date were to occur) and (2) the Special Master is ready, willing and able to
 consummate the Closing.

         Section 9.14. Successors and Assigns. The provisions of this Agreement shall be binding
 upon and inure to the benefit of the Parties and their respective successors and assigns; provided
 that no Party may assign, delegate or otherwise transfer any of its rights or obligations under this
 Agreement without the consent of the Special Master and the other Parties.

         Section 9.15. Release. Effective as of the Closing Date, except for any rights or
 obligations under this Agreement or the other Transaction Documents each of the Buyer and the
 Company on behalf of itself and each of its Affiliates and each of its current, former and future
 officers, directors, employees, partners, members, advisors, successors and assigns, each
 Designated Manager, and each other director, officer and employee of the Acquired Companies
 who participated in the Buyer’s due diligence and investigation of the Acquired Companies or the
 preparation of the Company Disclosure Schedules (collectively, the “Releasing Parties”), hereby
 irrevocably and unconditionally releases and forever discharges the Special Master and each of his
 current, former and future financial advisors, attorneys, consultants or other advisors and his and
 their respective, successors and assigns, the Designated Managers, the other Company Employees
 listed in the Procedures Summary and any other individuals as reasonably agreed by Buyer and
 the Special Master during the Interim Period (collectively, the “Released Parties”) of and from any
 and all actions, causes of action, suits, proceedings, executions, judgments, duties, debts, dues,
 accounts, bonds, contracts and covenants (whether express or implied), and claims and demands
 whatsoever whether in law or in equity which the Releasing Parties may have against each of the
 Released Parties, now has or in the future may have, in respect of any cause, matter or thing relating
 to the business or operations of the Acquired Companies, the Transactions, this Agreement, the
 Transaction Documents, or the ownership of Shares by the Released Parties, in each case,
 occurring or arising on or prior to the Closing Date. Each Party, on behalf of itself and each
 Releasing Party, covenants and agrees that no Releasing Party shall assert any such claim against
 the Released Parties.

        Section 9.16. Counterparts. This Agreement may be executed in one or more counterparts
 including by facsimile or other means of electronic transmission, such as by electronic mail in




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 “.pdf” form, each of which will be deemed to be an original copy of this Agreement and all of
 which, when taken together, will be deemed to constitute one and the same agreement.

        Section 9.17. Debt Financing Sources. Notwithstanding anything in this Agreement to the
 contrary, the Special Master hereby:

                 (a)     agrees that any proceeding, whether in law or in equity, whether in contract
 or in tort or otherwise, involving the Debt Financing Sources, arising out of or relating to, this
 Agreement, the Debt Financing and/or any of the agreements (including the Debt Commitment
 Letter) entered into in connection with the Debt Financing or any of the transactions contemplated
 hereby or thereby or the performance of any services thereunder shall be subject to the exclusive
 jurisdiction of any federal or state court in the Borough of Manhattan, New York, New York, so
 long as such forum is and remains available, and any appellate court thereof and each Party hereto
 irrevocably submits itself and its property with respect to any such proceeding to be the exclusive
 jurisdiction of such court;

                (b)     agrees that any such proceeding shall be governed by the laws of the State
 of New York (without giving effect to any conflicts of law principles that would result in the
 application of the laws of another state), except as otherwise provided in the Debt Commitment
 Letter or any other applicable definitive document relating to the Debt Financing;

                 (c)     without limiting the rights of the Buyer under the Debt Commitment Letter
 and/or any right or remedy available to any person under the definitive documentation governing
 the Debt Financing, agrees not to bring or support or permit any of its Affiliates to bring or support
 any proceeding of any kind or description, whether in law or in equity, whether in contract or in
 tort or otherwise, against any Debt Financing Source in any way arising out of or relating to, this
 Agreement, the Debt Financing and/or any of the agreements (including the Debt Commitment
 Letter) entered into in connection with the Debt Financing or any of the transactions contemplated
 hereby or thereby or the performance of any services thereunder in any forum other than any
 federal or state court in the Borough of Manhattan, New York, New York;

                 (d)     agrees that service of process upon the Acquired Companies and/or each of
 its controlled Affiliates or the Special Master in any such proceeding shall be effective if notice is
 given in accordance with Section 9.7;

                (e)    irrevocably waives, to the fullest extent that it may effectively do so, the
 defense of an inconvenient forum to the maintenance of such Legal Proceeding in any such court;

                 (f)     knowingly, intentionally and voluntarily waives trial by jury in any
 proceeding brought against any Debt Financing Source in any way arising out of or relating to this
 Agreement, the Debt Financing and/or any of the agreements (including the Debt Commitment
 Letter) entered into in connection with the Debt Financing or any of the transactions contemplated
 hereby or thereby or the performance of any services thereunder;

                (g)     without limiting the rights of the Buyer under the Debt Commitment Letter
 and/or any right or remedy available to any person under the definitive documentation governing
 the Debt Financing, agrees that none of the Debt Financing Sources will have any liability to the
 Acquired Companies and/or any of their respective controlled Affiliates (in each case, other than


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 the Buyer and the Buyer Subsidiaries) or the Special Master relating to or arising out of this
 Agreement, the Debt Financing and/or any of the agreements (including the Debt Commitment
 Letter) entered into in connection with the Debt Financing or any of the transactions contemplated
 hereby or thereby or the performance of any services thereunder, whether in law or in equity,
 whether in contract or in tort or otherwise; and

                 (h)   agrees that the Debt Financing Sources are express third party beneficiaries
 of, and may enforce, any of the provisions of this Section 9.17 and that such provisions and the
 definitions of “Debt Commitment Letter,” “Debt Financing,” and “Debt Financing Sources,” shall
 not be amended in any way adverse to any Debt Financing Source without the prior written consent
 of such Debt Financing Source.

         Section 9.18. Special Master and his Representatives’ Judicial Immunity. The Buyer
 agrees that in no circumstance shall the Special Master or his Representatives be personally or
 otherwise liable for any amounts or obligations owed to the Buyer, for any breach of any
 representations or warranties in this Agreement, or for any other claims or liabilities arising out of
 or in connection with this Agreement or the transaction contemplated by this Agreement. The
 Buyer further agrees that the Special Master and his Representatives are acting as an arm of the
 Court and are entitled to judicial immunity in the performance of their duties and in connection
 with this Agreement and the Transactions.

                                      [Signature Pages Follow]




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        IN WITNESS WHEREOF, the Parties have duly executed this Agreement as of the day
 and year first written above.



                                                  AMBER ENERGY INC., as the Buyer



                                                  By:
                                                  Name:
                                                  Title:



                                                  ROBERT B. PINCUS, as the Special Master



                                                  By:
                                                  Name:
                                                  Title:




                                [SIGNATURE PAGE TO STOCK PURCHASE AGREEMENT]
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                                           ANNEX A

                                         DEFINITIONS

        “Acquired Companies” means, collectively, the Company and each of the Company
 Subsidiaries.

       “Additional Judgment Creditors” means the judgment holders, other than Crystallex
 Corporation and ConocoPhillips Petrozuata B.V., set forth in the Priority Order [D.I. 996], dated
 March 1, 2024, in the Specified Litigation.




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         “Anti-Corruption Laws” means any applicable Law for the prevention or punishment of
 public or commercial corruption or bribery, including the U.S. Foreign Corrupt Practices Act, U.K.
 Bribery Act 2010 and any other applicable anti-corruption or anti-bribery Law of any other
 applicable jurisdiction.

        “Antitrust Laws” means the HSR Act, the Sherman Act, the Clayton Act, the Federal Trade
 Commission Act, and any other Laws that are designed to prohibit, restrict or regulate actions
 having the purpose or effect of monopolization, lessening of competition, or restraint of trade.




         “Business Day” means any day of the year other than (a) a Saturday, Sunday or federal
 holiday in the United States or (b) a day on which national banking institutions in New York, New
 York are required or authorized to close.

           “Buyer Subsidiary” means any Subsidiary of the Buyer, as of the date hereof.




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           “CITGO Petroleum” means CITGO Petroleum Corporation, a Delaware corporation.

         “Claim” means (a) a right to a payment, whether or not such right is reduced to judgment,
 liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,
 equitable, secured, or unsecured or (b) an equitable remedy for breach of performance if such
 breach gives rise to a right to payment, whether or not such right to an equitable remedy is reduced
 to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or unsecured.
 Without limiting the foregoing and for the avoidance of doubt, a Claim includes any loss, liability,
 demand, claim, judgment, sanction, penalty, action, obligation, commitment, assessment,
 settlement, fee, debt, deficiency, guaranty of any kind, proceeding, damage, cost, or expense
 (including court costs and professional fees (including attorneys’ fees and costs)) whatsoever,
 whether at law or in equity, whether known or unknown, fixed, liquidated, contingent, or
 otherwise, whether under any theory of successor or transferee liability and whether imposed by
 agreement, understanding, law, or otherwise.




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        “COBRA” means Part 6 of Subtitle B of Title I of ERISA, Section 4980B of the Code and
 any similar state applicable Law.

           “Code” means the U.S. Internal Revenue Code of 1986, as amended.

         “Company Benefit Plan” means (a) each “employee benefit plan” (as such term is defined
 in Section 3(3) of ERISA), (b) each plan, program, policy, agreement or arrangement that would
 be an “employee benefit plan” (within the meaning of Section 3(3) of ERISA), if it were subject
 to ERISA, (c) each stock purchase, stock option, restricted stock, stock bonus, stock ownership,
 stock appreciation rights, phantom equity, profits interests or other equity or equity-based plan or
 agreement, (d) each compensation, bonus, commission, incentive or deferred compensation plan,
 agreement, arrangement, program, policy or practice, (e) each employment or consulting
 agreement, offer letter or severance, retention, change of control, termination, employee loan or
 other compensation plan, agreement, arrangement, program, policy, or practice, (f) each health or
 welfare plan, agreement, arrangement, program, policy, or practice, and (g) each vacation policy,
 or other employee fringe benefit or perquisite arrangement whether or not subject to ERISA, in
 the cases of clauses (a) through (g), (x) that is maintained, sponsored, or contributed to by (or
 required to be contributed to by) any Acquired Company or with respect to which any Acquired
 Company has any liability and (y) under which any current or former director, officer, manager,
 employee, contractor or consultant of any Acquired Company has any present or future right to
 benefits or is eligible to participate.

         “Company Fundamental Representations” means the representations and warranties set
 forth in Section 4.1 (Corporate Existence; Title to Shares); Section 4.4 (Capitalization) and Section
 4.5(a), Section 4.5(b) (Subsidiaries; Non-Controlled Entities), solely with respect to the
 outstanding shares or equity interests held by an Acquired Company.

          “Company Material Adverse Effect” means any state of facts, change, development, event,
 effect, circumstance, condition or occurrence (each, an “Effect”) that, individually or in the
 aggregate, (x) would materially delay or impair the ability of the Special Master or the Acquired
 Companies (as applicable) to consummate the Transactions , in each case, other than Legal
 Proceedings arising out of or in relation to the Sale Order or the Injunction Motion or (y)results in
 or would reasonably be expected to have a material adverse effect on the condition (financial or
 otherwise), business, assets, liabilities or results of operations of the Acquired Companies and the
 Non-Controlled Entities, taken as a whole; provided, however, that in no event shall any of the
 following Effects, alone or in combination, be deemed to constitute, or be taken into account, in
 determining whether there has been, or would be, a Company Material Adverse Effect (A) any
 changes or conditions in the U.S. or any other national or regional economy, any global economic
 changes or conditions or securities, credit, financial or other capital markets conditions; (B) any
 changes or conditions affecting the oil and gas industry in general (including changes to the prices
 of commodities or of the raw material inputs or value of the outputs of the Company’s products,
 general market prices and regulatory changes affecting the industry); (C) pandemics or epidemics,
 and any escalation or general worsening of any of the foregoing or other response by any
 Governmental Bodies; (D) Effects resulting from the announcement of this Agreement, the
 Transactions or the terms hereof or the consummation of the Transactions; (E) any action taken by
 an Acquired Company or failure of such Acquired Company to take action, in each case, which
 the Buyer has requested in writing or consented to when asked under Section 6.1; (F) changes in



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 applicable Law or in GAAP or in accounting standards, or any changes in the interpretation or
 enforcement by any Governmental Body of any of the foregoing, or any changes in general legal
 or regulatory conditions, including any Effects arising out of, in connection with, or as a result of,
 any “shut-down” of the U.S. federal government (including its agencies); (G) any failure to meet
 any internal projections, forecasts, guidance, estimates, milestones, or budgets or internal or
 published financial or operating predictions of revenue, earnings, cash flow or cash position;
 (H) any downgrade in the Company’s credit rating (it being understood that the exceptions in
 clauses (G) and (H) shall not prevent or otherwise affect a determination that the underlying cause
 of any such Effect referred to therein (if not otherwise falling within any of the exceptions provided
 hereof) is a Company Material Adverse Effect); or (I) any action required to be taken by the Buyer
 or its Affiliates under the terms of this Agreement or in connection with the Transactions including
 but not limited to Section 6.3(d); provided, that in the case of clauses (A), (B), (C), and (F), to the
 extent the impact on the Acquired Companies, taken as a whole, is disproportionately adverse
 compared to the impact on similarly situated entities, the incrementally disproportionate impact or
 impacts shall be taken into account in determining whether there has been, or would reasonably
 be expected to be, a Company Material Adverse Effect. Subject to the foregoing definition, a
 Casualty Loss event may constitute a Company Material Adverse Effect for all purposes hereunder
 notwithstanding clause (C) or Section 6.20(d). Notwithstanding anything to the contrary in this
 Agreement, any breach by the Acquired Companies of any covenant set forth in Article VI that
 requires performance by the Acquired Companies prior to the Closing, and the effects of any such
 breach, shall in no event be deemed to be excluded from the definition of “Company Material
 Adverse Effect” hereunder.

           “Company Subsidiary” means any Subsidiary of the Company, as of the date hereof.




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         “Contract” means any written or oral contract, agreement, lease, easement, license,
 sublicense, subcontract, note, evidence of indebtedness, mortgage, indenture, bond, letter of credit,
 purchase order, binding bid, security agreement or other legally binding arrangement, whether
 express or implied (including all amendments, supplements, and modifications thereto), but shall
 exclude Permits and Company Benefit Plans.

         “Credit Support Arrangements” means guaranties, performance bonds, performance
 guaranties, indemnities, keep-wells, sureties, bankers’ acceptances, letters of credit, agreement to
 assume liabilities, other security, credit support or financial assurances and any other Contract or
 arrangement pursuant to which any person is or may be directly or indirectly liable or responsible
 for the liabilities, or the maintenance of a financial position, of any other person, including by the
 posting (or potential forfeiture) of any collateral, security or bond.

       “Damaged Portion” means, with respect to any Casualty Loss, the portion of such asset(s)
 so damaged or destroyed.




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         “Debt Financing Documents” means any credit agreements, note purchase agreements,
 engagement letters, fee letters, indentures, guarantees, pledge and security documents, definitive
 financing documents, agreements, schedules or other certificates or documents contemplated by
 the Debt Financing.

         “Debt Financing Source” means, in its capacity as such, any lender, similar debt financing
 source, agent or arranger providing or arranging a commitment to, or that has entered into
 definitive agreements related to, the Debt Financing, including pursuant to the Debt Commitment
 Letter (as modified by any joinder agreement, amendment, or other modification thereto as
 permitted hereunder) or any Debt Financing Document (or any other commitment letter or
 definitive agreement in respect of any alternative debt financing) and their respective Affiliates,
 and such Person’s (and their respective Affiliates’) former, current or future equityholders,
 members, employees, officers, directors, attorneys, agents or advisors, and, in each case, their
 respective successors and assigns; provided, however, that neither the Buyer nor any of its
 Affiliates shall constitute a Debt Financing Source.




        “Designated Managers” means the employees of the Company or its Subsidiaries
 designated as such in the Procedures Summary.

          “Economic Sanctions/Trade Laws” means all applicable Laws relating to export controls,
 anti-boycott, and Sanctions Targets, including prohibited or restricted international trade and
 financial transactions and lists maintained by any Governmental Body targeting countries,
 territories, entities or persons, including the United States, the United Nations Security Council,
 the European Union, or His Majesty’s Treasury of the United Kingdom. For the avoidance of
 doubt, the applicable Laws referenced in the foregoing sentence include (1) any of the Trading
 With the Enemy Act, the International Emergency Economic Powers Act, the United Nations
 Participation Act, or the Syria Accountability and Lebanese Sovereignty Act, or any regulations
 of OFAC, or any export control Law applicable to U.S.-origin goods, technology, or software, or
 any enabling legislation or executive order relating to any of the above, as collectively interpreted
 and applied by the U.S. Government at the prevailing point in time, (2) any U.S. sanctions related
 to or administered by the U.S. Department of State and (3) any sanctions measures or embargoes
 imposed by the United Nations Security Council, His Majesty’s Treasury or the European Union.




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         “Environmental Laws” means any and all Laws relating to (a) pollution or the protection,
 cleanup, preservation or restoration of the environment or natural resources (including air, water,
 land, soil, subsoil, wildlife, plants, or other natural resources), (b) the generation, manufacture,
 processing, handling, use, labeling, treatment, storage, disposal, transportation, or Release or
 threatened Release of, or exposure to, any Hazardous Substance, or (c) the health and safety of
 Persons, including but not limited to the following, to the extent applicable: the Comprehensive
 Environmental Response, Compensation, and Liability Act, 42 U.S.C. §§ 9601 et seq.; the Federal
 Water Pollution Control Act, 33 U.S.C. § 1251 et seq.; the Clean Air Act, 42 U.S.C. § 7401 et
 seq.; the Toxic Substances Control Act, 15 U.S.C. § 2601 et seq.; the Emergency Planning and
 Community Right to Know Act of 1986, 42 U.S.C. § 11001 et seq.; the Safe Drinking Water Act,
 42 U.S.C. § 300(f) et seq.; the Hazardous Materials Transportation Act, 49 U.S.C. § 5101 et seq.;
 the Federal Insecticide, Fungicide and Rodenticide Act, 7 U.S.C. § 136 et seq.; the Resource
 Conservation and Recovery Act of 1976, 42 U.S.C. § 6901 et seq.; the Oil Pollution Act of 1990,
 33 U.S.C. § 2701 et seq.; the Occupational Safety and Health Act, 29 U.S.C. §651 et seq. (with
 respect to human exposure to Hazardous Substances); the Endangered Species Act of 1973, 16
 U.S.C. §§ 1531 et seq.; the Bald and Golden Eagle Protection Act, 16 U.S.C. § 668 et seq.; the
 Migratory Bird Treaty Act, 16 U.S.C. § 703 et seq.; and any similar or implementing state or local
 Law, all amendments or regulations promulgated thereunder.

           “EPP” means the CITGO Petroleum Corporation Executive Protection Plan, as amended.

         “Equitable Exceptions” means, collectively, (a) applicable bankruptcy, insolvency,
 reorganization, moratorium and similar Laws affecting creditors’ rights and remedies generally,
 and (b) general principles of equity, including principles of commercial reasonableness, good faith
 and fair dealing (regardless of whether enforcement is sought in a proceeding at law or in equity).

        “Equity Financing Sources” means the Persons set forth in Section 1.1(a) of the Buyer
 Disclosure Schedules and each other Person who delivers an Equity Commitment Letter on the
 Trust Structure Effective Date.

          “Equity Interests” means, with respect to any entity, any and all capital stock, shares,
 quotas, limited liability company interests (however designated), partnership or membership
 interests or units (whether general or limited), or other similar interest or participation that confers
 on a Person the right to receive a share of the profits and losses of, or distribution of assets of, such
 entity, the right to vote for or appoint directors (or other similar governing body members) of such
 entity or the right to otherwise cause the direction or management and policies of such entity in a
 manager, general partner or other similar capacity.

         “ERISA” means the Employee Retirement Income Security Act of 1974 and the rules and
 regulations thereunder.

         “ERISA Affiliate” means with respect to any Person, trade or business, or entity, any other
 Person, trade or business, or entity, (a) that is, or was at the relevant time, a member of a group
 described in Section 414(b), (c), (m) or (o) of the Code that includes, or included at the relevant
 time, the first Person, trade or business, or entity, or (b) that is, or was at the relevant time, a
 member of the same “controlled group” as the first Person, trade or business, or entity pursuant to
 Section 4001(a)(14) of ERISA.



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        “Escrow Account” means the deposit escrow account to be maintained with the Escrow
 Agent in accordance with the Escrow Agreement.

        “Existing Senior Secured Notes” means the 6.375% Senior Secured Notes, the 7.000%
 Senior Secured Notes and the 8.375% Senior Secured Notes, or any of them.




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         “Fraud” means a knowing misrepresentation of a material fact or concealment of a material
 fact by a Person with respect to any representation or warranty in this Agreement or the other
 Transaction Documents which is made or concealed with the specific intent to deceive and the
 intent of inducing another Person to enter into the Transaction Documents; provided, that at the
 time such representation was made (a) such representation was materially inaccurate, (b) such
 Person had actual knowledge (and not imputed or constructive knowledge), without any duty of
 inquiry or investigation, of the material inaccuracy of such representation, (c) such Person had the
 specific intent to deceive another Person and (d) the other Person acted in reliance on such
 inaccurate representation and suffered financial injury as a result of such material inaccuracy. For
 the avoidance of doubt, “Fraud” does not include any Claim for equitable fraud, promissory fraud,
 unfair dealings fraud, or any torts (including a Claim for fraud) based on negligence or
 recklessness.

         “Good Industry Practice” means, with respect to any industry, any of the practices,
 methods, standards, procedures and acts engaged in or approved by a significant portion of such
 industry for similarly situated facilities in the United States during the relevant time period, or any
 of the practices, methods, standards, procedures and acts which, in each case, in the exercise of
 good judgment in light of the applicable manufacturer’s recommendations and the facts known at
 the time the decision is made, would reasonably be expected to accomplish the desired result in a
 manner consistent with good business practices, applicable Law, reliability and safety. “Good


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 Industry Practice” is not intended to be limited to the optimum practice, method, standard or act
 to the exclusion of all others, but rather is intended to include a spectrum of practices, methods,
 standards or acts that meet the foregoing qualifications.

         “Government Bid” means any quotation, bid or proposal that is outstanding and in effect
 as of the Execution Date, which if accepted or awarded, would lead to a Government Contract or
 an order under an existing Government Contract, and any teaming agreement in effect as of the
 Execution Date entered into in preparation for a Government Bid.

         “Governmental Body” means any domestic or foreign national, state, multi-state,
 municipal or other local government, including any governmental, regulatory, or administrative
 department, division, subdivision, agency, bureau, board, commission, or authority thereof, or any
 quasi-governmental or private body exercising any regulatory or Taxing Authority (to the extent
 that the rules, regulations or orders of such organization or authority have the force of Law), or
 any court, tribunal or arbitral body of competent jurisdiction.

         “Government Contract” means any Contract, grant, basic ordering agreement, letter
 contract, or order with (i) any Governmental Body, (ii) another Person under such other Person’s
 prime contract with a Governmental Body, or (iii) any higher tier subcontractor of a Governmental
 Body in its capacity as a subcontractor, for which the period of performance has not expired or
 terminated, or final payment has not been received, or which remains open to audit as of the date
 of this Agreement. Unless otherwise indicated, a task, purchase or delivery order under a
 Government Contract will not constitute a separate Government Contract for purposes of this
 definition but will be part of the Government Contract under which it was issued.

         “Hazardous Substance” means any substance, material or waste that is regulated, listed,
 designated, classified, defined or characterized under or pursuant to any Environmental Law as
 “hazardous,” “toxic,” “radioactive”, a “pollutant,” a “contaminant,” or words of similar meaning,
 including petroleum or petroleum products, byproducts, derivatives, crude oil or any fraction
 thereof, PFAS, explosive materials, radioactive materials, asbestos, lead-based paint, or
 polychlorinated biphenyls.

       “HSR Act” means the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as
 amended.

         “Hydrocarbon” means hydrocarbons (including crude oil), feedstock, raw materials, blend
 stocks, byproducts, facility products and refined and intermediate petroleum products, and any
 byproducts of the foregoing.

         “Imbalance” means any imbalance between (i) the quantity of Hydrocarbons required to
 be delivered by the applicable Acquired Company under a Contract relating to the purchase and
 sale, gathering, transportation, storage or processing thereof and (ii) the quantity of such
 Hydrocarbons actually delivered by such Acquired Company under such Contract, together with
 any appurtenant rights and obligations concerning balancing at the delivery point into the relevant
 sale, gathering, transportation, terminal, storage or processing facility, including cash settlement
 obligations.




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         “Injunction Motion” means the Special Master’s motion to enjoin Gramercy Distressed
 Opportunity Fund LLC, G&A Strategic and Girard Street Investment Holdings, LLC from seeking
 to enforce judgments against PDVSA or the Bolivarian Republic of Venezuela by recovering from
 the Acquired Companies in Legal Proceedings in New York and Texas.

         “Interest Rate” means (x) the rate of interest published from time to time by The Wall
 Street Journal, Eastern Edition, as the “prime rate” at large U.S. money center banks during the
 period from the date that payment is due to the date of payment, plus (y) one percent (1.0%).

         “Interim Period” means the period beginning on the Execution Date and ending upon the
 earlier of the Closing and the termination of this Agreement in accordance with its terms.

           “Inventory” is defined in the Inventory Principles.

           “Inventory Principles” is defined in the definition of “Agreed Principles.”

           “IRS” means the United States Internal Revenue Service.

           “Judgment Creditors” means the judgment holders in the Specified Litigation.

         “Knowledge of the Buyer” means the actual knowledge (and not imputed or constructive
 knowledge) of any of the Persons set forth in Section 1.1(b) of the Buyer Disclosure Schedules
 after due inquiry.

        “Knowledge of the Company” or “Company’s Knowledge” means the actual knowledge
 (and not imputed or constructive knowledge) of the Designated Managers after due inquiry.

        “Knowledge of the Special Master” means actual knowledge (and not imputed or
 constructive knowledge) of the Special Master.

         “Law” means any applicable foreign, federal, state, local law (including common law),
 statute, treaty, code, ordinance, rule, regulation, judgment, decree, binding directive, injunction,
 Order or other legal requirement of any Governmental Body; provided, that in no event shall
 “applicable Law” be deemed to include Laws and Orders of the Bolivarian Republic of Venezuela.




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         “Legal Proceeding” means any judicial, regulatory, administrative or arbitral action, suit,
 claim, appeal, cause of action, objection, demand, inquiry, audit, notice of violation, citation,
 summon, subpoena, proceeding, or investigation of any nature, civil, criminal, public or private.

        “Lender Protective Provisions” means Section 9.6, Section 9.9, Section 9.10, Section 9.11
 and Section 9.14 of this Agreement.

        “Lien” means, with respect to any asset, any mortgage, deed of trust, lien, pledge,
 reservation, conditional sale or other title retention agreement, right of first refusal, preemptive
 right, collateral assignment, hypothecation, right of way, easement, security interest or
 encumbrance of any kind in respect of such asset.




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           “Lookback Date” means the date that is three (3) years prior to the date hereof.

          “Marketing Business Day” means any Business Day, excluding the following: (1) if the
 period beginning on the date of satisfaction or waiver of the conditions set forth in Section 7.1 and
 ending on the twelfth (12th) Business Day thereafter (such period, the “Closing Marketing
 Period”) were to commence but would not be completed in accordance with its terms on or prior
 to December 20, 2024, then no day prior to January 3, 2025 shall be a Business Day (for purposes
 of this definition) (and the Closing Marketing Period shall commence on January 3, 2025); (2) if
 the Closing Marketing Period is not completed by February 12, 2025, then no day prior to the
 earlier of (x) March 31, 2025 and (y) the date that the audited financial statements of the Company
 as of December 31, 2024 are available, shall be a Business Day (for purposes of this definition);
 (3) if the Closing Marketing Period were to commence but would not be completed in accordance
 with its terms on or prior to August 15, 2025, then no day prior to September 2, 2025 shall be a
 Marketing Business Day (and the Closing Marketing Period shall not commence prior to


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 September 2, 2025); and (4) if the Closing Marketing Period were to commence but would not be
 completed in accordance with its terms on or prior to December 19, 2025, then no day prior to
 January 2, 2026 shall be a Business Day (for purposes of this definition) (and the Closing
 Marketing Period shall commence on January 2, 2026).

        “Measurement Time” means 11:59 PM Eastern Time on the day immediately preceding
 the Closing Date.

         “Money Laundering Laws” means any law or regulation regarding money laundering or
 financial recordkeeping and reporting requirements, including the U.S. Currency and Foreign
 Transactions Reporting Act of 1970, the U.S. Money Laundering Control Act of 1986, the USA
 PATRIOT Act of 2001, and any applicable money laundering-related laws of other jurisdictions
 where the Acquired Companies conduct business, conduct financial transactions or own assets.

         “Negative Consequences” means (a) if related to any consent with respect to any Contract,
 (i) any default, breach or violation of such Contract (or any default, breach or violation that would
 result with notice, lapse of time or both) or (ii) any modification or supplement to the rates, service
 levels, performance schedules or other terms or conditions of such Contract or any right to modify
 any of the foregoing, in each case, that would be or reasonably could be expected to be adverse to
 the Acquired Companies, (b) the imposition of any restriction, limitation or new covenant on any
 Acquired Company, (c) the imposition or creation of any Lien on any assets or properties of any
 Acquired Company, (d) any right of termination, cancellation, revocation, non-renewal or
 acceleration or loss of benefit or vesting of any right of any person, in each case, that would be or
 reasonably could be expected to be adverse to any of the Acquired Companies (upon the exercise
 of any rights or otherwise), (e) any right to receive any rebate, chargeback, refund, credit or penalty
 and (f) any payment, compensation or incremental liability (or any right to any payment,
 compensation or incremental liability).




        “No-Shop Period” means the period beginning on the earlier of (i) forty five (45) days after
 the Commencement Date and (ii) the conclusion of the Court’s hearing to consider approval of the
 Transactions, and ending on the Closing Date or the date on which this Agreement terminates
 pursuant to its terms.



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         “Non-Controlled Entity” means any entity in which an Acquired Company owns, directly
 or indirectly, any Equity Interest other than a Company Subsidiary.



           “OFAC” means the U.S. Department of the Treasury’s Office of Foreign Assets Control.

         “OFAC License” means a general or specific license or licenses from OFAC authorizing
 the Parties to participate in and close the Transaction, in form and substance reasonably
 satisfactory to the Buyer.

        “OFAC License Application” means a request for an OFAC License pursuant to 31 CFR
 § 501.801 or other relevant authority.

        “Offering Documents” means prospectuses, private placement memoranda, offering
 memoranda, information memoranda, syndication memoranda and packages and lender and
 investor presentations in each case to the extent the same are customary and required in connection
 with the Debt Financing.

         “Order” means any order, injunction, judgment, decree, ruling, writ, assessment or
 arbitration award of a Governmental Body, other than the Bolivarian Republic of Venezuela.

        “Ordinary Course” means the ordinary and usual course of day-to-day operations of the
 Acquired Companies and/or the Non-Controlled Entities (as applicable), in each case, consistent
 with past practice, taken as a whole.

          “Organizational Documents” means the charter, memorandum, certificate of incorporation,
 articles of association, bylaws or other similar document of a Person, as may be amended, restated
 or otherwise modified from time to time.

        “Paying Agent Account” means the deposit account established by the Paying Agent
 pursuant to the terms of the Paying Agent Agreement for the benefit of the Claimholders.

       “PCI DSS” means the Payment Card Industry Data Security Standard, issued by the
 Payment Card Industry Security Standards Council, as revised from time to time.

        “Permit” means all permits, licenses, approvals, certifications, consents, registrations,
 variances, exemptions, waivers, Orders, franchises and other authorizations of any Governmental
 Body.




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          “Permitted Liens” means (a) all non-monetary defects, exceptions, restrictions,
 easements, rights of way and encumbrances of record that do not or would not, individually or in
 the aggregate, reasonably be expected to interfere with the operation of the business of the
 Acquired Companies as presently conducted; (b) Liens securing liabilities which are reflected or
 reserved against in the consolidated balance sheet of the Company prepared in accordance with
 GAAP to the extent so reflected or reserved; (c) statutory Liens for Taxes not yet due and payable
 or that are being contested in good faith through appropriate proceedings and for which appropriate
 reserves have been established in accordance with GAAP; (d) landlords’, mechanics’, carriers’,
 workers’, repairers’ and similar statutory Liens arising or incurred in the Ordinary Course to the
 extent relating to amounts that are not due and payable or may be paid without penalty, or that
 are being contested by appropriate proceedings and for which adequate reserves have been
 established; (e) zoning, building code, entitlement and other land use restrictions and
 Environmental Laws that individually or in the aggregate, do not materially affect, impair or
 interfere with the use, ownership and maintenance of, or the access to any property affected


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 thereby or the conduct of the business of the Company as presently conducted; (f) title of a lessor
 under a capital or operating lease, and leases, subleases, and similar transactions in the Ordinary
 Course, in each case solely to the extent that the same would not, individually or in the aggregate,
 reasonably be expected to interfere with the operation of the business of the Acquired Companies
 as currently conducted; (g) any license, covenant or other right to or under Intellectual Property
 granted in the Ordinary Course; (h) Liens set forth in Section 1.1(d) of the Company Disclosure
 Schedules; and (i) the Equity Pledge.

         “Person” means any individual, corporation, partnership, limited liability company, firm,
 joint venture, association, joint-stock company, trust, unincorporated organization, Governmental
 Body or other entity.

         “Personal Information” means all information that identifies, could be used to identify or
 is otherwise related to an individual person or household, including demographic, health,
 behavioral, biometric, financial, nonpublic, and geolocation information, IP addresses, network
 and hardware identifiers, employee information, and any other individually identifiable
 information that is protected under any applicable Privacy Law and Obligation, in addition to any
 definition for “personal information”, “personal data”, “personally identifiable information”,
 “protected health information” or any similar term provided by applicable Privacy Laws and
 Obligations.

         “PFAS” stands for per- and polyfluoroalkyl substances and means any substance which
 contains at least one fully fluorinated methyl or methylene carbon atom (without any hydrogen
 (H)/chlorine/bromine/iodine atom attached to it), including any acids, salts, precursors, polymers
 or derivatives thereof.




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         “Preferential Right” means any rights of first refusal, rights of first offer, put or call
 options, preferential rights to purchase, preemptive rights, change in control, or other similar rights
 in favor of any Person.

        “Procedures Summary” means the procedures described in Section 1.1(e) of the Company
 Disclosure Schedules.

         “Refinery Inventory” means, with respect to any refinery owned by an Acquired Company,
 all inventory owned by the Acquired Companies for use in or resulting from any such refinery,
 regardless of whether located within or upon any such refinery, in-transit, or otherwise, including:

          (a)     hydrocarbon inventories including (i) all Hydrocarbons, including in-process units
 or in interconnecting piping or other lines; (ii) all refined and intermediate product inventories,
 including petroleum coke and sulfur; and (iii) all additives held for use at a refinery, in each of the
 foregoing cases, (x) excluding all finished and unfinished products that have left such refinery and
 are en route to any customer or end user and (y) including the contents of all applicable storage
 tanks, railcars, terminal facilities and in-line, propellant and unit fill at such refinery or at an off-
 site storage (including linefill, tank bottoms, heels, unit fill, inventory below suction level and fill
 line), to the extent such inventory is owned by any Acquired Company, but excluding bottom
 sediment, sludge and water; and

         (b)   non-hydrocarbon inventories, including chemicals, catalysts and precious metals
 (including whether located in process units), store stocks, supplies and consumables.




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         “Related Claim” means any Legal Proceeding that may be based upon, arise out of or relate
 to this Agreement or the negotiation, execution, performance, breach, interpretation, construction,
 validity or enforcement of this Agreement (including any Legal Proceeding based upon, arising
 out of or related to any representation or warranty made or alleged to be made in or in connection
 with, or as an inducement to enter into, this Agreement).

         “Release” means any actual or threatened releasing, spilling, leaking, pumping, pouring,
 emitting, emptying, discharging, injecting, escaping, or allowing to escape, leaching, migrating,
 dumping, abandoning, or disposing into or through the indoor or outdoor environment (including
 soil, surface water, ground water, land surface, subsurface strata, ambient air, wildlife, plants or
 other natural resources).

         “Repair” means, with respect to any Damaged Portion, the full repair or restoration of the
 Damaged Portion to, at the Buyer’s election, (i) a condition consistent in all material respects with
 its condition prior the damage to such Damaged Portion taking place, or (ii) good working order
 in accordance with Good Industry Practices, including with respect to any engineering, design,
 procurement, or installation performed by or for any Acquired Company or any of their respective
 Affiliates in connection with such repair or restoration. The term “repair or restoration” (and
 similar terms) shall be broadly construed and shall include or allow for the replacement of all or
 any portion of the Damaged Portion.

        “Representatives” means, with respect to any Person, such Person’s equityholders,
 partners, members, officers, directors, employees, consultants, agents, attorneys, accountants,
 advisors, financing sources and other representatives.

          “Required Information” means (i) the audited consolidated balance sheet of the Company
 as of December 31, 2023 and December 31, 2022 and the related audited consolidated statements
 of income and cash flows for the fiscal years then ended, and, if the Closing Marketing Period is
 not completed by February 12, 2025, the audited consolidated balance sheet of the Company as of
 December 31, 2024, (ii) the unaudited condensed consolidated balance sheet of the Company as
 of the last date of each subsequent fiscal quarter, other than the fourth fiscal quarter in any fiscal
 year, ending after December 31, 2023, and at least forty five (45) days prior to the Closing Date,
 and the related unaudited condensed consolidated statements of income and cash flows for the
 three months then ending and for the portion of the year to date and (iii) historical information
 reasonably requested by the Buyer in the Buyer’s preparation of the pro forma financial statements
 referred to in Section 6.10(a)(viii) (after giving effect to the proviso thereto), provided, that
 notwithstanding anything to the contrary in this definition or otherwise, nothing herein shall
 require the Special Master or the Company to provide (or be deemed to require the Special Master
 or the Company to prepare) any (1) description of all or any portion of the Debt Financing,
 including any “description of notes,” “plan of distribution” and information customarily provided
 by investment banks or their counsel or advisors in the preparation of Offering Documents for
 private placements of non-convertible bonds pursuant to Rule 144A under the Securities Act, (2)
 risk factors relating to, or any description of, all or any component of the financing contemplated
 thereby, (3) historical financial statements or other information required by Rule 3-05, Rule 3-09,
 Rule 3-10, Rule 3-16, Rule 13-01 or Rule 13-02 of Regulation S-X under the Securities Act in
 each case which are prepared on a basis not consistent with the Company’s reporting practices for
 the periods presented in the Required Information; any compensation discussion and analysis or



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 other information required by Item 10, Item 402 and Item 601 of Regulation S-K under the
 Securities Act or XBRL exhibits; or any information regarding executive compensation or related
 persons related to SEC Release Nos. 33-8732A, 34-54302A and IC-27444A, (4) other information
 customarily excluded from Offering Documents for private placements of non-convertible high-
 yield bonds pursuant to Rule 144A under the Securities Act in a “Rule 144A-for-life” offering, (5)
 consolidating financial statements, separate Subsidiary financial statements, related party
 disclosures, or any segment information, including any required by FASB Accounting Standards
 Codification Topic 280 in each case which are prepared on a basis not consistent with the
 Company’s reporting practices for the periods presented in the Required Information, (6) financial
 information that the Acquired Companies do not maintain in the ordinary course of business (other
 than the historical financial statements and other historical information expressly set forth in the
 foregoing clauses (i) to (iv)), (7) information not reasonably available to the Acquired Companies
 under their respective current reporting systems (other than the historical financial statements and
 other historical information expressly set forth in the foregoing clauses (i) to (iv)) or (8) projections
 (the information described in this proviso, the “Excluded Information”). Financial statements
 referred to in the foregoing clauses (i) and (ii) will be prepared in accordance with GAAP and the
 unaudited financial statements referred to in clause (ii) will be reviewed by the independent
 accountants of the Company as provided in the procedures specified by PCAOB AS 4015;
 provided, that no opinion shall be required with respect to such review of such unaudited financial
 statements. Notwithstanding anything included herein to the contrary, no Required Information
 shall be required to be provided after the satisfaction of the Closing Marketing Period or the date
 on which the Debt Financing has been consummated (including if the proceeds of the Debt
 Financing are placed into escrow upon consummation).

       “RRP” means the CITGO Petroleum Corporation Retirement Restoration Plan, as
 amended.

       “Sale Order” means an order of the Court in the form of the Form Sale Order, with such
 changes and modifications acceptable to the Buyer in its sole discretion.

         “Sale Process Parties” means, as set forth in Sale Procedures Order, Crystallex
 International Corporation, the Bolivarian Republic of Venezuela, PDVSA, the Company, CITGO
 Petroleum Corporation, and Phillips Petroleum Company Venezuela Limited and ConocoPhillips
 Petrozuata B.V.

         “Sanctions Target” means (1) any country or territory that is the target of country-wide or
 territory-wide Economic Sanctions/Trade Laws, which, as of the date of this Agreement, are Iran,
 Cuba, Syria, North Korea, and certain occupied regions of Ukraine, including the Crimea region,
 the non-government-controlled areas of Zaporizhzhia and Kherson and the so-called Donetsk or
 Luhansk People’s Republics; (2) a Person that is on the Specially Designated Nationals and
 Blocked Persons List or any of the other sanctioned persons lists published by OFAC, or any
 similar list of sanctioned persons issued by the U.S. Department of State; (3) a Person that is
 located or resident in or organized under the laws of a country or territory that is identified as the
 subject of country-wide or territory-wide Economic Sanctions/Trade Laws; or (4) an entity that,
 under applicable Economic Sanctions/Trade Laws, is automatically a target of restrictions or
 prohibitions because it is owned or controlled by a country or territory identified in clause (1) or
 Person in clauses (2) or (3) above.



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         “Security Incident” means any unauthorized or unlawful access, acquisition, exfiltration,
 manipulation, erasure, loss, use, or disclosure that compromises the confidentiality, integrity,
 availability or security of Sensitive Data or the Systems, or that triggers any reporting requirement
 under any breach notification Law or contractual provision, including any ransomware or denial
 of service attacks that prevent or materially degrade access to Sensitive Data or the Systems.

         “Sensitive Data” means all Personal Information, confidential information, proprietary
 information, intellectual property, and any other information protected by applicable Law or
 contract that is collected, maintained, stored, transmitted, used, disclosed, or otherwise processed
 by, for or on behalf of the Acquired Companies.

          “Solvent” means, with respect to any Person as of a particular date, that on such date, such
 Person and its Subsidiaries (on a consolidated basis) (a) have property with fair value greater than
 the total amount of their debts and liabilities, contingent (it being understood that the amount of
 contingent liabilities at any time shall be computed as the amount that, in light of all the facts and
 circumstances existing at such time, represents the amount that can reasonably be expected to
 become an actual or matured liability in the ordinary course), subordinated or otherwise, (b) have
 assets with present fair salable value not less than the amount that will be required to pay their
 liability on their debts as they become absolute and matured in the ordinary course, (c) will be able
 generally to pay their debts and liabilities, subordinated, contingent or otherwise, as they become
 absolute and matured in the ordinary course, (d) are not engaged in business or a transaction, and
 are not about to engage in business or a transaction, for which their property would constitute an
 unreasonably small capital and (e) does not intend to, and does not believe that it will, incur debts
 or liabilities beyond such Person’s ability to pay such debts and liabilities as they mature.




          “Specially Designated Nationals and Blocked Persons List” means the list of blocked
 persons, specifically designated nationals, specially designated terrorists, specially designated
 global terrorists, foreign terrorist organizations, specially designated narcotics traffickers, and
 blocked vessels referenced in Appendix A to 31 CFR Chapter V, as updated and made available
 at http://www.treasury.gov/sdn.




        “Specified Joint Venture” means each of (i) Lake Charles Pipe Line Company and (ii) TCP
 Petcoke Corporation.




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         “Subsidiary” means, when used with respect to any Person, any other Person, whether
 incorporated or unincorporated, of which (i) more than fifty percent of the voting securities or
 other ownership interests is owned by such Person or one or more of its Subsidiaries, (ii) such
 Person or one or more of its Subsidiaries is a general partner or holds a majority of the voting
 interests of a partnership or (iii) securities or other interests having by their terms ordinary voting
 power to elect more than fifty percent of the board of directors or others performing similar
 functions with respect to such corporation or other organization, are directly owned or controlled
 by such Person or by any one or more of its Subsidiaries.

         “Systems” means the information technology systems, operational technology systems,
 and infrastructure used, owned, leased or licensed by or for the Acquired Companies, including
 industrial control systems, software, computer programs (in both source and object code form),
 servers, databases, firmware, hardware, equipment, networks, record keeping, communications,
 telecommunications, interfaces, platforms, peripherals and related systems.




         “Tax” or “Taxes” means (a) all federal, state, local or foreign taxes, charges, fees, levies or
 other assessments, including, all net income, excise, stamp, real or personal property, ad valorem,
 withholding, social security (or similar), unemployment, occupation, use, production, service,
 service use, license, net worth, payroll, franchise, severance, transfer, recording, employment,
 premium, windfall profits, environmental, customs duties, capital stock, profits, disability, sales,
 registration, value added, alternative or add-on minimum, estimated taxes and any other taxes of
 any kind whatsoever; and (b) all interest, penalties, fines and additions to tax imposed in
 connection with any item described in clause (a) of this definition (c) any liability for the payment
 of any amounts of the type described in clause (a) or (b) as a result of being (or ceasing to be) a
 member of an affiliated, consolidated, combined, unitary, aggregate or similar group for any
 period, including pursuant to Treasury Regulation Section 1.1502-6 or any similar applicable Law;
 and (d) any liability for the payment of any amounts of the type described in clauses (a)-(c) as a
 result of being treated as a successor or transferee to any Person (whether by Contract, statute or
 otherwise), as a result of any secondary liability or as a result of any express or implied obligation
 to indemnify any other Person.

         “Tax Returns” means any return, report, form or similar statement filed or required to be
 filed with respect to any Tax (including any attached schedules), including, any information return,
 claim for refund, amended return or declaration of estimated Tax.

         “Taxing Authority” means any Governmental Body exercising any authority to impose,
 assess or collect any Tax or any other authority exercising Tax regulatory authority.




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           “Termination Fee Claim” has the meaning ascribed to such term in the Sale Order.

        “Transaction Documents” means this Agreement, the Sale Order, the Escrow Agreement,
 the Paying Agent Agreement, the Debt Commitment Letter, the Equity Commitment Letters, the
 Limited Guaranties, the Definitive Trust Documents and all other agreements and instruments to
 be executed by the Buyer, the Special Master and/or the Company at or prior to the Closing
 pursuant to this Agreement.

        “Transactions” means the transactions contemplated by this Agreement and the other
 Transaction Documents.




        “Transfer Taxes” means any real property transfer, sales, use, value added, stamp,
 documentary, recording, registration, conveyance, stock transfer, intangible property transfer,
 personal property transfer, gross receipts, registration, duty, securities transactions or similar fees
 or Taxes or governmental charges (together with any interest or penalty, addition to Tax or
 additional amount imposed) as levied by any Taxing Authority or other Governmental Body in
 connection with the Transactions, including any payments made in lieu of any such Taxes or
 governmental charges that become payable in connection with the Transactions.

           “Treasury Regulations” means the regulations promulgated under the Code.

         “VDR” means the virtual data room established by Representatives of the Special Master
 to facilitate the provisions of information to potential bidders pursuant to the Sale Procedures
 Order.

          “6.375% Senior Secured Notes” means CITGO Petroleum Corporation’s 6.375% senior
 secured notes due 2026, issued pursuant to the indenture dated as of February 11, 2021 among
 CITGO Petroleum Corporation as Issuer, the guarantors party thereto, and TMI Trust Company as
 trustee.




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        “7.000% Senior Secured Notes” means CITGO Petroleum Corporation’s 7.00% senior
 secured notes due 2025, issued pursuant to the indenture dated as of June 9, 2020 among CITGO
 Petroleum Corporation, as Issuer, the guarantors party thereto, and TMI Trust Company, as trustee.

        “8.375% Senior Secured Notes” means CITGO Petroleum Corporation’s 8.375% senior
 secured notes due 2029, issued pursuant to the indenture dated as of September 20, 2023 among
 CITGO Petroleum Corporation as Issuer, the guarantors party thereto, and Argent Institutional
 Trust Company as trustee.




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                                       ANNEX B

                                LIMITED INDEMNIFICATION




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                                   Exhibit B




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                                        Exhibit A

                                Trust Structure Term Sheet

                                       (Attached.)




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                                              TERM SHEET
 This term sheet (including all exhibits, annexes, appendices, and/or schedules hereto, the “Term Sheet”)
 summarizes the principal terms of a series of transactions (the “Escrow Transactions”) pursuant to which
 the Special Master 1 and the Buyer (as defined below) will arrange for the creation of two escrow accounts
 into which all or a portion of the Closing Consideration of the sale of Petróleos de Venezuela, S.A.’s
 (“PDVSA”) shares in PDV Holding, Inc. (“PDVH” and such shares, the “PDVH Shares”, and PDVH and
 its subsidiaries, the “Company”) pursuant to that certain Stock Purchase Agreement by and between the
 Special Master and the Buyer (as amended, restated, supplemented or otherwise modified from time to time,
 the “Purchase Agreement”), will be deposited in accordance with this Term Sheet. This Term Sheet shall
 be an exhibit to the Purchase Agreement and subject to the terms and conditions set forth therein.

 This Term Sheet is not intended to be an exhaustive list of all terms and conditions which shall govern the
 Escrow Transactions and unless otherwise specified in this Term Sheet, the key terms set out below are
 qualified in their entirety by the final form of the binding documentation for the Escrow Transactions
 contemplated herewith (the “Definitive Documents”). To the extent any of the terms of this Term Sheet
 conflict with those in the final Definitive Documents, the terms of the Definitive Documents shall govern.

                                                     Overview

     Parties                           The following parties (each, a “Party” and, collectively, the
                                       “Parties”) shall support the Escrow Transactions:

                                           1. Robert B. Pincus, in his capacity as the Special Master for
                                              the United States District Court for the District of Delaware
                                              (the “Special Master”), pursuant to that certain
                                              Memorandum Order, dated April 13, 2021 [D.I. 258] issued
                                              in Crystallex International Corporation v. Bolivarian
                                              Republic of Venezuela (Case No. 1:17-mc-00151-LPS) (the
                                              “Crystallex Matter”), related to the sale of the PDVH
                                              Shares (the “Sale Transaction”); and

                                           2. Amber Energy Inc. (the “Buyer”)

     Transaction Overview              The Escrow Transactions will be subject to the Definitive Documents
                                       and shall be implemented as follows:

                                           1. Contemporaneous with the closing of the Sale Transaction
                                              (the “Closing”), the Buyer shall pay, or cause to be paid, into
                                              two separate and distinct escrow accounts:




 1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Sixth
     Revised Proposed Order (A) Establishing Sale and Bidding Procedures, (B) Approving Special Master’s Report and
     Recommendation Regarding Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment
     Banker by Special Master and (D) Regarding Related Matters (D.I. 481) (the “Sale Procedures Order”) or the
     Purchase Agreement. Unless otherwise noted all docket references herein shall be made with respect to Crystallex
     Matter currently pending in the United States District Court for the District of Delaware (the “Court”).




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                                                     a. an amount of the Closing Consideration equal to the
                                                        accrued claim of the PDVSA 2020 Bondholders as
                                                        of the date of the Closing, subject to necessary
                                                        adjustments determined by the Special Master and
                                                        the Buyer to implement the Transactions (the “2020s
                                                        Escrow Amount” and such account, the “2020s
                                                        Escrow Account”) for the purpose of resolving any
                                                        claims related to the CITGO Holding Pledge; 2 and

                                                     b. an amount equal to the Closing Consideration minus
                                                        the 2020s Escrow Amount (the “Attached Judgment
                                                        Creditor Escrow Amount” and, together with the
                                                        2020s Escrow Amount and such other amounts
                                                        described below, the “Escrow Amount”, and the
                                                        escrow account containing the Attached Judgment
                                                        Creditor Escrow Amount, the “Attached Judgment
                                                        Creditor Escrow Account”).

                                            2. The Attached Judgments will attach to the Escrow Amount
                                               in the same order as provided in the Final Priority Order
                                               [D.I. 1102] (the “Final Priority Order”), subject to the
                                               interest of the Buyer pursuant to this Term Sheet and the
                                               Definitive Documents, including the Trust Documentation.

                                            3. Upon the Closing, the Special Master shall serve as, or
                                               otherwise appoint, subject to Buyer’s reasonable consent and
                                               after consultation with the holders of Attached Judgments, a
                                               trustee (the “Trustee”) to act for the benefit and at the
                                               direction of the holders of Attached Judgments.

                                            4. The Trustee shall undertake to resolve the CITGO Holding
                                               Pledge and the Alter Ego Claims 3 in the best interests of the
                                               holders of Attached Judgments, which resolution may
                                               include settlement or litigation or any other means of
                                               resolution in the judgment of the Trustee, in each case



 2
      In the event the Special Master seeks, but is not granted, a declaratory ruling from a court of competent jurisdiction
      that the 2020s Escrow Amount is not sufficient to stop the accrual of interest on the PDVSA 2020s Bondholders’
      claims as of the date of deposit of the 2020s Escrow Amount into the 2020s Escrow Account, or such other date
      requested by the Special Master, then the Special Master and the Buyer shall determine whether a revised 2020s
      Escrow Amount is necessary. As soon as reasonably practicable after such determination, the Special Master shall
      advise the Court of any changes to the 2020s Escrow Amount, including by filing an amended Term Sheet if
      necessary.

 3
      “Alter Ego Claims” means any claims asserted or that may be asserted against PDVH or any of its direct or indirect
      subsidiaries on the basis that PDVH or any of its direct or indirect subsidiaries is the alter ego of the Republic or
      PDVSA, or on any similar veil-piercing, successor or similar legal or equitable or other doctrine.
                                                             2




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                                       subject to the terms of the Trust Documentation (as defined
                                       below) and Buyer’s consent in its reasonable discretion.
                                       Buyer and the Special Master shall mutually agree on the
                                       parameters of the Alter Ego Claims to be addressed in such
                                       resolution (the “Ascertained Alter Ego Claims”).

                                   5. The 2020s Escrow Account and the Attached Judgment
                                      Creditor Escrow Account shall each be subject to the joint
                                      control and direction of the Special Master and Buyer.

                                   6. In the event of any post-Closing purchase price adjustment
                                      contemplated by the Purchase Agreement that would result
                                      in amounts that would otherwise be paid to the holders of
                                      Attached Judgments, including by release from the
                                      Adjustment Escrow or Special Master Expense Reserve,
                                      such amounts shall be deposited into the escrow account
                                      holding the Attached Judgment Creditor Escrow Amount;
                                      provided, that the deposit of the Special Master Expense
                                      Reserve into the Attached Judgment Creditor Escrow
                                      Amount shall not preclude the Special Master from seeking
                                      payment of such expenses from the Sale Process Parties and
                                      Additional Judgment Creditors pursuant to existing
                                      protocols.

                                   7. The Trustee (or the Buyer, if appropriate, as determined by
                                      the Special Master and the Buyer) shall move to intervene in
                                      that certain action, Petroleos de Venezuela S.A. v. MUFG
                                      Union Bank, N.A., C.A. No. 19-10023 (KPF) (S.D.N.Y.),
                                      pending before the United States District Court for the
                                      Southern District of New York and take such actions as
                                      deemed necessary by the Special Master and the Buyer,
                                      including to assert an interpleader claim seeking to deposit
                                      the 2020s Escrow Amount into the registry of the court, and
                                      seek the release of the CITGO Holding Pledge.

                                         Implementation
  Attached Judgment             Upon satisfaction of each of the following conditions (and such
  Creditor Escrow Release       conditions remaining satisfied):
  Conditions
                                   1. the entry of a final order on appeal entered by the United
                                      States District Court for the District of Delaware or the Third
                                      Circuit Court of Appeals (the “Third Circuit”), and if any
                                      appellant seeks a writ of certiorari to the Supreme Court of
                                      the United States, such writ shall have been denied,
                                      affirming a decision denying, or providing an injunction
                                      against, all Ascertained Alter Ego Claims against PDVH
                                      and/or any of its direct or indirect subsidiaries;

                                                  3




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                                    2. either (a) the 2020 Notes Release Conditions (as defined
                                       below) or (b) the 2020 Notes Creditor Release Conditions (as
                                       defined below) are satisfied;

                                    3. the Injunction Order (as defined below) shall not have been
                                        vacated or modified in a manner adverse to Buyer in Buyer’s
                                        sole discretion, and the Third Circuit shall have affirmed the
                                        Injunction Order, and if any appellant seeks a writ of
                                        certiorari to the Supreme Court of the United States, such
                                        writ shall have been denied;

                                    4. the Sale Order shall not have been vacated or modified in a
                                       manner adverse to Buyer in Buyer’s sole discretion and, the
                                       Third Circuit shall have affirmed the Sale Order, and if any
                                       appellant sought a writ of certiorari to the Supreme Court of
                                       the United States, such writ shall have been denied; and

                                    5. no Buyer Release Condition (as defined below) has
                                       occurred, (items (1)-(5) collectively, the “Attached
                                       Judgment Creditor Release Conditions”),

                                then the Attached Judgment Creditor Escrow Amount shall be
                                released to the Trustee for distribution to holders of Attached
                                Judgments in accordance with the Final Priority Order [D.I. 1102]
                                (the “Final Priority Order” and, the release of the Attached Judgment
                                Creditor Escrow Amount, the “Alter Ego Release”).

                                The Buyer and the Special Master may jointly waive any of the
                                foregoing conditions.

  2020 Notes Escrow Release     Upon satisfaction of each of the following conditions (and such
  Conditions to PDVSA 2020      conditions remaining satisfied):
  Bondholders
                                    1. the holders of the 8.5% Senior Secured Notes due 2020
                                       issued by PDVSA (the “PDVSA 2020 Bondholders”)
                                       receive a final, non-appealable order resulting in PDVH
                                       liability in respect of the CITGO Holding Pledge or
                                       otherwise;

                                    2. the Attached Judgment Creditor Conditions are satisfied;

                                    3. no Buyer Release Condition has occurred; and

                                    4. the CITGO Holding Pledge (and any related claims against
                                       Buyer or any of its subsidiaries) has been released or is
                                       released concurrently upon satisfaction of the judgment,
                                       (items (1)-(4) collectively, the “2020 Notes Release
                                       Conditions”),
                                                   4




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                                then, upon the Alter Ego Release, the 2020s Escrow Amount shall be
                                released to the Trustee for the purpose of satisfying the judgment in
                                favor of the PDVSA 2020 Bondholders. In the event the 2020s
                                Escrow Amount exceeds the judgment amount in favor of the
                                PDVSA 2020 Bondholders, the Trustee shall distribute such excess
                                proceeds to holders of Attached Judgments in accordance with the
                                Final Priority Order.

                                The Buyer and the Special Master may jointly waive any of the
                                foregoing conditions.

  2020s Notes Escrow            Upon satisfaction of each of the following conditions (and such
  Release Conditions to         conditions remaining satisfied):
  Holders of Attached
  Judgments                         1. the satisfaction of the Attached Judgment Creditor Release
                                       Conditions;

                                    2. a final, non-appealable resolution as to PDVH’s liability (if
                                       any) to the PDVSA 2020 Bondholders such that the amount
                                       needed to satisfy such judgment is less than the amount of
                                       the 2020 Notes Escrow;

                                    3. no Buyer Release Condition has occurred; and

                                    4. the Equity Pledge has been released, or is released
                                       concurrently upon satisfaction of the judgment, on terms
                                       acceptable to the Buyer in its sole discretion (items (1)-(4)
                                       collectively, the “2020 Notes Creditor Release Conditions”),

                                then upon the Alter Ego Release, (x) the portion of the 2020 Notes
                                Escrow necessary to satisfy such judgment shall be used to satisfy
                                such judgment, and (y) the remaining portion shall be released to the
                                Trustee for distribution to holders of attached claims in connection
                                with the Final Priority Order.

                                The Buyer and the Special Master may jointly waive any of the
                                foregoing conditions.

  Buyer Release Conditions      Upon the occurrence of either of the following conditions:

                                    1. The aggregate amount of all Alter Ego Claims that are found
                                       to exist by a final, non-appealable order exceed the
                                       remaining amount in the Attached Judgement Creditor
                                       Escrow Account;

                                    2. The Republic or PDVSA obtain a final, non-appealable order
                                       of rescission, unwinding, damages or other remedy with
                                                   5




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                                             respect to the Definitive Documents and the Sale Transaction
                                             thereby (item (1) or (2), a “Buyer Release Condition”), or

                                         3. The accrued claim of the PDVSA 2020 Bondholders exceeds
                                            the remaining 2020s Escrow Amount.

                                     then, at the election of the Buyer, and after ten (10) days’ notice to
                                     the Special Master, the entirety of the Escrow Amount (including all
                                     interest thereon) shall be returned to the Buyer and the Buyer shall
                                     cooperate in good faith to transition the operations of the Company
                                     and, subject to receipt of the Escrow Amount, the Buyer shall return
                                     the PDVH Shares to be held by the Trustee in accordance with a
                                     further order of the Court (collectively, the “Unwind”). In
                                     connection with the implementation of the Unwind, the current
                                     Attached Judgments will attach to the returned PDVH Shares in the
                                     same order as provided in the Final Priority Order.

                                     Buyer shall be entitled to retain all Net Operating Profits and Agreed
                                     Upon Permanent Working Capital Improvements 4 from Closing until
                                     the date of implementation of the Unwind (such period, the
                                     “Ownership Period”) in accordance with Schedule 1 hereto.

                                     During the period beginning on the Closing and ending on the earlier
                                     of (x) effectiveness of the Unwind and (y) the satisfaction of each of
                                     the Attached Judgment Creditor Release Conditions and either (A)
                                     the 2020 Notes Release Conditions or (B) the 2020 Notes Creditor
                                     Release Conditions, the Buyer shall not be permitted to take, or cause
                                     the Company to sell, transfer or dispose of, in a transaction or a series
                                     of transactions, more than 50% of (1) the aggregate assets of the
                                     Acquired Companies (taken as a whole; provided, that the foregoing
                                     shall not apply to dispositions in the ordinary course); or (2), a
                                     majority of voting stock of the Acquired Companies to an
                                     unaffiliated third party. The proceeds of any other sale of assets or
                                     the voting stock of any of the Acquired Companies, in each case,
                                     other than in the ordinary course of business and subject to customary
                                     exceptions (i) shall not constitute Net Operating Profits and Agreed
                                     Upon Permanent Working Capital Improvements, (ii) shall not be
                                     transferred, directly or indirectly, through dividend, distribution, or
                                     otherwise, to the Buyer or any other party that is not an Acquired
                                     Company, and (iii) may be reinvested into the business or used to pay
                                     bona fide third-party debt of the Acquired Companies.




 4
     “Net Operating Profits and Agreed Upon Permanent Working Capital Improvements” has the meaning set forth on
     Schedule 1 to this Term Sheet.
                                                         6




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                                Buyer and the Special Master will cooperate with respect to
                                structuring any such Unwind in a tax efficient manner for the Parties,
                                the Trustee, and the holders of Attached Judgments.

  Escrow Agent                  The Special Master shall, with the consent of Buyer, in its sole
                                discretion, designate an escrow agent (the “Escrow Agent”) who
                                shall act (i) upon notice of automatic release triggers consistent with
                                the Definitive Documentation and (ii) at the direction of the Special
                                Master and, upon appointment, the Trustee. If the Escrow Agent
                                resigns or is removed, the replacement escrow agent shall be subject
                                to the consent of the Special Master and Buyer.

                                      Other Material Terms
  Conditions Precedent to the   The effectiveness of the Escrow Transactions and the Definitive
  Effective Date                Documentation (the “Effective Date”) shall be subject to the
                                following conditions precedent and the conditions precedent in the
                                Purchase Agreement:

                                    1. each Definitive Document will have been executed and/or
                                       effectuated, will be in form and substance consistent with
                                       this Term Sheet, and any conditions precedent related thereto
                                       or contained therein will have been satisfied prior to or
                                       contemporaneously with the occurrence of the Effective
                                       Date or otherwise waived;

                                    2. the Court shall have entered the Sale Order (as defined in the
                                       Purchase Agreement),and such Sale Order shall be in full
                                       force and effect and shall not be subject to a stay;

                                    3. there is no Order or decision on the merits (including a ruling
                                       on summary judgment, or a decision after trial) by a court of
                                       competent jurisdiction that is unfavorable to the Buyer, the
                                       Company or any Company subsidiary, in a case by any
                                       potential creditor of the Bolivarian Republic of Venezuela or
                                       PDVSA that seeks to impose liability or seeks any remedy
                                       against the Buyer, the Company, or any of their assets on the
                                       basis that PDVH or any of its direct or indirect subsidiaries
                                       is the alter ego of the Republic or PDVSA, or on any similar
                                       veil-piercing, successor or similar legal or equitable or other
                                       doctrine), or otherwise seeks relief that is in conflict with the
                                       provisions of the Sale Order regarding such purported
                                       liabilities and related matters;

                                    4. the Buyer shall have obtained all authorizations, consents,
                                       regulatory approvals, rulings, or documents that are
                                       necessary to implement and effectuate the Sale Transaction
                                       in accordance with the Purchase Agreement (and the other
                                       conditions in the Purchase Agreement are satisfied); and
                                                    7




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                                           5. an order enjoining the Gramercy Alter Ego Claims 5 is
                                              entered in a form acceptable to Buyer in its sole discretion
                                              (the “Injunction Order”), and has not been modified in a
                                              manner adverse to Buyer or the holders of Attached
                                              Judgments, other than holders of Attached Judgments
                                              asserting an Alter Ego Claim.

     Definitive Documents             The Parties shall work in good faith to negotiate and execute any
                                      Definitive Documents necessary to implement the Escrow
                                      Transactions. The Definitive Documents and the terms contained
                                      therein shall be subject to the consent of the Special Master and,
                                      unless indicated otherwise in this Term Sheet, the Buyer, in each case
                                      in his or its respective sole discretion, in all respects.

     Trustee; Transferability of      Prior to the Closing, the Special Master shall consult with the Buyer
     Interests in Trust               and the holders of Attached Judgments regarding (i) the identity and
                                      selection of the Trustee, who shall be subject to Buyer’s reasonable
                                      consent, and (ii) the terms of any documentation necessary to
                                      establish a trust related to the Escrow Accounts, including the terms
                                      for direction and authority of the Trustee, which must be satisfactory
                                      to the Buyer and the Special Master (the “Trust Documentation”).
                                      After consultation, the appointment of the Trustee and execution of
                                      the Trust Documentation shall be subject to approval by the Court.

                                      The Trust Documentation shall provide that, among other things, the
                                      Trustee must consult in good faith with the Buyer and the holders of
                                      Attached Judgments regarding the adjudication and resolution of
                                      matters related to the Alter Ego Claims and the PDVSA 2020
                                      Bondholders.

                                      For the avoidance of doubt, all Trust Documentation shall be
                                      consistent with the terms of the Definitive Documentation and any
                                      order entered by the Court in the Crystallex Action.

                                      Any trust certificates issued to the Buyer and holders of Attached
                                      Judgments as part of the Trust Documentation shall be transferable
                                      subject to applicable securities laws.

     Limitation of Liability          The Buyer agrees that in no circumstance shall the Special Master or
                                      his representatives be personally or otherwise liable for any amounts
                                      or obligations owed to the Buyer and the Special Master and his




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     “Gramercy Alter Ego Claims” means the claims that are the subject of the Special Master’s Motion to Enjoin the
     Alter Ego Claimants from Enforcing Claims Against the Republic or PDVSA by Collecting from PDVH or its
     Subsidiaries in Other Forums [D.I. 1248].
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                                Advisors are acting as an arm of the Court and are entitled to judicial
                                immunity in the performance of their duties.

  Confidentiality               All Parties agree that the contents of this Term Sheet and the fact that
                                negotiations are ongoing are confidential. All Parties agree not to
                                disclose, without the prior written consent of the Parties, such
                                information to any third party.

  Costs and Expenses            Each Party shall bear its own costs, fees and expenses incurred in
                                connection with the negotiation, execution and consummation of the
                                Escrow Transactions; provided, that all fees and expenses incurred
                                by the Special Master, the Trustee, and the Escrow Agent shall be
                                deemed “Transaction Expenses” pursuant to the Sale Procedures
                                Order.

                                The Attached Judgment Creditor Escrow Amount shall be available
                                to fund the expenses of the Special Master and the Trustee with
                                respect to resolving the Escrow Transactions, the Alter Ego Claims
                                and release of the CITGO Holding Pledge and matters related thereto.

  Tax Matters                   All Parties shall work in good faith to ensure that the Escrow
                                Transactions contemplated herein are structured in a tax efficient
                                manner for the Parties, the Trustee, and the holders of Attached
                                Judgments (each as applicable).

  Informational Rights of the   The Parties agree to provide the Special Master with information
  Special Master                upon written request to facilitate the Special Master’s
                                implementation of the Escrow Transactions.

  Jurisdiction                  Each Party hereto irrevocably and unconditionally submits, for itself
                                and its property, to the exclusive jurisdiction of the Court. Each of
                                the Parties hereto agrees that a final judgment in any such action or
                                proceeding shall, to the extent permitted by law, be conclusive and
                                may be enforced in other jurisdictions by suit on the judgment or in
                                any other manner provided by law.


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                                           Schedule 1

          Net Operating Profits and Agreed Upon Permanent Working Capital Improvements

                                      [Intentionally Omitted]




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                     COMPANY DISCLOSURE SCHEDULES



                              [Intentionally Omitted]
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                       BUYER DISCLOSURE SCHEDULES



                              [Intentionally Omitted]
